                  Case 2:18-cv-00736-JCC Document 85 Filed 06/30/21 Page 1 of 77



                                                                           The Honorable John C. Coughenour
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 6                                    UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF WASHINGTON
 7                                             AT SEATTLE
 8
                                                                  CASE NO. 2:18-cv-736-JCC
     CHONG and MARILYN YIM, et al.,
 9
                                                                  DEFENDANT’S NOTICE OF
                                         Plaintiffs,              SUPPLEMENTAL AUTHORITY
10                        vs.
11   CITY OF SEATTLE,
12                                       Defendant.
13

14              Defendant City of Seattle wishes to notify the Court of decisions relevant to this dispute

15   that issued since the City completed its summary judgment briefing. The decisions are attached

16   for the Court’s reference.

17              With respect to the threshold question of whether the First Amendment applies to the

18   regulation of conduct with an incidental expressive element, 1 and the regulation of illegal activity,2

19   see HomeAway.com, Inc. v. City of Santa Monica, 918 F.3d 676, 685-86 (9th Cir. 2019). [Exhibit

20   A]

21              With respect to the application of intermediate scrutiny and not strict scrutiny to a

22   commercial speech inquiry restriction, 3 see Greater Philadelphia Chamber of Commerce v. City of

23   Philadelphia, 949 F.3d 116, 136-57 (3rd Cir. 2020). [Exhibit B]

24
       1
           See City’s Combined Opp’n to Pls.’ MSJ & Cross MSJ, Dkt #33 at p. 8.
25     2
           Id. at pp. 13-14.
       3
26         Id. at pp. 10-19.


     DEFENDANT’S NOTICE OF SUPPLEMENTAL AUTHORITY - 1                             SUMMIT LAW GROUP, PLLC
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                   Case 2:18-cv-00736-JCC Document 85 Filed 06/30/21 Page 2 of 77




 1               With respect to the threshold question of whether the First Amendment applies to the

 2   regulation of conduct with an incidental expressive element, 4 see Miura Corp. v. Davis, No. 2:20-

 3   cv-05497-SVW-ADS, 2020 WL 5224348, *3-*4 (C.D. Cal. June 25, 2020). [Exhibit C]

 4               With respect to the threshold question of whether the First Amendment applies to the

 5   regulation of conduct with an incidental expressive element, 5 and the regulation of illegal activity,6

 6   see Tran v. Dep’t of Planning for the Cnty. of Maui, Civil No. 19-00654 JAO-RT, 2020 WL

 7   3146584, *8-*9 (D. Haw. June 12, 2020). [Exhibit D]

 8               DATED this 30th day of June, 2021.

 9                                                        Respectfully submitted,
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                                                          Attorneys for Defendant City of Seattle
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23

24
       4
           Id. at p. 8.
25     5
           Id.
       6
26         Id. at pp. 13-14.


     DEFENDANT’S NOTICE OF SUPPLEMENTAL AUTHORITY - 2                       SUMMIT LAW GROUP, PLLC
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                Case 2:18-cv-00736-JCC Document 85 Filed 06/30/21 Page 3 of 77




                                         CERTIFICATE OF SERVICE
 1
               I hereby certify that on this day I electronically filed the foregoing with the Clerk of the
 2

 3   Court using the CM/ECF system which will send notification of such filing to the parties or

 4   record.
 5
               DATED this 30th day of June, 2021.
 6
                                                              s/ Karen M. Lang
 7                                                            Karen M. Lang, Legal Assistant
 8

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     DEFENDANT’S NOTICE OF SUPPLEMENTAL AUTHORITY - 3                         SUMMIT LAW GROUP, PLLC
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             EXHIBIT A
                 Case 2:18-cv-00736-JCC Document 85 Filed 06/30/21 Page 5 of 77


HomeAway.com, Inc. v. City of Santa Monica, 918 F.3d 676 (2019)
19 Cal. Daily Op. Serv. 2271, 2019 Daily Journal D.A.R. 2064



                                                                was not substantial restriction on freedom of speech that
                                                                would necessitate scienter requirement.
    KeyCite Yellow Flag - Negative Treatment
Distinguished by Dyroff v. Ultimate Software Group, Inc., 9th
Cir.(Cal.), August 20, 2019                                     Affirmed.
                       918 F.3d 676
       United States Court of Appeals, Ninth Circuit.           Procedural Posture(s): On Appeal; Motion to Dismiss
                                                                for Failure to State a Claim; Motion for Preliminary
          HOMEAWAY.COM, INC.; Airbnb Inc.,                      Injunction.
                   Plaintiffs-Appellants,
                              v.
      CITY OF SANTA MONICA, Defendant-Appellee.
         HomeAway.com, Inc., Plaintiff-Appellant,                West Headnotes (9)
                             and
                   Airbnb Inc., Plaintiff,
                              v.                                [1]     Federal Courts     Dismissal or nonsuit in
        City of Santa Monica, Defendant-Appellee.                       general
              Airbnb Inc., Plaintiff-Appellant,                         Federal Courts     Pleadings; Dismissal
                              v.
        City of Santa Monica, Defendant-Appellee.                       Court of Appeals reviews district court’s order
                                                                        of dismissal de novo, accepting all factual
         No. 18-55367, No. 18-55805, No. 18-55806
                                                                        allegations in complaint as true and construing
                             |
                                                                        them in light most favorable to nonmoving
          Argued and Submitted October 12, 2018
                                                                        party.
                   Pasadena, California
                             |
                   Filed March 13, 2019                                 1 Cases that cite this headnote


Synopsis
Background:         Online     platforms     for      rental
                                                                [2]     Telecommunications       Persons and entities
accommodations filed actions against city alleging that
                                                                        liable; immunity
ordinance prohibiting short-term housing rentals was
preempted by Communications Decency Act (CDA) and
                                                                        Communications Decency Act (CDA) extends
impermissibly infringed upon their First Amendment
                                                                        immunity to (1) provider or user of interactive
rights. After actions were consolidated, the United States
                                                                        computer service (2) whom plaintiff seeks to
District Court for the Central District of California, Nos.
                                                                        treat, under state law cause of action, as
2:16-cv-06641-ODW-AFM, 2:16-cv-06645-ODW-AFM,
                                                                        publisher or speaker (3) of information provided
Otis D. Wright II, J., denied plaintiffs’ motion for
                                                                        by another information content provider.
preliminary injunction, 2018 WL 1281772, and dismissed
complaints, 2018 WL 3013245. Plaintiffs appealed, and                   Communications Act of 1934 § 230,             47
appeals were consolidated.                                              U.S.C.A. § 230(c)(1).


                                                                        10 Cases that cite this headnote
Holdings: The Court of Appeals, Nguyen, Circuit Judge,
held that:
[1]
      CDA did not preempt ordinance;
                                                                [3]     Telecommunications       Persons and entities
[2]
   ordinance did not          implicate   platforms’    First           liable; immunity
Amendment rights; and
                                                                        Immunity under Communications Decency Act
[3]
      incidental burden imposed on platforms by ordinance               (CDA) does not attach any time legal duty might

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               Case 2:18-cv-00736-JCC Document 85 Filed 06/30/21 Page 6 of 77


HomeAway.com, Inc. v. City of Santa Monica, 918 F.3d 676 (2019)
19 Cal. Daily Op. Serv. 2271, 2019 Daily Journal D.A.R. 2064

        lead provider or user of interactive computer                to law regulating conduct, court must first ask
        service to respond with monitoring or other                  threshold question of whether conduct with
        publication activities; rather, duty must                    significant expressive element drew legal
        necessarily require provider or user to monitor              remedy or whether law has inevitable effect of
        third-party content. Communications Act of                   singling out those engaged in expressive
        1934 § 230,     47 U.S.C.A. § 230(c)(1).                     activity. U.S. Const. Amend. 1.


        9 Cases that cite this headnote                              6 Cases that cite this headnote




[4]     Innkeepers Statutory and municipal                     [7]   Constitutional Law     Landlord and tenant;
        regulations                                                  leased premises
        Municipal Corporations Political Status and
        Relations                                                    City ordinance prohibiting unlicensed short-term
                                                                     housing rentals did not implicate First
        City ordinance prohibiting unlicensed short-term             Amendment rights of online platforms for rental
        housing rentals did not proscribe, mandate, or               accommodations; ordinance did not target
        discuss content of listings that online platforms            conduct with significant expressive element, did
        for rental accommodations displayed on their                 not require that platforms monitor or screen
        websites, and thus Communications Decency                    advertisements, was not intended to regulate
        Act (CDA) did not preempt ordinance as applied               speech, and did not single out those engaged in
        to platforms, even though ordinance required                 expressive activity. U.S. Const. Amend. 1.
        platforms to cross-reference bookings against
        city’s property registry to determine whether
                                                                     9 Cases that cite this headnote
        rentals were permitted under ordinance’s
        exception of licensed home-shares, where
        platforms had no editorial control over registry.
           47 U.S.C. § 230(b)(1).
                                                               [8]   Constitutional Law     Advertising
        3 Cases that cite this headnote                              Any First Amendment interest that might be
                                                                     served by advertising commercial activity is
                                                                     absent when commercial activity itself is illegal
                                                                     and restriction on advertising is incidental to
                                                                     valid limitation on economic activity. U.S.
[5]     Constitutional Law     Conduct, protection of                Const. Amend. 1.
        Constitutional Law     Trade or Business

        First Amendment does not prevent restrictions                1 Cases that cite this headnote
        directed at commerce or conduct from imposing
        incidental burdens on speech. U.S. Const.
        Amend. 1.

                                                               [9]   Constitutional Law     Landlord and tenant;
        4 Cases that cite this headnote                              leased premises

                                                                     Incidental burden imposed on online platforms
                                                                     for rental accommodations by city ordinance
                                                                     prohibiting unlicensed short-term housing
[6]     Constitutional Law     Conduct, protection of                rentals was not substantial restriction on
                                                                     freedom of speech that would necessitate
        To determine whether First Amendment applies

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HomeAway.com, Inc. v. City of Santa Monica, 918 F.3d 676 (2019)
19 Cal. Daily Op. Serv. 2271, 2019 Daily Journal D.A.R. 2064

        scienter requirement. U.S. Const. Amend. 1.             Investment and Management Company.

                                                                Heidi Palutke, Sacramento, California, for Amicus Curiae
        4 Cases that cite this headnote                         California Apartment Association.

                                                                Edward M. Schulman, Ballston Tower, Arlington,
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                                                                Barbara J. Parker, Oakland City Attorney; Maria Bee,
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Kellogg, Hansen, Todd, Figel & Frederick, P.L.L.C.,
Washington, D.C., for Amicus Curiae Apartment                   Appeal from the United States District Court for the

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HomeAway.com, Inc. v. City of Santa Monica, 918 F.3d 676 (2019)
19 Cal. Daily Op. Serv. 2271, 2019 Daily Journal D.A.R. 2064

Central District of California, Otis D. Wright II, District     failure to state a claim under the Communications
Judge, Presiding, D.C. Nos. 2:16-cv-06641-ODW-AFM,              Decency Act and the First Amendment. We affirm.
2:16-cv-06645-ODW-AFM, 2:16-cv-06645-ODW-AFM

Before: Mary M. Schroeder and Jacqueline H. Nguyen,
Circuit Judges, and Michael H. Simon,* District Judge.
                                                                                    BACKGROUND

                                                                In May 2015, Santa Monica passed its initial ordinance
                                                                regulating the short-term vacation rental market by
                                                                authorizing licensed “home-sharing” (rentals where
                                                                residents remain on-site with guests) but prohibiting all
                                                                other forms of short-term rentals for 30 consecutive days
                                                                or less. Santa Monica Ordinance 2484 (May 12, 2015),
                        OPINION                                 codified as amended, Santa Monica Mun. Code §§
                                                                6.20.010–6.20.100. The ordinance reflected the city’s
                                                                housing goals of “preserving its housing stock and
NGUYEN, Circuit Judge:
                                                                preserving the quality and character of its existing single
*679 Located on the coast of Southern California, the city      and multi-family residential neighborhoods.” Id. As
of Santa Monica consists of only about eight square miles       originally enacted, the ordinance prohibited hosting
but serves 90,000 residents and as many as 500,000              platforms from acting to “undertake, maintain, authorize,
visitors on weekends and holidays. Similar to other             aid, facilitate or advertise any Home-Sharing activity”
popular tourist destinations, Santa Monica is struggling to     that was not authorized by the city. Hosting platforms also
manage the disruptions brought about by the rise of             were required to collect and remit taxes, and to regularly
short-term rentals facilitated by innovative startups such      disclose listings and booking information to the city.
as Appellants HomeAway.com, Inc. and Airbnb Inc. (the
“Platforms”). Websites like those operated by the               The Platforms each filed a complaint in the Central
Platforms are essentially online marketplaces that allow        District of California challenging the initial ordinance,
“guests” seeking accommodations and “hosts” offering            and the district court consolidated the cases for discovery
accommodations to connect and enter into rental                 and pretrial matters. On September 21, 2016, the parties
agreements with one another.1 As of February 2018,              stipulated to stay the case while the city considered
Airbnb had approximately 1,400 listings in Santa Monica,        amendments to the local ordinance. During the stay
of which about 30 percent are in the “coastal zone”             period, the district court for the Northern District of
covered by the California Coastal Act, while                    California denied a preliminary injunction requested by
HomeAway.com had approximately 300 live listings in             the plaintiffs in a separate case challenging a similar
Santa Monica, of which approximately 40 percent are in          ordinance in San Francisco. See       Airbnb Inc. v. City &
the coastal zone.                                               County of San Francisco, 217 F.Supp.3d 1066 (N.D. Cal.
                                                                2016). That case ended in a settlement in which the
Santa Monica’s council reported that the proliferation of       Platforms agreed to comply with an amended version of
short-term rentals had negatively impacted the quality and      San Francisco’s ordinance that prohibited booking
character of its neighborhoods by “bringing commercial          unlawful transactions but provided a safe harbor wherein
activity and removing residential housing stock from the        any platform that complies with the responsibilities set
market” at a time when California is already suffering          out in the Ordinance will be presumed to be in
from severe housing shortages. In response, the city            compliance with the law.
passed an ordinance regulating the short-term vacation
rental market by authorizing licensed “home-sharing”            In January 2017, Santa Monica likewise amended its own
(rentals where residents remain on-site with guests) but        ordinance. The version challenged here, Ordinance 2535
prohibiting all other short-term home rentals of 30             (the “Ordinance”), retains its prohibitions on most types
consecutive days or less.                                       of short-term rentals, with the exception of licensed
                                                                home-shares. In addition, the Ordinance imposes four
The Platforms filed suit, alleging that the city ordinance is   obligations on hosting platforms directly: (1) collecting
preempted by the Communications Decency Act and                 and remitting “Transient Occupancy Taxes,” (2)
impermissibly infringes upon their First Amendment              disclosing certain listing and booking information
rights. The district court denied preliminary injunctive        regularly, (3) refraining from completing any booking
relief, and dismissed *680 the Platforms’ complaints for        transaction for properties not licensed and listed on the
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HomeAway.com, Inc. v. City of Santa Monica, 918 F.3d 676 (2019)
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City’s registry, and (4) refraining from collecting or         policy protecting internet companies from liability for
receiving a fee for “facilitating or providing services        posting third-party content. Santa Monica, on the other
ancillary to a vacation rental or unregistered home-share.”    hand, argues that the Ordinance does not implicate the
If a housing platform operates in compliance with these        CDA because it imposes no obligation on the Platforms to
obligations, the Ordinance provides a safe harbor by           monitor or edit any listings provided by hosts. Santa
presuming the platform to be in compliance with the law.       Monica contends that the Ordinance is simply an exercise
Otherwise, violations are punishable by a fine of up to $      of its right to enact regulations to preserve housing by
500 and/or imprisonment for up to six months.                  curtailing “incentives for landlords to evade rent control
                                                               laws, evict tenants, and convert residential units into de
After the district court lifted the stay, the Platforms        facto hotels.”
amended their complaint to challenge the revised
ordinance and moved for a preliminary injunction. Santa        We begin our analysis with the text of the CDA. See
Monica moved to dismiss the amended complaint. The               BP America Prod. Co. v. Burton, 549 U.S. 84, 91, 127
court denied the Platforms’ motion for preliminary
injunctive relief and subsequently granted Santa Monica’s      S.Ct. 638, 166 L.Ed.2d 494 (2006).        Section 230(c)(1)
motion to dismiss on the ground that the Platforms failed      states that “[n]o provider or user of an interactive
to state a claim under federal law, including the              computer service shall be treated as the publisher or
Communications Decency Act of 1996 and the First               speaker of any information provided by another
Amendment. The district court also declined to exercise        information content provider.”       Id. § 230(c)(1). The
supplemental jurisdiction over their remaining *681            CDA explicitly preempts inconsistent state laws:
state-law claims.2 The Platforms timely appealed these         “Nothing in this section shall be construed to prevent any
decisions, and we consolidated the appeals.                    State from enforcing any State law that is consistent with
                                                               this section. No cause of action may be brought and no
                                                               liability may be imposed under any State or local law that
                                                               is inconsistent with this section.”   Id. § 230(e)(3).
      JURISDICTION AND STANDARD OF REVIEW                      [2]
                                                                 We have construed these provisions to extend immunity
[1]
  We have jurisdiction under 28 U.S.C. § 1291. We              to “(1) a provider or user of an interactive computer
review the district court’s order of dismissal de novo,        service (2) whom a plaintiff seeks to treat, under a state
“accepting all factual allegations in the complaint as true    law cause of action, as a publisher or speaker (3) of
and construing them in the light most favorable to the         information provided by another information content
nonmoving party.”       Yagman v. Garcetti, 852 F.3d 859,      provider.”     Barnes v. Yahoo!, Inc., 570 F.3d 1096,
                                                               1100–01 (9th Cir. 2009). Only the second element is at
863 (2017) (quoting       Ebner v. Fresh, Inc., 838 F.3d       issue here: whether the Ordinance treats the Platforms as
958, 962 (9th Cir. 2016) ).                                    a “publisher or speaker” in a manner that is barred by the
                                                               CDA. Although the CDA does not define “publisher,” we
                                                               have defined “publication” in this context to “involve[ ]
                                                               reviewing, editing, and deciding whether to publish or to
                     DISCUSSION                                withdraw from publication third-party content.”      Id. at
                                                               1102 (citing          *682 Fair Hous. Council v.
                                                               Roommates.com, LLC, 521 F.3d 1157, 1170–71 (9th Cir.
                                                               2008) (en banc)).
            I. Communications Decency Act

The Communications Decency Act of 1996 (“CDA” or               The Platforms offer two different theories as to how the
                                                               Ordinance in fact reaches “publication” activities. First,
the “Act”),        47 U.S.C. § 230, provides internet          the Platforms claim that the Ordinance is expressly
companies with immunity from certain claims in                 preempted by the CDA because, as they argue, it
furtherance of its stated policy “to promote the continued     implicitly requires them “to monitor the content of a
development of the Internet and other interactive              third-party listing and compare it against the City’s
computer services.”       Id. § 230(b)(1). Construing this     short-term rental registry before allowing any booking to
immunity broadly, the Platforms argue that the Ordinance       proceed.” Relying on        Doe v. Internet Brands, 824
requires them to monitor and remove third-party content,       F.3d 846, 851 (9th Cir. 2016), the Platforms take the view
and therefore violates the CDA by interfering with federal     that CDA immunity follows whenever a legal duty

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HomeAway.com, Inc. v. City of Santa Monica, 918 F.3d 676 (2019)
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“affects” how an internet company “monitors” a website.           provide broad immunity “every time a website uses data
                                                                  initially obtained from third parties would eviscerate [the
However, the Platforms read           Internet Brands too         CDA].”          Barnes, 570 F.3d at 1100 (quoting
broadly. In that case, two individuals used the defendant’s           Roommates.com, 521 F.3d at 1171 (9th Cir. 2008) (en
website to message and lure the plaintiff to sham                 banc)). That is not the result that Congress intended.
auditions where she was drugged and raped.           Id. at
848. We held that, where the website provider was                 Nor could a duty to cross-reference bookings against
alleged to have known independently of the ongoing                Santa Monica’s property registry give rise to CDA
scheme beforehand, the CDA did not bar an action under            immunity. While keeping track of the city’s registry is
state law for failure to warn.     Id. at 854. We observed        “monitoring” third-party content in the most basic sense,
that a duty to warn would not “otherwise affect how [the          such conduct cannot be fairly classified as “publication”
                                                                  of third-party *683 content. The Platforms have no
defendant] publishes or monitors” user content.       Id. at      editorial control over the registry whatsoever. As with tax
851. Though the defendant did, in its business, act as a          regulations or criminal statutes, the Ordinance can fairly
publisher of third-party content, the underlying legal duty       charge parties with keeping abreast of the law without
at issue did not seek to hold the defendant liable as a           running afoul of the CDA.
“publisher or speaker” of third-party content.       Id. at
853; see      47 U.S.C. § 230(c)(1). We therefore declined        Second, the Platforms argue that the Ordinance “in
to extend CDA immunity to the defendant for the                   operation and effect ... forces [them] to remove third-party
                                                                  content.” Although it is clear that the Ordinance does not
plaintiff’s failure-to-warn claim.     Internet Brands, 824
                                                                  expressly mandate that they do so, the Platforms claim
F.3d at 854.
                                                                  that “common sense explains” that they cannot “leave in
                                                                  place a website chock-full of un-bookable listings.” For
[3]
  We do not read        Internet Brands to suggest that CDA       purposes of our review, we accept at face value the
immunity attaches any time a legal duty might lead a              Platforms’ assertion that they will choose to remove
company to respond with monitoring or other publication           noncompliant third-party listings on their website as a
activities. It is not enough that third-party content is          consequence of the Ordinance.3 Nonetheless, their choice
involved;       Internet Brands rejected use of a “but-for”       to remove listings is insufficient to implicate the CDA.
test that would provide immunity under the CDA solely
because a cause of action would not otherwise have                On its face, the Ordinance does not proscribe, mandate, or
accrued but for the third-party content.      Id. at 853. We      even discuss the content of the listings that the Platforms
look instead to what the duty at issue actually requires:         display on their websites. See Santa Monica Mun. Code
specifically, whether the duty would necessarily require          §§ 6.20.010–6.20.100. It requires only that transactions
an internet company to monitor third-party content. See           involve licensed properties. We acknowledge that, as the
                                                                  Platforms explain in Airbnb’s complaint and in the
    id. at 851, 853.                                              briefing on appeal, removal of these listings would be the
[4]
                                                                  best option “from a business standpoint.” But, as in
  Here, the Ordinance does not require the Platforms to
monitor third-party content and thus falls outside of the             Internet Brands, the underlying duty “could have been
CDA’s immunity. The Ordinance prohibits processing                satisfied without changes to content posted by the
transactions for unregistered properties. It does not             website’s users.” See     824 F.3d at 851. Even assuming
require the Platforms to review the content provided by           that removing certain listings may be the Platforms’ most
the hosts of listings on their websites. Rather, the only         practical compliance option, allowing internet companies
monitoring that appears necessary in order to comply with         to claim CDA immunity under these circumstances would
the Ordinance relates to incoming requests to complete a          risk exempting them from most local regulations and
booking transaction—content that, while resulting from            would, as this court feared in       Roommates.com, 521
the third-party listings, is distinct, internal, and nonpublic.   F.3d at 1164, “create a lawless no-man’s-land on the
As in       Internet Brands, it is not enough that the            Internet.” We hold that the Ordinance is not
third-party listings are a “but-for” cause of such internal       “inconsistent” with the CDA, and is therefore not
monitoring. See       824 F.3d at 853. The text of the CDA        expressly preempted by its terms. See          47 U.S.C. §
is “clear that neither this subsection nor any other declares     230(e)(3).
a general immunity from liability deriving from
third-party content.”        Barnes, 570 F.3d at 1100. To         Finally, the Platforms argue that, even if the Ordinance is
                                                                  not expressly preempted by the CDA, the Ordinance
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HomeAway.com, Inc. v. City of Santa Monica, 918 F.3d 676 (2019)
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imposes “an obstacle to the accomplishment and                   fraud, and negligence).
execution of the full purposes and objectives of
Congress.” See          Crosby v. Nat’l Foreign Trade            At the same time, our cases have hewn closely to the
Council, 530 U.S. 363, 372–73, 120 S.Ct. 2288, 147               statutory language of the CDA and have limited the
L.Ed.2d 352 (2000). Reading the CDA expansively, they            expansion of its immunity beyond the protection
argue that the Ordinance conflicts with the CDA’s goal           Congress envisioned. As we have observed, “the
“to preserve the vibrant and competitive free market that        [relevant] section is titled ‘Protection for “good
presently exists for the Internet ... unfettered by Federal or   Samaritan” blocking and screening of offensive material.’
State regulation.” See            § 230(b)(2). We have           ”      Roommates.com, 521 F.3d at 1163–64 (quoting
consistently eschewed an expansive reading of the statute            47 U.S.C. § 230(c)); see also     Internet Brands, 824
that would render unlawful conduct “magically ... lawful         F.3d at 852. Congress intended to “spare interactive
when [conducted] online,” and therefore “giv[ing] online         computer services [the] grim choice” between voluntarily
businesses an unfair advantage over their real-world             filtering content and being subject to liability on the one
counterparts.” See      Roommates.com, 521 F.3d at 1164,         hand, and “ignoring all problematic posts altogether [to]
1164–65 n.15. For the same reasons, while we                     escape liability.”       Roommates.com, 521 F.3d at
acknowledge the Platforms’ concerns about the                    1163–64. In contrast, the Platforms face no liability for
difficulties of complying with numerous state and local          the content of the bookings; rather, any liability arises
regulations, the CDA does not provide internet companies         only from unlicensed bookings. We do not discount the
with a one-size-fits-all body of law. Like their                 Platforms’ concerns about the administrative burdens of
brick-and-mortar counterparts, internet companies must           state and local regulations, but we nonetheless disagree
also comply with any number of local regulations                 that § 230(c)(1) of the CDA may be read as broadly as
concerning, for example, employment, tax, or zoning.             they advocate, or that we may ourselves expand its
Because the Ordinance would not pose *684 an obstacle            provisions beyond what Congress initially intended.
to Congress’s aim to encourage self-monitoring of
third-party content, we hold that obstacle preemption does       In sum, neither express preemption nor obstacle
not preclude Santa Monica from enforcing the Ordinance.          preemption apply to the Ordinance. We therefore affirm
                                                                 the district court’s dismissal for failure to state a claim
Fundamentally, the parties dispute how broadly to                under the CDA.
construe the CDA so as to continue serving the purposes
Congress envisioned while allowing state and local
governments breathing room to address the pressing
issues faced by their communities. We have previously
acknowledged that the CDA’s immunity reaches beyond                                II. First Amendment
the initial state court decision that sparked its enactment.
                                                                 The Platforms also contend that the district court erred in
See      Fair Hous. Council v. Roommates.com, LLC, 521           dismissing their First Amendment claims. They argue
F.3d 1157, 1163 (9th Cir. 2008) (en banc) (discussing            that, even if the plain language of the Ordinance only
   Stratton Oakmont, Inc. v. Prodigy Servs. Co., which           reaches “conduct,” i.e., booking unlicensed properties, the
held an internet company liable for defamation when it           law effectively imposes a “content-based financial
removed some, but not all, harmful content from its              burden” on commercial speech and is thus subject to First
public message boards,        1995 WL 323710 (N.Y. Sup.          Amendment scrutiny. The district court concluded that the
Ct. May 24, 1995) (unpublished)). As the Platforms               Ordinance “regulates conduct, not speech, and that the
correctly note, the Act’s policy statements broadly              conduct banned ... does not have such a ‘significant
promote “the vibrant and competitive free market that            expressive element’ as to draw First Amendment
presently exists for the Internet ... unfettered by Federal or   protection.” We agree.
State regulation.” See        47 U.S.C. § 230(b)(2). “[A]        [5]
                                                                   That the Ordinance regulates “conduct” is not alone
law’s scope often differs from its genesis,” and we have         dispositive. The Supreme Court has previously applied
repeatedly held the scope of immunity to reach beyond            First Amendment scrutiny when “ ‘speech’ and *685
defamation cases.       Barnes, 570 F.3d at 1101 (quoting        ‘nonspeech’ elements are combined in the same course of
   Chicago Lawyers’ Comm. for Civil Rights Under Law,            conduct.” See     United States v. O’Brien, 391 U.S. 367,
Inc. v. Craigslist, Inc., 519 F.3d 666, 671 (7th Cir. 2008),     376, 88 S.Ct. 1673, 20 L.Ed.2d 672 (1968). But
as amended (May 2, 2008)) (citing cases applying                 “restrictions on protected expression are distinct from
immunity for causes of action including discrimination,          restrictions on economic activity or, more generally, on
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nonexpressive conduct.”    Sorrell v. IMS Health Inc.,                International Franchise Ass’n, the “business
564 U.S. 552, 567, 131 S.Ct. 2653, 180 L.Ed.2d 544               agreement or business dealings” associated with
(2011). While the former is entitled to protection, “the         processing a booking is not conduct with a “significant
First Amendment does not prevent restrictions directed at        expressive element.” See      803 F.3d at 408 (citation and
commerce or conduct from imposing incidental burdens             quotation marks omitted). Contrary to the Platforms’
on speech.”    Id.                                               claim, the Ordinance does not “require” that they monitor
                                                                 or screen advertisements. It instead leaves them to decide
[6] [7]
      To determine whether the First Amendment applies,          how best to comply with the prohibition on booking
we must first ask the “threshold question [of] whether           unlawful transactions.
conduct with a ‘significant expressive element’ drew the
legal remedy or the ordinance has the inevitable effect of       Nor can the Platforms rely on the Ordinance’s “stated
‘singling out those engaged in expressive activity.’ ”           purpose” to argue that it intends to regulate speech. The
    Int’l Franchise Ass’n v. City of Seattle, 803 F.3d 389,      Ordinance itself makes clear that the City’s “central and
                                                                 significant goal ... is preservation of its housing stock and
408 (9th Cir. 2015) (quoting       Arcara v. Cloud Books,        preserving the quality and nature of residential
Inc., 478 U.S. 697, 706–07, 106 S.Ct. 3172, 92 L.Ed.2d           neighborhoods.” As such, with respect to the Platforms,
568 (1986) ). A court may consider the “inevitable effect        the only inevitable effect, and the stated purpose, of the
of a statute on its face,” as well as a statute’s “stated        Ordinance is to prohibit *686 them from completing
purpose.”      Sorrell, 564 U.S. at 565, 131 S.Ct. 2653.         booking transactions for unlawful rentals.
However, absent narrow circumstances, a court may not
conduct an inquiry into legislative purpose or motive            As for the second prong of our inquiry, whether the
beyond what is stated within the statute itself. See             Ordinance has the effect of “singling out those engaged in
    O’Brien, 391 U.S. at 383 n.30, 88 S.Ct. 1673. Because        expressive activity,”    Arcara, 478 U.S. at 706–07, 106
the conduct at issue—completing booking transactions for         S.Ct. 3172, we conclude that it does not. As the Platforms
unlawful rentals—consists         only of nonspeech,             point out, websites like Craigslist “advertise the very
nonexpressive conduct, we hold that the Ordinance does           same properties,” but do not process transactions. Unlike
not implicate the First Amendment.                               the Platforms, those websites would not be subject to the
                                                                 Ordinance, underscoring that the Ordinance does not
First, the prohibitions here did not target conduct with “a      target websites that post listings, but rather companies
significant expressive element.” See        Arcara, 478 U.S.     that engage in unlawful booking transactions.
at 706, 106 S.Ct. 3172. Our decision in         International    [8]
                                                                   Moreover, the incidental impacts on speech cited by the
Franchise Ass’n is analogous. There, the plaintiff
                                                                 Platforms raise minimal concerns. The Platforms argue
challenged a minimum wage ordinance that would have
                                                                 that the Ordinance chills commercial speech, namely,
accelerated the raising of the minimum wage to $ 15 per
                                                                 advertisements for third-party rentals. But even accepting
hour for franchise owners and other large employers.
                                                                 that the Platforms will need to engage in efforts to
   803 F.3d at 389. In denying a preliminary injunction,         validate transactions before completing them, incidental
the district court held that the plaintiffs were not likely to   burdens like these are not always sufficient to trigger First
succeed on their First Amendment argument that the
                                                                 Amendment scrutiny. See         Int’l Franchise Ass’n, 803
ordinance treated them differently based on their “speech
                                                                 F.3d at 408 (“[S]ubjecting every incidental impact on
and association” decisions to operate within a franchise
                                                                 speech to First Amendment scrutiny ‘would lead to the
relationship framework.         Id. at 408–09. We agreed,        absurd result that any government action that had some
concluding that the “business agreement or business              conceivable speech inhibiting consequences ... would
dealings” were not conduct with a “significant expressive        require analysis under the First Amendment.’ ” (quoting
element.”       Id. at 408. Instead, “Seattle’s minimum             Arcara, 478 U.S. at 708, 106 S.Ct. 3172 (O’Connor, J.,
wage ordinance [was] plainly an economic regulation that         concurring))). Furthermore, to the extent that the speech
[did] not target speech or expressive conduct.”       Id.        chilled advertises unlawful rentals, “[a]ny First
                                                                 Amendment interest ... is altogether absent when the
Similarly, here, the Ordinance is plainly a housing and          commercial activity itself is illegal and the restriction on
rental regulation. The “inevitable effect of the                 advertising is incidental to a valid limitation on economic
[Ordinance] on its face” is to regulate nonexpressive            activity.” See      Pittsburgh Press Co. v. Pittsburgh
conduct—namely, booking transactions—not speech. See             Comm’n on Human Relations, 413 U.S. 376, 389, 93
   Sorrell, 564 U.S. at 565, 131 S.Ct. 2653. As in               S.Ct. 2553, 37 L.Ed.2d 669 (1973).
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                                                                   at 152, 80 S.Ct. 215.
Finally, because the Ordinance does not implicate speech
protected by the First Amendment, we similarly reject the
Platforms’     argument     that    the   Ordinance     is
unconstitutional without a scienter requirement. In most
cases, there is no “closed definition” on when a criminal                           III. Remaining Claims
statute must contain a scienter requirement. See
                                                                   On appeal, the Platforms do not challenge dismissal of
    Morissette v. United States, 342 U.S. 246, 260, 72             their other federal law claims “in light of the district
S.Ct. 240, 96 L.Ed. 288 (1952). However, the Supreme               court’s interpretation of the Ordinance as only requiring
Court has drawn a bright line in certain contexts, such as         *687 disclosure of information pursuant to requests that
holding that the First Amendment requires statutes                 comply with the Fourth Amendment and Stored
imposing criminal liability for obscenity or child                 Communications Act.” Similarly, the parties specified
pornography to contain a scienter requirement. See                 that they would “not challenge the district court’s decision
    New York v. Ferber, 458 U.S. 747, 765, 102 S.Ct.               to decline supplemental jurisdiction if all the Platforms’
3348, 73 L.Ed.2d 1113 (1982). Such a requirement                   federal claims were properly dismissed.” Accordingly, we
prevents “a severe limitation on the public’s access to            need not consider the remaining claims.
constitutionally protected matter” as would result from
inflexible laws criminalizing “bookshops and periodical                                       ***
stands.”     Smith v. California, 361 U.S. 147, 153, 80
S.Ct. 215, 4 L.Ed.2d 205 (1959).                                   Because the district court properly dismissed the
                                                                   Platforms’ complaints for failure to state a claim, we
[9]
  Here, even assuming that the Ordinance would lead the            dismiss as moot the appeals from the denial of
Platforms to voluntarily remove some advertisements for            preliminary injunctive relief.
lawful rentals, there would not be a “severe limitation on
the public’s access” to lawful advertisements, especially          AFFIRMED in part, DISMISSED in part.
considering the existence of alternative channels like
Craigslist.    Id. Such an incidental burden is far from “a        All Citations
substantial restriction on the freedom of speech” that
would necessitate a scienter requirement.       Id. at 150,        918 F.3d 676, 19 Cal. Daily Op. Serv. 2271, 2019 Daily
80 S.Ct. 215. Otherwise, “[t]here is no specific                   Journal D.A.R. 2064
constitutional inhibition against making the distributors of
good[s] the strictest censors of their merchandise.”     Id.
                                                          Footnotes


*
       The Honorable Michael H. Simon, United States District Judge for the District of Oregon, sitting by designation.

1
       The Platforms do not own, lease, or manage any of the properties listed on their websites, nor are they parties to
       the rental agreements. Instead, the content provided alongside the listings—such as description, price, and
       availability—are provided by the hosts. For their services, the Platforms collect a fee from each successful booking.

2
       The Platforms do not appeal the district court’s dismissal of other federal claims brought under the Fourth
       Amendment and the Stored Communications Act. Similarly, they do not challenge the court’s decision not to
       exercise supplemental jurisdiction over the state-law claims under the California Coastal Act if we affirm the
       dismissal of their federal claims. Because we affirm the district court’s dismissal, we need not consider the state-law
       claims. We deny Santa Monica’s motion for judicial notice of its prior enforcement actions because the dispute as to
       its prior actions relates only to the state-law claims.

3
       The Platforms argued below that the district court must accept as true their allegation that they would “have to”
       monitor and screen listings. As a matter of law, the Ordinance does not require them to do so. Courts are “not


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       bound to accept as true a legal conclusion couched as a factual allegation.”        Bell Atlantic Corp. v. Twombly, 550
       U.S. 544, 555, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007) (quoting       Papasan v. Allain, 478 U.S. 265, 286, 106 S.Ct.
       2932, 92 L.Ed.2d 209 (1986) ).




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                EXHIBIT B
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Greater Philadelphia Chamber of Commerce v. City of Philadelphia, 949 F.3d 116 (2020)
170 Lab.Cas. P 62,023




                                                                          [5]
                                                                            inquiry provision was sufficiently narrowly tailored to
    KeyCite Yellow Flag - Negative Treatment                              comply with First Amendment.
Distinguished by International Outdoor, Inc. v. City of Troy, Michigan,
6th Cir.(Mich.), September 4, 2020
                       949 F.3d 116                                       Affirmed in part, vacated in part, and remanded.
       United States Court of Appeals, Third Circuit.
                                                                          Procedural Posture(s):       On    Appeal;    Motion     for
        GREATER PHILADELPHIA CHAMBER OF                                   Preliminary Injunction.
       COMMERCE, Individually and on behalf of its
           members, Appellant in No. 18-2176
                          v.
         CITY OF PHILADELPHIA; Philadelphia                                West Headnotes (24)
      Commission on Human Relations, Appellants in
                     No. 18-2175
                                                                           [1]    Injunction     Extraordinary or unusual nature of
                  Nos. 18-2175 & 18-2176
                                                                                  remedy
                               |
                 Argued on March 15, 2019
                                                                                  Preliminary injunction is extraordinary remedy,
                               |
                                                                                  which should be granted only in limited
              (Opinion filed: February 6, 2020)
                                                                                  circumstances.


Synopsis                                                                          12 Cases that cite this headnote
Background: Local organization of businesses brought
action alleging that city ordinance prohibiting employers
from inquiring about prospective employee’s wage
history and from relying on wage history to determine
                                                                           [2]    Injunction     Grounds in general; multiple
salary violated employers’ First Amendment free speech
                                                                                  factors
rights. The United States District Court for the Eastern
District of Pennsylvania, Mitchell S. Goldberg, J.,  319                          To get preliminary injunction, moving party
F.Supp.3d 773, granted in part organization’s motion for                          must establish: (1) likelihood that it will prevail
preliminary injunction. Parties filed cross-appeals.                              on merits at final hearing; (2) extent to which it
                                                                                  is being irreparably harmed by conduct
                                                                                  complained of; (3) extent to which non-movant
                                                                                  will suffer irreparable harm if preliminary
Holdings: The Court of Appeals, McKee, Circuit Judge,
                                                                                  injunction is issued; and (4) that public interest
held that:
                                                                                  weighs in favor of granting injunction.
[1]
   provision of ordinance making it illegal for employers
to rely on prospective employee’s wage history in                                 18 Cases that cite this headnote
determining wages did not regulate speech;
[2]
   provision of ordinance prohibiting employers from
asking job applicants about their wage history regulated
commercial speech;                                                         [3]    Civil Rights    Preliminary Injunction
[3]
   speech at issue in inquiry provision did not concern                           On motion for preliminary injunction in First
unlawful activity;                                                                Amendment cases, government bears burden of
                                                                                  proving that law is constitutional; thus, plaintiff
[4]
    inquiry provision sufficiently advanced city’s                                must be deemed likely to prevail if government
substantial interest in mitigating racial and gender-based                        fails to show law’s constitutionality. U.S. Const.
pay gap to comply with First Amendment; and

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       Amend. 1.

                                                              [7]    Federal Courts Preliminary injunction;
       2 Cases that cite this headnote                               temporary restraining order

                                                                     In evaluating grant or denial of preliminary
                                                                     injunction, Court of Appeals reviews de novo
                                                                     lower court’s conclusions of law, but reviews its
[4]    Injunction     Presumptions and burden of proof               findings of fact for clear error.
       Burdens at preliminary injunction stage track
       burdens at trial.                                             2 Cases that cite this headnote


       1 Cases that cite this headnote

                                                              [8]    Constitutional Law Labor and Employment
                                                                     in General
                                                                     Labor and Employment Other particular
[5]    Civil Rights     Preliminary Injunction                       issues
       To obtain preliminary injunction in First                     Provision of city ordinance making it illegal for
       Amendment free speech case, moving party                      employers to rely on prospective employee’s
       must first make colorable claim that law restricts            wage history from any current or former
       some form of speech, and government must then                 employer in determining wages for such
       justify its restriction on speech under whatever              individual at any stage in employment process,
       level of scrutiny is appropriate—intermediate or              including negotiation or drafting of any
       strict—given restriction in question, and if                  employment contract, did not regulate speech,
       government          succeeds      in      showing             and thus was not subject to First Amendment
       constitutionality, then motion for preliminary                scrutiny; only activity regulated by provision
       injunction fails because there is no likelihood of            was act of relying on wage history to set salary,
       success on merits, but if government cannot                   and any speech component of negotiation
       establish that law is constitutional, challenger              process was left intact. U.S. Const. Amend. 1.
       must still demonstrate irreparable harm, though
       that is generally presumed where moving party’s
       freedom of speech right is being infringed. U.S.
       Const. Amend. 1.


       5 Cases that cite this headnote                        [9]    Constitutional Law     Labor and Employment
                                                                     in General

                                                                     Provision of city ordinance prohibiting
                                                                     employers from asking job applicants about
[6]    Federal Courts Preliminary injunction;
                                                                     their wage history regulated commercial speech
       temporary restraining order
                                                                     for First Amendment purposes, and thus
       Court of Appeals reviews grant or denial of                   intermediate scrutiny under      Central Hudson
       preliminary injunction for abuse of discretion,               was appropriate level of review; provision
       error of law, or clear mistake in consideration of            pertained only to communications between
       proof.                                                        employer and prospective employee, implicated
                                                                     no interests beyond contract of employment, and
                                                                     did not focus on any particular viewpoint or
       3 Cases that cite this headnote                               favor any particular employer or job. U.S.
                                                                     Const. Amend. 1.


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                                                                     speech concerns lawful activity and is not
                                                                     misleading; (2) asserted governmental interest is
                                                                     substantial; (3) regulation directly advances
                                                                     governmental interest asserted; and (4)
                                                                     regulation is not more extensive than is
[10]   Constitutional Law     What is “commercial                    necessary to serve that interest. U.S. Const.
       speech”                                                       Amend. 1.
       Constitutional Law     Advertising

       In deciding whether speech is commercial for
       First Amendment purposes, and thus subject to
       intermediate scrutiny under     Central Hudson,
       court should consider whether: (1) speech is
       advertisement; (2) speech refers to specific           [13]   Constitutional Law Strict or exacting
       product or service; and (3) speaker has                       scrutiny; compelling interest test
       economic motivation for speech; affirmative
       answers to all three questions provide strong                 Speaker-based laws demand strict scrutiny under
       support for conclusion that speech is                         First   Amendment       when      they    reflect
       commercial, but all three characteristics need                government’s preference for substance of what
       not be present for given expression to qualify as             favored speakers have to say or aversion to what
                                                                     disfavored speakers have to say. U.S. Const.
       commercial speech. U.S. Const. Amend. 1.
                                                                     Amend. 1.

       2 Cases that cite this headnote




[11]   Constitutional Law Difference in protection            [14]   Constitutional Law False, untruthful,
       given to other speech                                         deceptive, or misleading speech
       Constitutional Law Reasonableness;                            Constitutional Law Unlawful speech or
       relationship to governmental interest                         activities

       Because commercial speech is linked                           Under      Central Hudson, commercial speech
       inextricably with commercial arrangement it                   at least must concern lawful activity and not be
       proposes, state’s interest in regulating                      misleading to qualify for protection under First
       underlying transaction may give it concomitant                Amendment. U.S. Const. Amend. 1.
       interest in expression itself, and First
       Amendment therefore accords lesser protection
       to commercial speech than to other
       constitutionally guaranteed expression. U.S.
       Const. Amend. 1.

                                                              [15]   Constitutional Law Strict or exacting
       1 Cases that cite this headnote                               scrutiny; compelling interest test

                                                                     To uphold regulation restricting speech under
                                                                     strict scrutiny standard of review under First
                                                                     Amendment, government must show that
[12]   Constitutional Law Reasonableness;                            regulation is necessary to serve compelling state
       relationship to governmental interest                         interest, and that regulation is least restrictive
                                                                     means of achieving that interest. U.S. Const.
       In deciding whether particular commercial                     Amend. 1.
       speech regulation is permissible under First
       Amendment, court must determine whether: (1)

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                                                                     inferences based on substantial evidence. U.S.
       1 Cases that cite this headnote                               Const. Amend. 1.




[16]   Constitutional Law Labor and Employment
       in General
       Labor and Employment Other particular                  [19]   Constitutional Law Labor and Employment
       issues                                                        in General
                                                                     Labor and Employment Other particular
       Commercial speech at issue in provision of city               issues
       ordinance prohibiting employers from asking
       job applicants about their wage history did not               Provision of city ordinance prohibiting
       concern unlawful activity, for purposes of                    employers from asking job applicants about
       determining     whether    provision    violated              their wage history sufficiently advanced city’s
       employers’ First Amendment rights, even if                    substantial interest in mitigating racial and
       wage history could be relied upon in fashioning               gender-based pay gap to comply with First
       salary that had effect of discriminating against              Amendment, even if many studies cited by city
       women and minorities. U.S. Const. Amend. 1.                   did not conclusively prove that discrimination
                                                                     was sole cause of wage gap; record before city
                                                                     council contained substantial evidence that wage
                                                                     gap was substantial and real, that wage gap was
                                                                     most likely result of discrimination, that existing
                                                                     civil rights laws had been inadequate to close
                                                                     wage gap, and that relying on wage history
[17]   Constitutional Law Reasonableness;                            could perpetuate gender and race discrimination.
       relationship to governmental interest                         U.S. Const. Amend. 1.

       To demonstrate that regulation of commercial
       speech directly advances government’s interest                1 Cases that cite this headnote
       in direct and material way, as required to
       comply with First Amendment, government
       must show that harms it recites are real and that
       its restriction will in fact alleviate each of them
       to material degree; speculation or conjecture          [20]   Constitutional Law Reasonableness;
       cannot satisfy this burden. U.S. Const. Amend.                relationship to governmental interest
       1.
                                                                     Under       Central Hudson, scope of law
                                                                     restricting commercial speech must be in
                                                                     proportion to interest served. U.S. Const.
                                                                     Amend. 1.

[18]   Constitutional Law Reasonableness;
       relationship to governmental interest

       In deciding whether regulation of commercial
       speech directly advances government’s interest         [21]   Constitutional Law Reasonableness;
       in direct and material way, as required by First              relationship to governmental interest
       Amendment, court’s inquiry is not license to
       reweigh evidence de novo, or to replace
                                                                     Under          Central Hudson, legislation
       legislators’ factual predictions with its own;
                                                                     restricting commercial speech must provide fit
       rather, court’s task is merely to determine
                                                                     that is not necessarily perfect, but reasonable;
       whether legislature has drawn reasonable
                                                                     one that represents not necessarily the single
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       best disposition, but proportionate one. U.S.                 regulatory measures only as last alternative or
       Const. Amend. 1.                                              that it demonstrate that legislation is the least
                                                                     restrictive response. U.S. Const. Amend. 1.


                                                                     1 Cases that cite this headnote


[22]   Constitutional Law Labor and Employment
       in General
       Labor and Employment Other particular                 *119 On Appeal from the United States District Court for
       issues                                                the Eastern District of Pennsylvania (D.C. No.
                                                             2-17-cv-01548) District Judge: Honorable Mitchell S.
       Provision of city ordinance prohibiting               Goldberg
       employers from asking job applicants about
       their wage history was sufficiently narrowly          Attorneys and Law Firms
       tailored to city’s substantial interest in
       mitigating racial and gender-based pay gap to         Benjamin H. Field, Jane L. Istvan, Nicole S. Morris,
       comply with First Amendment; provision only           Marcel S. Pratt, Esquire (Argued), City of Philadelphia,
       prohibited employers from inquiring about             Law Department, 1515 Arch Street, Philadelphia, PA
       single topic, while leaving employers free to ask     19102, Counsel for Appellants/Cross-Appellees
       wide range of other questions, and did not
                                                             Adam R. Pulver, Scott L. Nelson, Public Citizen
       prohibit employers from obtaining market salary
                                                             Litigation Group, 1600 20th Street NW, Washington, DC
       information from other sources, but simply
                                                             20009, Counsel for Amicus Public Citizen Inc.
       prohibited employers from inquiring about wage
       history at specific point in time when city           Maura Healey, Elizabeth N. Dewar, Genevieve Nadeau,
       determined that risk was greatest for conduct         Erin K. Staab, Office of Attorney General Massachusetts,
       that perpetuated discrimination. U.S. Const.          One Ashburton Place, McCormack Building, Boston, MA
       Amend. 1.                                             02108, Counsel for Amicus Commonwealth of
                                                             Massachusetts; District of Columbia; Commonwealth of
                                                             Puerto Rico; Commonwealth of Virginia; State of
                                                             Connecticut; State of Delaware; State of Illinois; State of
                                                             New Jersey; State of New Jersey; State of New York;
                                                             State of Vermont; State of Washington
[23]   Constitutional Law     Commercial Speech in
                                                             Zachary W. Carter, Richard Dearing, Devin Slack, Eric
       General
                                                             Lee, Jamison Davies, New York City Law Department,
                                                             Room 6-178, 100 Church Street, New York, NY 10007,
            Central Hudson does not require that             Counsel for Amicus City of New York; City of Berkeley;
       restriction on commercial speech redress harm         City of Columbus; City of Oakland; County of Santa
       completely; government may choose to regulate         Clara; City and County of San Francisco; City of Seattle;
       only part of speech that causes harm. U.S.            City of South Bend
       Const. Amend. 1.
                                                             Terry L. Fromson, Amal Bass, Women’s Law Project,
                                                             125 South 9th Street, Suite 300, Philadelphia, PA 19107,
                                                             Counsel for Amicus Womens Law Project; 36
                                                             Organizations Dedicated to Gender Wage Equity

                                                             Richard A. Samp, Cory L. Andrews, Washington Legal
[24]   Constitutional Law Reasonableness;                    Foundation, 2009 Massachusetts Avenue, N.W.,
       relationship to governmental interest                 Washington, DC 20036, Counsel for Amicus Washington
                                                             Legal Foundation
       Intermediate scrutiny of restriction on
       commercial speech under First Amendment does          Kellam M. Conover, Miguel A. Estrada (Argued), Amir
       not require that government adopt such                C. Tayrani, Gibson, Dunn & Crutcher LLP, 1050

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This appeal requires us to decide whether a Philadelphia       unconstitutional. We believe the court’s analysis of that
Ordinance that prohibits employers from inquiring into a       provision applied a much higher standard than required.
prospective employee’s wage history in setting or              The Supreme Court has not demanded that the enacting
negotiating that employee’s wage violates the First            authority achieve legislative certainty or produce
Amendment. The district court held the Ordinance               empirical proof that the adopted legislation would achieve
unconstitutional insofar as it prohibits that inquiry.         the stated interest even when applying strict scrutiny.
However, the court upheld the provision of the Ordinance       Rather, the appropriate inquiry requires courts to
that prohibits reliance on wage history based on the           determine whether the legislature “has drawn reasonable
court’s conclusion that such reliance did not implicate        inferences based on substantial evidence.”2 The Supreme
protected speech.                                              Court has even “permitted litigants to justify [analogous]
                                                               speech restrictions by reference to studies and anecdotes
For the reasons that below, we affirm the court’s order        pertaining to different locales altogether, or even, in a
insofar as it upholds the Reliance Provision but reverse it    case applying strict scrutiny, to justify restrictions based
insofar as it strikes down the Inquiry Provision.              solely on history, consensus, and ‘simple common sense.’
                                                               ”3 In short, the Supreme Court has upheld similar
                                                               restrictions based on much less evidence than the City
                                                               presented here.


I. BACKGROUND
In 2017, the City of Philadelphia enacted an ordinance to
address the disparity in the pay of women and minorities
that is often called the “pay gap.” The Ordinance contains        A. The Disparity And The Ordinance
two provisions: the “Inquiry Provision,” which prohibits       According to the 2015 census, women in Pennsylvania
an employer from asking about a prospective employee’s         earned 79 cents for every dollar earned by similarly
wage history, and the “Reliance Provision,” which              situated men.4 For women of color, the wage gap is even
prohibits an employer from relying on wage history at any      more profound. Black women earn 68 cents for every
point in the process of setting or negotiating a prospective   dollar paid to similarly situated men, and Latina women
employee’s wage. The Greater Philadelphia Chamber of           earn 56 cents for every dollar paid to similarly situated
Commerce filed this suit, individually and on behalf of        men.5 The gap begins for women as soon as they enter the
some of its members, alleging that both provisions of the      workforce. In just the first year after college, full-time
Ordinance infringe on the freedom of speech of the             working women earn, on average, just 82% of what their
Chamber and its members.                                       male peers earn.6 Overall, women under the age of 35
                                                               earn 88-91% of *123 what their male peers earn.7 Rather
The Chamber concedes that the pay gap exists, and that         than improve, as women gain experience in the work
the City has a substantial *122 governmental interest in       force the situation gets worse. Women aged 35 and over
addressing it. However, the Chamber argues that the City       earn only 77-81% of what male peers earn.8
passed the Ordinance “with only the barest of legislative
records” and, therefore, did not present sufficient            In response to this persistent wage disparity, the City of
evidence to establish that the Ordinance would satisfy the     Philadelphia enacted the Ordinance at the center of this
City’s objective.1                                             dispute. The Ordinance states:

Accordingly, the Chamber claims that the Ordinance               It is an unlawful employment practice for an employer
cannot survive its First Amendment challenge under               ...
either strict or intermediate scrutiny.
                                                                 (i) To inquire about a prospective employee’s wage
The district court agreed that the Inquiry Provision             history, require disclosure of wage history, or condition
violated the First Amendment speech rights of employers          employment or consideration for an interview or
and invalidated that part of the Ordinance. But the court        employment on disclosure of wage history, or retaliate
concluded that the Reliance Provision withstood the              against a prospective employee for failing to comply
Chamber’s First Amendment challenge because it did not           with any wage history inquiry.
impact speech.

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  (ii) To rely on the wage history of a prospective          confirmed *124 that “[t]he gap remains consistent across
  employee from any current or former employer of the        age groups, levels of education, and for full-time workers
  individual in determining the wages for such individual    across a number of occupations.”14 She discussed research
  at any stage in the employment process, including the      that showed, after accounting for choice of occupation,
  negotiation or drafting of any employment contract,        hours worked, economic sector, experience, grade point
  unless such applicant knowingly and willingly              average, undergraduate institution, marital status and
  disclosed his or her wage history to the employer,         other factors, a significant gap between the earnings of
  employment agency, employee or agent thereof.              men and women remained—beginning one year after
  (c) For purposes of this Section 9-1131, “to inquire”      graduation and widening in the years thereafter.15 For
  shall mean to ask a job applicant in writing or            example, in Philadelphia, “[t]he single most common
  otherwise. ...9                                            occupation for Latinas is that of maids, housekeepers,
                                                             janitors or building cleaners where they make up 22
Employers who violate the Ordinance are subject to civil     percent of the people employed in those jobs.”16 However,
and criminal penalties, including compensatory damages,      “Latinas who work full time in these occupations, year
up to $2,000 in punitive damages per violation, and an       round, are paid just 58 cents for every dollar paid to
additional $2,000 and 90 days’ incarceration for a repeat    White, non-Hispanic men in the same occupations.”17 She
offense.10                                                   testified that the pay gap “costs a typical woman in
                                                             Pennsylvania about $918,120 over the course of her
                                                             career.”18



   B. Legislative Background
The City seeks to justify the Ordinance by relying on the                        b. Terry Fromson
testimony of witnesses who testified before the City
Council prior to the enactment of the Ordinance and an       Terry L. Fromson, the Managing Attorney for the
affidavit by Dr. Janice Madden that the City submitted to    Women’s Law Project, testified before the City Council
the district court in response to the Chamber’s              that the practice of obtaining and using wage history to set
constitutional challenge. Dr. Madden reviewed thousands      pay is one contributor to the pay gap.19 She told the City
of peer-reviewed research studies and concluded, among       Council that “a sizable wage gap exists between men and
other things, that “there is wage discrimination in the      women in Pennsylvania, one that is substantially larger
labor market, suppressing the prior wages of women and       for women of color.”20 She testified that unequal pay “has
minorities” and this “is consistent with the findings of     persisted despite the existence of equal pay laws banning
thousands of research studies.”11 She concluded that         sex discrimination [in] wages for five decades.”21
“these scholarly studies show ... that significant and
substantial wage differentials by race and gender, which     She explained that discrepancy in pay continues, in part,
are not explained by credentials or qualification,           because current laws targeting discrimination, such as
persist.”12 The Chamber presented no evidence                “the Equal Pay Act[,] specifically[ ] allow[ ] employers to
challenging any of Dr. Madden’s conclusions or the           justify paying women less than men based on what is
studies those conclusions were based on.                     described as a factor other than sex.”22 Ms. Fromson
                                                             explained that “many courts have interpreted prior wages
                                                             as a factor other than sex, when in fact, it is typically not.
                                                             It is not gender neutral.”23 She elaborated, “[a] woman’s
                                                             prior pay may very well be based on a sex discriminatory
         1. Testimony Before the City Council                assessment of her worth. It reflects historical market
                                                             forces based on sex stereotypes and assumptions about the
                                                             value of the equal work of one sex over the other.”24
                   a. Barbara Price
                                                             Fromson also gave a detailed explanation of how wage
Barbara Price, the Public Policy Chair of the American       history   perpetuates    and    institutionalizes   wage
Association of University Women, testified before the        discrimination. “Wage policies challenged in recent years
Council and submitted written testimony. She reiterated      *125 show how this happens.”25 One’s initial salary at a
that “the [wage] gap still exists today at 80 cents          given employer is based in part upon the salary of the
nationally and 79 cents for Pennsylvania, which ranks        employee’s most recent job. “The wage gap data tells us
[Pennsylvania] 27th as a state in the country.”13 She        that the woman’s salary is most likely less than the man

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who is equally situated to her.”26 Subsequent pay is then    Chairman of the Committee of Law and Government,
based on that starting salary “plus an increment that        noted that, in declining to include these added provisions,
would be applied equally to the men and the women. ...       the Philadelphia Ordinance did not go as far as other
[E]very time a salary increase happens, an equal             proposed wage history bans around the country. He told
percentage of prior pay is applied. And so, women ...        the committee, “the Massachusetts law goes a little wider
remain paid less than men.”27 In other words, the initial    than we do. We’re trying to keep it real basic[;] ... you’ll
discrepancy in pay is baked into all future pay increases,   hear from a witness that thinks we don’t make it strong
even in workplaces in which pay is increased at the same     enough, but we’re trying to find that great balance that we
percentage for similarly situated men and women.             always try to in legislation. ...”38 We are trying “at this
                                                             point [to] limit it to stopping the employer from asking,
Fromson told the Council: “[b]y specifically outlawing       directly asking, the prospective employee what they
the practice of relying on prior wages to set a new          make.”39 He also noted “for the record, as far as the
employee’s pay, this [O]rdinance will provide clarity that   Chamber of Commerce goes, the Boston Chamber of
will relieve women of having to gamble on whether a          Commerce supported the Massachusetts law. ... [T]hey
court will properly interpret this practice as unlawful”     obviously did not believe it was that injurious to
discrimination.28 It will therefore help ensure that wage    businesses.”40
growth and wage decisions are based on qualifications
and job requirements “rather than a factor that likely
reflects longstanding gender-based wage disparities in the
labor market.”29 She also noted that the EEOC recognizes
prior salaries of job candidates can reflect sex-based                        c. Marianne Bellesorte
compensation discrimination.30
                                                             Marianne Bellesorte, Vice President of Advocacy at
Fromson informed the Council that Massachusetts had          Pathways PA,41 analyzed wage gap data and concluded
approved a similar ban on inquiries into wage history and    that the wage gap for women and men of color “are
New York City had adopted an executive order to that         compounded” when these individuals are asked to share
effect insofar as public employees were concerned.31 She     their wage history.42 She told the Council “[o]ne step in
added that similar legislation was then pending in several   addressing wage inequality is ensuring that a history of
jurisdictions including New Jersey, the District of          low salaries does not follow women into a new
Columbia, and New York City (to expand to all                workplace.”43 She emphasized that “the wage gap is not
employers in the city and not just municipal employers).32   just about women. It is also about people of color, men
                                                             and women.”44 She explained how wage inquiries
Fromson also suggested that the Council consider adding      perpetuate discrimination for women and minorities:
two clarifications to the proposed Ordinance based on        “Inequitable wages start right out of college, and they’re
provisions in the Massachusetts law and New York City        compounded when women and [minorities] apply for new
executive order. The first provision would have prohibited   jobs and are asked to share their pay history. Instead of
employers from seeking an employee’s wage history from       starting their job on an equal footing, they enter with a
current or former employees. She noted that “while [the      lower salary because it was based on previous
Ordinance] prohibits an employer from asking a job           employment.”45 She continued: “Not surprisingly as
applicant for wage history, it does not bar inquiries        women get older, the wage gap continues to grow and
directly to current and former employers.” *126 33 The       continues to affect women in retirement.”46 Bellesorte also
second suggested change was to allow reliance on wage        explained: *127 “By preventing potential employers
history after an offer of employment and compensation        [from] asking for salary history, Philadelphia’s workers
had been made.34 She explained that without the second       gain the ability to earn what their work is actually worth.
change, the proposed legislation allowed employers to        A woman who starts her career at the low end of a salary
consider wage history if the employee volunteered it         range will not be held to that standard for the rest of her
before an offer was made.35 Fromson suggested that this      work life.”47
“place[d] applicants in an untenable position of having to
choose between protecting what is biased information that
may adversely affect their future wages or [ ] risk being
denied a job.”36 In her opinion, that was “an inherently                          d. Rue Landau
coercive situation for someone to be in.”37
                                                             Rue Landau, the Executive Director of the Philadelphia
Ultimately, these added provisions were not incorporated     Commission on Human Relations, told the committee
into the Ordinance. Councilman William Greenlee,
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that, “as the agency charged with enforcing the Fair
Practices Ordinance ... the PCHR understand[s] that the
wage gap is real.”48 According to Ms. Landau, “women
working in Pennsylvania are paid only 79 cents for every
dollar a man earns.49 In real numbers, median annual             C. The Legal Challenge
earnings in Pennsylvania are $51,212 for a man and            In April 2017, the Chamber filed a Complaint and Motion
$40,742 for a woman.”50 She testified “the practice of        for Preliminary Injunction alleging the Ordinance violated
asking about an applicant’s wage history during the hiring    the First Amendment.58 The district court dismissed the
process can perpetuate wage inequality, low wages, and        original complaint for lack of standing. The Chamber
poverty. ... [A] jobseeker who has suffered from the wage     addressed that deficiency in a subsequently filed
gap can only be harmed when required to disclose her          Amended Complaint and refiled Motion for a Preliminary
salary history.”51 She concluded “the PCHR strongly           Injunction.59
believes[ ] that taking out any obstacles that employers
could use ... to discriminate is a very important thing to    The City responded to the Amended Complaint by
do. This is one of these barriers.”52                         submitting the affidavit of Dr. Janice Madden.60




       2. Other Testimony Before City Council                                 1. The Madden Affidavit

The Chamber did not present any witnesses in opposition       The City retained Dr. Madden, a highly respected labor
to the Ordinance, but it did submit written testimony from    economist, to summarize the research in each of the
Rob Wonderling, President and CEO of the Chamber. He          following areas: (1) the extent to which salaries of
wrote that the Ordinance “goes too far in dictating how       qualified job applicants have historically differed by race
employers can interact with potential hires.”53 Rather        or gender; (2) the effect of starting salaries on the overall
surprisingly, he submitted that employers use wage            salary differentials of comparable qualified employees by
history to “have a better understanding of whether a          race or gender–information that can be provided by an
candidate is worth pursuing based on previous                 applicant’s salary history; and (3) whether there are
compensation levels as well as the market value or            “alternative sources of such information” to support the
salaries for comparable positions.”54 That of course is       need for, and potential effectiveness of, the Ordinance.
exactly why the City Council was considering the              Her affidavit corroborated the testimony of the witnesses
Ordinance. It was trying to cut the Gordian knot that         who had testified before the City Council.61
continues to tie past discriminatory wages to future job
opportunities and wages so that employers would not           She concluded in her affidavit that “there is wage
decide if a given employee was “worth pursuing based on       discrimination in the labor market[ ] suppressing the prior
previous compensation levels.” Wonderling also asserted       wages of women and minorities” and that this “is
that “[i]n speaking with our members ... we hear that         consistent with the findings of thousands of research
compensation decisions are based on a number of               studies.”62 Dr. Madden reviewed the research on pay
different factors such as market value, internal equity,      differentials by *129 race and gender for workers with
funding limitations and competition. It is not made based     equivalent skills and experience. She stated that
on a candidate’s past salary history, gender or race.”55 As   “[h]undreds, possibly thousands, of scholarly studies over
discussed below, however, this claim was contradicted by      the years have decomposed the overall gender and racial
the Chamber members’ own submissions to the district          pay gaps into the proportion arising from gender and
court in which they confirmed that they use wage history      racial differences in experience, education, training, work
to *128 set wages.56                                          hours, occupations and industries.”63 Madden concluded
                                                              that “these scholarly studies show that the pay gap
The Chamber offered no testimony to refute the existence      remains when comparing only men and women or
of the wage gap, the role of discrimination in the wage       minorities and non-minorities with the same education,
gap, or the conclusion that prohibiting inquiry into one’s    experience, training, work hours, occupations and
wage history could help mitigate the wage gap. Based on       industries.”64 These studies found “significant and
this record, on December 8, 2016, after weighing the          substantial wage differentials by race and gender, which
testimony and submissions, the City Council unanimously       are not explained by credentials or qualification,
passed the Ordinance.57                                       persist.”65


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Dr. Madden reached several other conclusions based on          causes of the gap for specific minority sub-groups. It
her survey of the voluminous research supporting the           concludes, among other things: “Between the Great
need for the Ordinance, including that:                        Recession of 2007–2009 and 2015, gaps among
    • “Labor market researchers are in general agreement       new-entrant women expanded more than among any other
    that women and/or members of racial and ethnic             experience/gender group. The same factor that dominated
    minorities have received and currently receive lower       prior to 2000—growing labor market discrimination—is
    wages than comparably qualified and performing             the primary source of the erosion.”75 Additionally,
    men and/or members of majority racial and ethnic           “[a]mong black college graduates, growing discrimination
    groups.”66                                                 was essentially the sole cause of the [wage] gap’s
    • “Antidiscrimination laws, including the Civil            expansion, far outweighing the advantages black college
    Rights Act and the Equal Pay Act, have not                 graduates gained as a result of being slightly older (i.e.,
    eliminated the lower wages generally received by           more experienced) than their white counterparts.”76
    women and minority workers relative to men and
    majority workers of equivalent skill, ability,             Her distilled conclusions of these studies were that “labor
    experience, and performance.”67                            market discrimination continues to contribute to the wage
    • “Starting salaries typically differ by race and          gap;” “discriminatory wages persist;” and the “racial
    gender for workers of equivalent skills and                wage gap [is] increasing.”77
    abilities.”68
    • “The available evidence shows that when                  To eliminate the effect of variables other than race or
    employers do not have access to salary history, they       gender such as: education, experience, training,
    easily obtain information on past performance and          occupation, and industry, which could explain the wage
    skills of applicants and they select hires with this       gap, Madden also cited the studies relied on by Blau and
    information as effectively as those using salary           Kahn whose reviews focused on homogenous populations
    histories.”69                                              within the same industry. For example, they analyzed
                                                               studies within a group of lawyers and MBAs that were
According to Dr. Madden, denying employers                     able to control for very detailed characteristics, including,
information about a perspective employee’s wage history        for example, grade point averages while in school.78 “The
does not deprive a perspective employer of information         studies of lawyers and MBAs ... find that, even if one
needed to make an informed employment decision,                accounts for variables related to family status, like work
including      determining     an    appropriate       wage.   force interruption and fewer hours worked, unexplained
Concomitantly, putting such wage history beyond the            gender earnings differences remain which are potentially
reach of new employers helps break the discriminatory          due to discrimination.”79 Among lawyers, “men earned 11
chain linking an employee’s new salary to past salaries        percent more, controlling for an extensive list of worker
and any discriminatory judgments that may have                 qualifications and other factors, including grades while in
influenced those past salaries.70 The studies cited in Dr.     law school, detailed work history data, and type and size
Madden’s affidavit included comprehensive reviews of           of employer.”80 Among MBAs, “men earned nearly 7
scores of other studies. For example, she cites Stanley and    percent more even accounting for work force
Jarrell who performed a meta-regression analysis of            interruptions, fewer hours worked, and gender differences
fifty-five other studies and concluded that there is a “wide   in business school GPAs and finance courses taken.”81
consensus that gender wage discrimination exists” and the
“vast empirical economic literature, containing hundreds       *131 Blau and Kahn also reviewed experimental studies
of studies, reveals that women are ‘underpaid’                 that similarly concluded discrimination is a primary cause
disproportionate to their observed skills.”71 That study       of the wage gap. The authors believed that experiments
focused on *130 determining the extent of the reported         “provide[ ] particularly persuasive evidence of
gaps. Dr. Madden also relied upon the research of Blau         discrimination ... [because] they offer estimates of the role
and Kahn, who found in their review of data from 1980 to       of discrimination that are potentially less contaminated by
2010, “an unexplained gender wage gap in each year[’s          unmeasured factors.”82 For example, the authors describe
data].”72 They explained that the “finding of such an          an experimental study that not only replicated the gender
unexplained gap is fairly standard in the literature” and is   wage gap in otherwise identical candidates, but also
“taken as an estimate of labor market discrimination.”73       showed that starting salaries for women in the study were
                                                               set far lower than the (otherwise identical) male
Dr. Madden also cited Wilson and Rodgers who                   candidates. In the experiment, employers reviewed “the
concluded “discrimination has consistently played a major      application materials of (fictitious) [applicants] who[m]
role” in “the widening of racial wage gaps since 1979.”74      they were told ... applied for a science laboratory manager
This study focused on the minority wage gap and the            position.”83 Study participants “rated the male applicant as
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significantly more competent and suitable for the position     Inquiry Provision. The court held that it likely violated the
than the (identical) female applicant. Participants also set   Chamber’s and its members’ free speech rights. However,
a starting salary for male applicants that was almost          it found that the Reliance Provision–which prohibits
$4,000 higher than the salary offered to female applicants     relying on an applicant’s wage history at any point in the
and offered more career mentoring to the male                  process–regulated conduct rather             than    speech.
applicants.”84 Blau and Kahn conclude this research            Accordingly, the court refused to enjoin that provision.92
“strongly suggests that discrimination cannot be
discounted as contributing to the persistent gender wage       The court reasoned that the Reliance Provision, is “not
gap.”85                                                        subject ... to First Amendment scrutiny” because the
                                                               provision “does not ‘on its face, implicate the spoken or
In addition to synthesizing the conclusions reached in         written word.’ ”93 Instead, “[t]o the extent the Reliance
various studies, some of which are highlighted above, Dr.      Provision is content- or speaker-based,” the court found
Madden’s affidavit relies on her “consulting experience        the Reliance Provision “targets conduct and not speech.”94
with a wide range of employers over forty years.”86 That       Because the Chamber did not meet its burden of showing
experience corroborates that “gender and racial pay gaps       that the provision implicates speech, no First Amendment
between otherwise equivalent workers largely arise from        analysis was required.95
gender and racial differences in the salary set at hire.”87
                                                               However, the court found that the Inquiry Provision did
                                                               implicate speech and that it could not survive even the
                                                               less stringent intermediate scrutiny required under the
                                                               First Amendment.96 Thus the court did not discuss the
     2. Declarations Filed by Chamber Members                  actual level of scrutiny required to withstand the
                                                               Chamber’s First Amendment challenge.97 Rather, the
Members of the Chamber filed declarations in support of        court held that the Ordinance was unconstitutional under
their Motion for Preliminary Injunction. Those
declarations asserted that a wage history ban would harm       the less stringent standard of    Central Hudson Gas &
businesses because they use wage history as a factor in        Electric Corp. v. Public Service Commission of New
making salary offers and for other purposes.88 For             York.98 That decision rested on the court’s belief that the
example, Chamber Member Bittenbender stated that               City had not presented substantial evidence to support a
“[w]age history information is essential to salary offers in   conclusion that the Inquiry Provision would help close the
positions where [it] is unaware of the market wage.”89         wage gap.99
Similarly, Comcast asserted it “frequently inquires” about
an applicant’s “previous compensation and wage history,”       The district court determined that the requirements for a
among other things, to “understand the level of                preliminary injunction were met with respect to the
responsibility the applicant had,” evaluate the value the      Inquiry Provision because “the Chamber ha[d] alleged a
prior employer placed on the candidate, and “determine         real and actual deprivation of its and its members’ First
market wage for similar positions.”90 Similarly, the           Amendment rights through declarations.”100 Accordingly,
Children’s Hospital of Philadelphia submitted that it          it found, “the City cannot claim a legitimate interest in
“relies on wage history in making a salary offer.”91 The       enforcing an unconstitutional law” because “there is a
Chamber and its members, however, presented no                 significant public interest in upholding First Amendment
evidence that refuted or challenged the testimony before       principles.”101
the City before passing the Ordinance. That evidence
showed that prior wages of women and minorities is more        This appeal and cross appeal followed. The Chamber
indicative of compounded discrimination than an accurate       argues that the district *133 court erred in refusing to
assessment of the individual’s value to their prior            enjoin the Reliance Provision and that both provisions
employer. Thus, information obtained to *132 assess the        should have been reviewed under strict scrutiny. The City
applicant’s market value only perpetuates wage disparity.      alleges the district court erred in enjoining the Inquiry
                                                               Provision.




  D. The District Court Opinion
As we noted at the outset, the district court granted the      II. DISCUSSION
                                                               [1] [2]
Chamber’s motion for a preliminary injunction as to the                A preliminary injunction “is an extraordinary

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remedy, which should be granted only in limited                       A. The Reliance Provision
circumstances.”102 As the district court explained, the
moving party must establish four factors to get a
preliminary injunction:                                           1. The District Court Correctly Concluded that an
                                                                 Injunction as to the Reliance Provision Fails Because
             (1) the likelihood that the plaintiff                     the Provision Does Not Implicate Speech
             will prevail on the merits at final
                                                                [8]
             hearing; (2) the extent to which the                  As explained above, the Reliance Provision makes it
             plaintiff is being irreparably                     illegal for employers to “rely on the wage history of a
             harmed by the conduct complained                   prospective employee from any current or former
             of; (3) the extent to which the                    employer of the individual in determining the wages for
             defendant will suffer irreparable                  such individual at any stage in the employment process,
             harm if the preliminary injunction                 including the negotiation or drafting of any employment
             is issued; and (4) [that] the public               contract.”114 The district court correctly concluded that
             interest [weighs in favor of                       this provision does not regulate speech. Accordingly, the
             granting the injunction].103                       court did not need to conduct a First Amendment analysis.
                                                                As the court explained, the Reliance Provision does not
Generally, the moving party must establish the first two        “on its face, implicate the spoken or written word.”115 In
factors and only if these “gateway factors” are established     arguing to the contrary, the Chamber claimed that the
does the district court consider the remaining two              “Provision restricts [the] ability to communicate and/or
factors.104 The court then determines “in its sound             convey a message.”116 The court found that here, unlike
discretion if all four factors, taken together, balance in      the situation in         Wollschlaeger v. Governor of
favor of granting the requested preliminary relief.”105         Florida117 and    Holder v. Humanitarian Law Project,118
[3]   [4]
                                                                the conduct that the Reliance Provision regulates “is not
      In First Amendment cases the initial burden is            executed through speech.”119
flipped. The government bears the burden of proving that
the law is constitutional; thus, the plaintiff “must be
deemed likely to prevail” if the government fails to show       In     Wollschlaeger, certain provisions of the Florida
the constitutionality of the law.106 This is because “ ‘the     Firearms Owners’ Privacy Act (FOPA), prohibited
burdens at the preliminary injunction stage track the           medical professionals from, among other things, entering
burdens at trial,’ ” and the burden of proving the              information about a patient’s gun ownership into medical
constitutionality of a law rests with the government.107        records, or inquiring about gun ownership, and
                                                                discriminating against a gun owner, unless the action was
[5]
  Therefore, in First Amendment cases, the moving party         relevant to the patient’s care. In explaining why the case
must first “mak[e] a colorable claim” that the law restricts    was not helpful, the district court correctly distinguished
some form of speech.108 The government must then                the “more specific actions” of “physical entry... into a
“justify its restriction on speech under whatever level of      patient log, making a written inquiry[ ] [and] asking a
scrutiny is appropriate (intermediate or strict) given the      question” which “implicate[ ] speech on their face” from
restriction in question.”109 If the government succeeds in      prohibiting reliance in the Ordinance.120 The district court
showing constitutionality, “then the motion for a               also explained that not all of the provisions in
preliminary injunction fails because there is no likelihood         Wollschlaeger were subject to First Amendment
of success on the merits.”110 If the government cannot          scrutiny. Like the Reliance Provision here, the
establish that the law is constitutional, the challenger must        Wollschlaeger court had concluded that the
still demonstrate irreparable harm, though that is              anti-discrimination provision of the FOPA did not “on its
generally presumed where the moving party’s freedom of          face, implicate the spoken or written word,” and therefore
speech right is being infringed.111                             scrutiny under the First Amendment was not
                                                                appropriate.121
[6] [7]
      We review the grant or denial of a preliminary
injunction for “an abuse of *134 discretion, an error of
                                                                The statute at issue in      Humanitarian Law Project
law, or a clear mistake in the consideration of proof.”112
                                                                banned providing “material support” to terrorist
We review de novo the lower court’s conclusions of law
                                                                organizations.122 The Supreme Court found that the statute
but review its findings of fact for clear error.113
                                                                did implicate speech because it prohibited legal training
                                                                and advice, which was support *135 given “in the form of
                                                                speech.”123 In rejecting the Chamber’s challenge to the

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Reliance Provision, the district court correctly concluded      makes the provision applicable.
that “[h]ere, unlike in [ Humanitarian Law Project], the
conduct is not executed through speech. Reliance on wage        *136 Moreover, even if the Chamber is correct that the
history does not demand speech the way that providing           Reliance Provision is “triggered” by negotiation, “it has
legal advice necessarily does.”124                              never been deemed an abridgment of freedom of speech
                                                                or press to make a course of conduct illegal merely
                                                                because the conduct was in part initiated, evidenced, or
                                                                carried out by means of language, either spoken, written,
                                                                or printed.”130 As explained by the Supreme Court in
    2. None of the Chamber’s Arguments Call into                    National Institute of Family & Life Advocates v.
       Question the District Court’s Conclusion                 Becerra,131 regulations that have an incidental impact on
                                                                speech are not unconstitutional violations of the freedom
The Chamber does not present any arguments before us            of speech. The district court recognized that, to the extent
that seriously challenge the district court’s reasoning or      that the Reliance Provision has an arguable effect on
analysis of the Reliance Provision. The district court’s        speech, it is incidental to the targeted reliance and does
discussion of that provision is thorough, accurate, and         not place the provision under First Amendment scrutiny.
persuasive. As the district court explained, the Reliance
Provision does not restrain any expressive message.
                                                                Moreover,         Valle Del Sol and           Centro de la
The Chamber argues that in “formulating a proposed              Comunidad Hispana de Locust Valley both dealt with
salary,” a prospective employer is “communicating a             ordinances that regulated day laborers’ abilities to
message about how much that applicant’s labor is worth          advertise their availability for work.132 Advertising is
to the employer.”125 But the Reliance Provision does not        prototypical speech that depends on spoken or written
restrict an employer from communicating an applicant’s          communication. Here, by contrast, the only activity being
worth. An employer may still discuss an applicant’s value       regulated by the Reliance Provision is the act of relying
based on his or her qualifications and abilities. The           on wage history to set a salary. Under the Ordinance, the
Ordinance simply attempts to prevent the employer from          speech component of the negotiation process, i.e., the
unknowingly incorporating past wage discrimination into         communication of a wage offer and any resulting
the terms of an applicant’s job offer. The employer             discussion, is left intact. Other courts have reached similar
remains free to communicate its own valuation of the            results in analogous contexts.133
employee by making as many offers at whatever salary it
deems appropriate. The Ordinance merely attempts to             Accordingly, as the Chamber has not shown a likelihood
ensure that any such offers are not unwittingly tethered to     of success on the merits of its constitutional challenge to
past discriminatory wage discrepancies.                         this part of the Ordinance; the district court correctly
                                                                refused to enjoin enforcement of the Reliance Provision.
The Chamber also argues that because the Reliance
Provision is “triggered” during the negotiation of a
contract, it necessarily implicates speech.126 Consequently,
the Chamber cites       Valle Del Sol Inc. v. Whiting,127 and
    Centro de la Comunidad Hispana de Locust Valley v.            B. The Inquiry Provision
Town of Oyster Bay,128 for the well settled proposition that    As discussed above, the Inquiry Provision of the
negotiating     the     terms     of     an    employment       Ordinance prohibits “ask[ing] a job applicant in writing or
arrangement–either orally or in writing–is speech subject       otherwise ... about [the applicant’s] wage history,
to the protections of the First Amendment.                      requir[ing] disclosure of wage history, or condition[ing]
                                                                employment or consideration for an interview or
This argument relies upon a misreading of the Ordinance.        employment on disclosure of wage history[.]”134 Unlike
The Reliance Provision is triggered not during negotiation      the Reliance Provision, the Inquiry Provision clearly
but by the employer’s reliance on the employee’s wage           regulates speech because it prevents employers from
history “at any stage in the employment drafting                asking potential applicants specific questions. The district
process.”129 The Chamber focuses on the phrase,                 court was therefore correct in concluding that it was first
“including the negotiating or drafting of the employment        necessary to determine the appropriate level of scrutiny to
contract,” but that is merely one of the many “stage[s] of      apply to that provision.
the employment process” during which the provision
applies. It is not, as the Chamber argues, the conduct that

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                 1. The Legal Standard                           previous wage history. This inquiry occurs in the
                                                                 context of a job application or job interview, both of
[9]
  The City argues that the speech at issue is commercial         which propose a commercial transaction ... [where] “all
speech and therefore intermediate scrutiny under the test        affected speech is either speech soliciting a commercial
outlined in      Central Hudson is appropriate. The              transaction or speech necessary to the consummation of
Chamber argues that even if the speech at issue is               a commercial transaction.”141
commercial speech, we should apply strict scrutiny
because the Inquiry Provision restricts expression *137
based on content and speaker. We agree with the district
court that the Inquiry Provision regulates commercial
speech and that intermediate scrutiny under      Central       b. Intermediate Scrutiny under        Central Hudson Is
Hudson is the appropriate level of review.                                         Appropriate

                                                              [11]
                                                                 “The        Central Hudson analysis is commonly
                                                              referred to as ‘intermediate *138 scrutiny.’ ”142 Because
                                                              commercial speech is “linked inextricably with the
                 a. Commercial Speech                         commercial arrangement it proposes, ... the State’s
                                                              interest in regulating the underlying transaction may give
The Supreme Court has described commercial speech as          it a concomitant interest in the expression itself.”143 “The
“expression related solely to the economic interests of the   Constitution therefore accords a lesser protection to
speaker and its audience.”135 A “proposal of possible         commercial speech than to other constitutionally
employment ... [is a] classic example[ ] of commercial        guaranteed expression.”144
speech.”136 Additionally, courts have recognized
commercial speech in a range of employment-related            [12]
                                                                 In     Central Hudson, the Public Service Commission
contexts, including communications that advertise labor       of New York City had attempted to address a fuel
availability and terms of employment,137 as well as           shortage in New York by promulgating an ordinance
agreements “under which services will be exchanged for        banning electricity-supply utilities from placing
compensation.”138                                             advertisements that promoted the use of electricity.145 A
[10]                                                          utility company challenged the ordinance arguing that it
   We have recognized three factors that aid the inquiry      infringed on the company’s free speech rights because the
into whether speech is commercial: “(1) is the speech an      ordinance banned speech based on the specific content of
advertisement; (2) does the speech refer to a specific        the speech and the identity of the speaker. In resolving the
product or service; and (3) does the speaker have an          First Amendment issue, the Supreme Court “articulated a
economic motivation for the speech[?] ... An affirmative      test for determining whether a particular commercial
answer to all three questions provides ‘strong support’ for   speech regulation is constitutionally permissible[.]”146
the conclusion that the speech is commercial.”139             Courts must determine whether: (1) the speech concerns
However, all three characteristics need not be present for    lawful activity and is not misleading; (2) the asserted
a given expression to qualify as commercial speech.140        governmental interest is substantial; (3) the regulation
                                                              directly advances the governmental interest asserted; and
Expression pertaining to a possible offer of employment       (4) “whether it is not more extensive than is necessary to
involves (1) an advertisement by the prospective              serve that interest.”147 As elaborated on below, under this
employee to the employer; (2) the focus of the                test, the “fit” between the proposed restriction and the
employee’s services for hire; and (3) by definition, an       government’s interest need not be the least restrictive
economic motive. The district court appreciated that the      means. It need only be a “reasonable fit between the
Inquiry Provision pertains only to communications             legislature’s ends and the means chosen to accomplish
between an employer and prospective employee and              those ends.”148
implicates no interests beyond the contract of
employment. Because the speech occurs in the context of
employment negotiations, the economic motive is clear.
The regulated speech is part of a “proposal of possible
employment.” Thus, the district court correctly                       c. Strict Scrutiny Is Inappropriate Here
concluded:
  [T]he Inquiry Provision prohibits Philadelphia-based        The Chamber argues that because the Ordinance only
  employers from asking potential hires about their           applies to employers and is focused squarely on content

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(wage history), strict scrutiny should have been applied.149   messages of brand-name pharmaceutical manufacturers
But as we described above, the Supreme Court has               and in promoting the prescription of generic drugs,” but
consistently applied intermediate scrutiny to commercial       the law prevented pharmaceutical manufacturers from
speech restrictions, even those that were content- and         using the information for their own marketing purposes.158
speaker-based, particularly when the challenged speech         Thus, the statute “disfavor[ed] marketing, i.e., speech
involves an offer of employment.150                            with a particular content, as well as particular speakers,
                                                               i.e., entities engaged in marketing *140 on behalf of
*139 [13]We realize, of course, that it may be appropriate     pharmaceutical manufacturers.”159 Strict scrutiny was
to apply strict scrutiny to a restriction on commercial        therefore required.
speech that is viewpoint-based.151 If the regulation has the
practical effect of promoting some messages or some            Moreover, even though the statute there was neither
speakers based on the content of the speech or the identity    viewpoint neutral nor speaker neutral, it is not even clear
of the speaker, something more than intermediate scrutiny      that the Court applied strict scrutiny there. As the district
may be necessary to survive a First Amendment inquiry.         court astutely recognized here,         Sorrell merely stands
“[S]peaker-based laws demand strict scrutiny when they         for the proposition that some level of scrutiny above
reflect the Government’s preference for the substance of       rational basis review applied. The district court explained:
what the favored speakers have to say (or aversion to
what the disfavored speakers have to say).”152                 “ Sorrell references a ‘heightened scrutiny,’ but it is
                                                               just as likely that this is the same as intermediate scrutiny,
                                                               which is stricter than rational basis scrutiny.”160 Moreover,
The Supreme Court addressed this in     R.A.V. v. City of
St. Paul, Minnesota.153 It explained that the rule that        after        Sorrell, courts have continued to apply
content-based speech restrictions are subject to strict            Central Hudson intermediate scrutiny to commercial
scrutiny is “not absolute” and is inapplicable when the        speech restrictions and rejected the notion that       Sorrell
restriction does not “ ‘raise[ ] the specter that the          requires strict scrutiny in these cases just as the district
Government may effectively drive certain ideas or              court explained.161 That said, we need not resolve that
viewpoints from the marketplace.’ ”154                         issue here because it is clear that the restrictions in the
                                                               Ordinance are viewpoint neutral and do not merit strict
Here, the Inquiry Provision precludes all employers from       scrutiny. Accordingly, we agree with the district court’s
inquiring into wage history, without focusing on any           decision to subject the Ordinance only to intermediate
particular viewpoint or favoring any particular employer
                                                               scrutiny under       Central Hudson.
or job. It also applies to all employees without regard to
the employee’s prior salary or job title. It does limit the
prospective employer’s speech, but only because that
limitation prevents the tentacles of any past wage
discrimination from attaching to an employee’s
                                                                2. The Inquiry Provision Satisfies  Central Hudson
subsequent salary. This simply does not implicate the
                                                                               Intermediate Scrutiny
kind of viewpoint or speaker discrimination that the
Chamber relies on in its attempt to distinguish     Central    [14] [15]
                                                                      Under         Central Hudson, speech “at least must
Hudson and have us apply strict scrutiny.                      concern lawful activity and not be misleading[ ]” to
                                                               qualify for protection.162 If the speech concerns illegal
The Chamber points to       Sorrell v. IMS Health, Inc.,155    activity or is misleading, then it is not subject to First
in support but        Sorrell is unhelpful because the         Amendment protection at all and our inquiry ends.163 If the
restriction there was viewpoint-based and “heightened          subject is not unlawful and the message not misleading,
                                                               we must then determine whether the government has a
scrutiny” was therefore necessary. In              Sorrell,
                                                               substantial interest in the restriction. If it does, the
Vermont had passed a law restricting the sale, disclosure,
                                                               challenged restriction must directly advance that
and use of pharmacy records that revealed the prescribing
                                                               interest.164 If it does directly advance the interest, the final
practices of individual doctors.156 However, the law
contained exceptions that, for example, allowed entities       prong of the         Central Hudson inquiry requires us to
engaging in “educational communications” to purchase           decide if the restriction is nevertheless more extensive
the information, but barred disclosure when the recipients     than necessary to serve the government’s substantial
would use the information for marketing.157 Additionally,      interest.165 The last two elements of the analysis are
“Vermont could supply academic organizations with              related because they “basically involve a consideration of
prescriber-identifying information to use in countering the    the ‘fit’ between the legislature’s ends and the means

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chosen to accomplish those ends.”166 Determining whether        sex preference in their hiring decisions.”174 Accordingly,
the restriction is more extensive than necessary, is not to     the Court found that “any First Amendment interest [that]
be confused with the “least restrictive alternative” inquiry    might be served by [the advertisements] ... [wa]s *142
required to survive strict scrutiny.167                         altogether absent when the commercial activity itself
                                                                [wa]s illegal.”175

                                                                The City argues          Pittsburgh Press is analogous
                                                                because even though there were legal uses for sex-specific
 *141 a. The Speech at Issue Is Not “Related to Illegal
                                                                advertisements—i.e., the specific exemptions recognized
                      Activity”
                                                                by the Commission—the Court still concluded that
[16]
    The City has argued that inquiring about wage history       sex-specific advertising was related to illegal activity and
is “related to illegal activity” because the Inquiry            was therefore not protected by the First Amendment.
Provision prohibits acquiring information that cannot be        Similarly, here, the City would have us decide that even
legally used because of the restrictions in the Reliance        though every inquiry into a prospective applicant’s wage
Provision. In rejecting that argument, the district court       history would not necessarily lead to a violation of law,
explained that not all uses of wage history are illegal:        reliance on that history would be illegal. Thus, the City
“For example, acquisition of wage history is allowed in         urges us to hold that the Ordinance “concerns unlawful
other contexts such as for gathering market information;”       activity.”
and, “the existence of a wage history is not in and of itself
illegal.”168 The district court correctly concluded:            We, however, agree with the district court’s conclusion
“[s]imply because wage history could be relied upon in          that commercial speech should not lose the protection of
fashioning a salary in violation of the Reliance Provision      the First Amendment simply because a legislature has
does not render all other legal activity related to wage        prohibited one of many uses of the regulated speech.176 As
history illegal.”169 Accordingly, the Court held that the       the district court reasoned, and as the Chamber argues, if
language the provision targets does not “concern unlawful       the City’s position is upheld, a city could perform an easy
activity.”170 We agree.                                         end-run around First Amendment scrutiny by passing a
                                                                speech restriction in conjunction with a law that made one
                                                                use of the regulated speech illegal. The result would be
The City relies in part upon         Pittsburgh Press v.        that the prohibited speech would always “relate to
Human Relations Commission,171 in arguing that speech           unlawful activity” and therefore fail the first prong of the
can be “related to unlawful activity” if only some of its
                                                                   Central Hudson analysis.
uses are prohibited. In     Pittsburgh Press, one of the
provisions in a Pittsburgh Ordinance prohibited
discrimination in employment and another prohibited
“any notice or advertisement relating to ‘employment’ or
membership which indicates any discrimination because             b. The City has a Substantial Interest in Closing the
of ... sex.”172 The Pittsburgh Commission on Human                                    Wage Gap
Relations was in charge of implementing the Ordinance.
The Commission concluded that Pittsburgh Press had              The Chamber does not dispute the district court’s
violated the Ordinance through its practice of placing          conclusion that remedying wage discrimination and
“help-wanted” advertisements in sex-specific columns            promoting wage equity is a substantial government
(i.e., “Male Help Wanted,” “Female Help Wanted”). The           interest, and we agree. Accordingly, we need not discuss
final Commission Order, however, did not prohibit all           the second prong of the    Central Hudson inquiry.
sex-specific advertisements; it exempted certain jobs such
as: “employment in domestic service,” and “jobs for
which the Commission ha[d] certified a bona fide
occupational exception,” and allowed exempted entities to
advertise in a sex-specific manner.173 Pittsburgh Press         c. The Inquiry Provision Directly Advances the City’s
sued, arguing that the Commission’s Order violated the                          Interest in Pay Equity
First Amendment by restricting its editorial choices.
                                                                [17] [18]
                                                                      The third prong of     Central Hudson requires us
The Supreme Court agreed, concluding that “[t]he                to determine whether the Inquiry Provision directly
advertisements, as embroidered by their placement,              “advances the Government’s interest in a direct and
signaled that the advertisers were likely to show an illegal    material way.”177 To survive that inquiry, the City must

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show that the “the harms it recites are real and that its       solely on history, consensus, and ‘simple common sense.’
restriction will in fact alleviate each of them to a material   ”183 And it has often done so on records far less
degree.”178 “[S]peculation or conjecture” cannot satisfy        compelling than the record supporting the Inquiry
this burden.179 A court’s inquiry under this prong “is not a    Provision of this Ordinance. The Court has explained that
license to reweigh the evidence de novo, or to replace          “the quantum of empirical evidence [required]... var[ies]
[legislators’] factual predictions with our own.”180 Rather,    up or down with the novelty and plausibility of the
a court’s task is merely to determine whether the               justification raised.”184 And, especially relevant here, it
legislature has “drawn reasonable inferences based on           has recognized that “[a] municipality considering an
substantial evidence.”181 This is the heart of the current      innovative solution may not have data that could
dispute. The district court did not believe that the City       demonstrate the efficacy of its proposal because the
produced sufficient evidence to establish that the Inquiry      solution would, by definition, not have been implemented
Provision would advance its substantial interest in             previously.”185
mitigating the racial and gender-based pay gap. The
court’s skepticism is summed up in the following passage        This record contains a plethora of evidence that (1) the
from its opinion:                                               wage gap is substantial and real (indeed, the parties
                                                                concede this point); (2) numerous experiments have been
             While the conclusion that a                        conducted, which controlled for such variables as
             discriminatory wage gap could be                   education, work experience, academic achievement, etc.
             affected by prohibiting wage                       and still found a wage gap; (3) researchers over many
             history inquiries was characterized                years have attributed the gap, in substantial part, to
             by respected professionals as a                    discrimination; (4) existing civil rights laws have been
             *143 logical, common sense                         inadequate to close the wage gap; and, critically, (5)
             outcome, more is needed. Like the                  witnesses who reviewed the data concluded that relying
                 Rubin case, the testimony in                   on wage history can perpetuate gender and race
             support of this theory is riddled                  discrimination. Based on that substantial evidence, the
             with      conclusory     statements,               City Council made a reasonable judgment that a wage
             amounting to “various tidbits” and                 history ban would further the City’s goal of closing the
             “educated guesses.” Importantly,                   gap and ameliorating the discrimination inherent in the
             aside from Dr. Madden’s affidavit,                 disparate wages.
             the information relied upon by the
             City does not address the                          The district court believed that the evidence before the
             possibility that disparate wages                   City didn’t account for *144 variables other than gender
             could also be based on factors                     and race. However, Barbara Price presented the Council
             having nothing to do with                          with evidence to the contrary, and the studies of Blau and
             discrimination,       such       as                Khan summarized in the Madden affidavit isolated out the
             qualifications, experience, or any                 variables of gender and race, thereby ensuring they did
             number of other factors.182                        not affect the results.186 This evidence showed that even
                                                                after accounting for such variables as choice of
We disagree.                                                    occupation, hours worked, economic sector, experience,
                                                                GPA, undergraduate institution, and marital status, there
[19]                                                            is a significant gap between the earnings of men and
     It is clear to us that Dr. Madden’s affidavit would, by
itself, satisfy the inquiry. However, that is not the point.    women beginning one year after graduation and widening
Dr. Madden’s affidavit simply corroborated the testimony        in the years thereafter.187
given to the City Council prior to it enacting the
Ordinance with additional empirical evidence. The issue         The City merely “dr[ew] reasonable inferences based on
is the apparent failure by the district court to afford the     substantial evidence[ ]’ ”188 that the Inquiry Provision
testimony and studies presented to the City Council             would address the wage gap, and the district court erred
sufficient probative value given its equation of it with        when it “reweigh[ed] the evidence” and “replace[d] [the
conclusory statements and educated guesses.                     City’s] factual predictions with [its] own.”189

The Supreme Court has “permitted litigants to justify
speech restrictions by reference to studies and anecdotes
pertaining to different locales altogether, or even, in a
case applying strict scrutiny, to justify restrictions based    i. Caselaw Considering Whether a Legislature Relied
                                                                     on Substantial Evidence to Support a Speech
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 Restriction Under      Central Hudson Demonstrates             commonsense conclusions in the absence of empirical
that the City Presented Sufficient Evidence to Support          data in considering whether the enforcement of a rule
                    the Ordinance.                              governing interscholastic sports violated the First
                                                                Amendment.199 The rule under review prohibited high
Our review of caselaw examining whether a legislature           school coaches from using “undue influence” when
had sufficient evidence to support a challenged legislative     recruiting middle school students for athletic programs.200
enactment demonstrates that the Inquiry Provision is            Much like the record here, the evidence before the Court
                                                                consisted of testimonial and documentary evidence,
constitutional. In    Burson v. Freeman,190        Central
                                                                including letters sent by a school football coach to a group
Hudson itself, and         Tennessee Secondary School           of unenrolled eighth-grade boys inviting them to
Athletic Association v. Brentwood Academy,191 the               participate in spring practice sessions.201 In upholding the
Supreme Court upheld laws restricting commercial speech         sanction imposed on the coach’s speech, the Court noted
even though they were supported by much less evidence           that it “need[ed] no empirical data to credit [the agency’s]
than the City produced to demonstrate the need for the          commonsense conclusion” that the speech at issue—an
Inquiry Provision.                                              inquiry by a would-be authority figure of a prospective
                                                                team member—could exert the type of undue influence
In      Burson, the Court considered whether a 100-foot         prohibited by the rule.202
bubble zone that prohibited political speech outside of
polling places was constitutional.192 The Tennessee statute     Finally, in     Central Hudson, the Court held that a
at issue implicated three fundamental First Amendment           prohibition on advertising by utilities was supported by
concerns because it regulated political speech, speech in a     substantial evidence.203 Rather than require strict empirical
public forum, and the content of speech.193 The Court           proof, the Court relied on the commonsense conclusion
subjected the ordinance to strict scrutiny but still upheld     that “[t]here is an immediate connection between
it.194 We realize that the Court in    Burson relied upon a     advertising and demand for electricity.”204
“modified ‘burden of proof’ ” because the First
Amendment right at issue there “threaten[ed] to interfere       As we have summarized, the City did offer substantial
with the act of voting itself.”195 Nevertheless, the analysis   evidence in the form of testimony and metanalysis of
in      Burson provides helpful guidance in determining         relevant research to support the need for the Inquiry
whether the City’s evidence was sufficient to survive the       Provision. Reasonable minds can debate whether the
                                                                City’s evidence placed the need for, and potential
third prong of the      Central Hudson inquiry.                 effectiveness of, the Inquiry Provision beyond doubt.
                                                                However, given the discussion in              Burson,
The      Burson court explained that it “never has held a
State to the burden of demonstrating empirically the                Tennessee Secondary, and             Central Hudson,
objective effects” of a speech regulation.196 Accordingly,      certainty of proof or empirical data is not required here.
*145 the Court relied on history, common sense, and one         Rather, substantial evidence of the possibility that the
witness, noting that it would be “difficult for the states to   speech restriction could favorably impact a concern that
put on witnesses who [could] testify as to ... the exact        the state actor had a fundamental interest in addressing is
effect” of the proposed law.197 In fact, rather than demand     sufficient. The City easily *146 satisfied that standard. In
strict empirical evidence that the challenged restriction on    concluding otherwise, the district court imposed too high
speech advanced the underlying governmental interest,           a burden on the City.
the Court’s analysis rested on the presumed logic of a
100-foot barrier around a polling place for the purpose of      As noted earlier, all parties agree that there is a
allowing voters fifteen seconds of uninterrupted                longstanding disparity in the pay of women and minorities
contemplation before casting their ballots.198 There was no     compared to wages of White males. The district court
empirical evidence that voters needed fifteen seconds of        readily accepted the existence of this pay gap.205
uninterrupted contemplation to cast an informed ballot,         Moreover, the Chambers’ CEO stated that Chamber
nor was there any evidence that voters would use the            members relied on wage history “to have a better
fifteen seconds it took to traverse the 100-foot buffer zone    understanding of whether a candidate is worth pursuing
for contemplation, as opposed to conversation,                  based on previous compensation levels.”206 Nevertheless,
daydreaming, or reading a newspaper.                            the district court relied primarily on four cases in
                                                                concluding that the City failed to meet its burden:207
The Supreme Court’s decision in                Tennessee           Edenfield v. Fane,208        Rubin v. Coors Brewing
Secondary, is also informative. There, the Court accepted       Co.,209   Pitt News v. Pappert210 and        Wollschlaeger.

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However, the City’s proof here is much more robust than        unsupported by any evidence.”223 There was no evidence,
the records before those courts.                               for example, that the removal of the ads would make it
                                                               harder to find places near campus to buy alcohol.
In       Edenfield and        Rubin the restrictions on        Furthermore, not only were students able to see alcohol
commercial speech were facially based on unsubstantiated       ads in many other publications and on television, more
fears supported by conclusory statements. In                   that 75% of the university population was of the legal
                                                               drinking age.224
    Edenfield, a Certified Public Accountant challenged a
rule created by the Florida Board of Accountancy that
prohibited CPAs from soliciting clients in-person.211 The      Finally,        Wollschlaeger is similarly unpersuasive
Florida Board believed that in-person solicitation would       because of the tenuous reasoning supporting the
lead to unethical conduct by CPAs.212 In striking down the     restriction on commercial speech. There, the Court of
restriction on commercial speech, the Court reasoned that      Appeals for the Eleventh Circuit struck down a law that
the only evidence presented in support of the Florida          had been enacted based solely on a few anecdotes.225
Board’s position came from an affidavit by one of its          Certain Florida laws prevented doctors from asking
former chairmen.213 He stated the solicitation ban was         patients “whether they own firearms or have firearms in
necessary to “prevent overreaching and vexatious conduct       their homes, or from recording answers to such
by the CPA.”214 His conclusion in his affidavit depended       questions.”226 The legislature asserted that the law was
on the unsubstantiated theory that a CPA who solicits          necessary to protect gun-owning Floridians from the
clients would be beholden to the client and thus willing to    “private encumbrances” on their Second Amendment
bend the rules.215 Consequently, the Court refused to credit   Rights that allegedly came from being subject to such
his affidavit.216                                              questions by physicians.227 The legislature had relied on
                                                               “six anecdotes and nothing more” to justify enacting the
                                                               restrictions.228 In striking down the legislation, the court
In      Rubin, the Federal Alcohol Administration Act          observed that while anecdotes can provide evidence, there
prohibited beer labels from displaying alcohol content for     was “no other evidence, empirical or otherwise”
fear of a “strength war” among brewers.217 The                 presented by the legislature, and the six anecdotes could
justification for the law was the purported                    not show that the harms were “real, [and] not merely
“common-sense” conclusion that if the alcohol content          conjectural,” such that the regulations “will in fact
were not advertised, customers *147 would be less likely       alleviate [the] harms in a direct and material way.”229 Thus
to buy the product based on the alcohol content.218 The
Court found that the Act did not directly advance the          the      Wollschlaeger court required something more than
stated purpose because the government’s regulatory             anecdotal evidence and less *148 than empirical evidence
scheme was “irrational.”219 Malt liquor, wine, and other       if the restriction was to survive the third prong of the
alcohol sellers could and did label their bottles with the         Central Hudson inquiry.
strength of the drink.220 The government, the Court noted,
had relied on “anecdotal evidence and educated guesses”        The City’s proof of the nexus between its substantial
in contending that competition based on alcohol content        interest in eliminating the real phenomenon of a racial and
was occurring and found that these “various tidbits” could     gender-based wage gap and the need for the limitations
not overcome the irrationality of the scheme.221 Thus, the     that are at the heart of the Inquiry Provision is in a
very existence of a “strength war” was in doubt and no         different category than the cases we have just discussed.
evidence was offered to establish that any such                There is testimony here that the gender disparity in pay in
phenomena actually existed. Whereas, here, the wage gap        Pennsylvania has existed for the past five decades despite
that the Inquiry Provision seeks to address is a given, and    the passage of laws over that period to remedy such
the reasoned conclusions presented to the City Council         discrimination.230 Terry Fromson explained how this wage
were entitled to more credit than owed to the educated         gap is compounded through institutional discrimination
guesses before the Federal Alcohol Administration.             and explained how other states have addressed this
                                                               issue.231 Marianne Bellesorte researched the wage gap for
The law we struck down in       Pitt News, was similarly       women and men of color, and explained how the
based solely upon “speculation and conjecture.” The law        inequities began right out of college and continued to
was premised on the assumption that prohibiting alcohol        affect women, in particular, until retirement. Finally,
ads from appearing in university publications would            Jovida Hill and Rue Landau provided empirical evidence
“slacken the demand for alcohol by Pitt students” and          that substantiated the distilled conclusions of Fromson
help curb underage drinking.222 We found that the              and Bellesorte.232 This testimony is much more than
legislature’s conclusion was “counterintuitive and             “conclusory statements, ... and ‘educated guesses[.]’ ”233
                                                               Moreover, Dr. Madden’s affidavit amplified this
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testimony by viewing it through the empirical lens of          its regulation of multiple-use establishments [wa]s
thousands of studies she summarized.234 There is therefore     ‘designed to serve’ the city’s substantial interest in
ample evidence to establish the fit between the Inquiry        reducing crime.”245 The Supreme Court disagreed.
Provision and the societal evil it was intended to address.
                                                               The Court concluded that the City had presented
Our conclusion that the district court imposed too high a      sufficient evidence upon which to base the speech
burden on the City’s proof is consistent with the en banc      restriction. Justice O’Connor, joined by the Chief Justice,
opinion of the Court of Appeals for the Ninth Circuit in       Justice Scalia and Justice Thomas, explained that the
    Rizo v. Yovino.235 There, the en banc court held that an   respondents “ask[ed] the city to demonstrate, not merely
employer’s reliance on the plaintiff’s prior salaries to       by appeal to common sense, but also with empirical data,
justify paying a female less than her male cohort’s salary     that its ordinance will successfully lower crime.”246 But
was a violation of the Equal Pay Act.236 The court’s           they concluded that “[o]ur cases have never required that
explanation was straightforward. “The question before us       municipalities make such a showing, certainly not without
is ... simple: can an employer justify a wage differential     actual and convincing evidence from plaintiffs to the
between male and female employees by relying on prior          contrary.”247
salary? ... [T]he answer is clear: No.”237 There, the
employer had argued that the plaintiff’s disparate salary      Here, as in      Alameda Books, the Plaintiff has offered
was not barred by The Equal Pay Act because, in paying         no proof to counter the City’s conclusion about the need
her a wage based on her prior salaries, the differential was   for, or effectiveness of, the Inquiry Provision. In fact, as
based on a factor other than sex which is explicitly           we have explained, some of the Plaintiff’s proof
allowed under the Equal Pay Act.238 The court held that        substantiates the City’s position. A *150 lack of contrary
that consideration of salary history “allow[s] employers to    evidence lightens the legislature’s burden.248
capitalize on the persistence of the wage gap and
perpetuate that gap ad infinitum.”239 Other courts have        The substantial legislative record here is simply not
reached the same conclusion.240                                analogous to the “irrational,” “conclusory,” “speculative,”
                                                               and purely anecdotal evidence presented in       Edenfield,
*149 Notwithstanding our recitation of the impressive
record that supports this Ordinance, we think it important         Rubin,        Pitt News and             Wollschlaeger.
to emphasize that neither scores of empirical studies nor      Nonetheless, the Chamber argues, that even though
proof to scientific certainty is necessary to carry the        “conclusive scientific evidence of the Ordinance’s effect
City’s burden here. Even though we find the City’s             is not required, ‘substantial evidence’ means ‘some
evidence here more than sufficient to carry its burden         concrete evidence is required.’ ”249 In support, the
                                                               Chamber cites to “a 106-page summary of [a] 2-year
under the third prong of            Central Hudson, it is
important not to lose sight of the fact that where a           study,”250 relied upon in          Florida Bar and the
legislature presents an “innovative solution,” the Supreme     “empirical judgments” of “a number of well-known,
Court has recognized that it “may not have data that could     reputable professional and scientific organizations,” from
[conclusively] demonstrate the efficacy of its proposal        our decision in    King.251
because the solution would, by definition, not have been
implemented previously.”241 Nevertheless, the City did
produce such evidence here and clearly carried its burden.
However, as we held in        King v. Governor of the State     ii. The Evidence Here is Stronger Than the Evidence
of New Jersey,242 and as we recount in detail below,
legislatures are not “constitutionally required to wait for       Supporting the Restrictions in   Florida Bar and
conclusive scientific evidence before acting to protect                                     King
[their] citizens from serious threats of harm.”243
                                                               The Chamber makes much of            Florida Bar, and the
In     Alameda Books, the City of Los Angeles enacted          district court cited it as demonstrative of the type of
legislation that prohibited “more than one adult               “extensive” record necessary to sustain a speech
entertainment business” from inhabiting “the same              infringement.252 There, the Florida Bar Association
building, structure or portion thereof.”244 The Court of       enacted rules banning direct-mail solicitation of clients in
Appeals for the Ninth Circuit invalidated this restriction     the 30 days following an accident or disaster. Members of
on speech finding that “the city failed to present evidence    the Florida bar sued, claiming that the law infringed their
upon which it could reasonably rely to demonstrate that        right of commercial speech. In rejecting that challenge,
                                                               the Court relied upon the Bar Association’s citation to a
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106-page study purporting to show the harm that the Bar         before the Court in     Florida Bar, the studies the City
was attempting to mitigate.253 However, a closer look at        relied upon are peer-reviewed research studies, many of
the study reveals that it contained information that was        which were meta-studies that summarized the findings of
less relevant, less methodologically sound, and much less       hundreds of other such studies.263 The studies support the
informative than the evidence supporting the Inquiry            City’s conclusion that the wage gap is not attributable to
Provision here.                                                 “legitimate” factors such as education, experience or
                                                                qualifications.264 Moreover, researchers’ conclusions that
The Majority of the Court described the study as                discrimination is the likely cause of the gaps has been
“contain[ing] ... statistical and anecdotal [data] ...          present in the academic literature for decades.265 The
supporting the Bar’s contentions” that the direct-mail          conclusion that the wage gap is most likely the result of
solicitations in the wake of accidents “reflects poorly on      discrimination is also consistent with voluminous
the profession.”254 The Court accepted that evidence as         unrebutted independent evidence of workplace
sufficiently probative even though much of the data in the      discrimination.266
surveys did not address the specific issues the restriction
was supposed to address. The Court pointed to a subset of
the findings from the study: it cited one survey of Florida     *152 The Chamber also cites our decision in       King v.
adults that “indicated ... Floridians ‘have negative feelings   Governor of the State of New Jersey267 as another case in
about those attorneys who use direct mail advertising.’ ”255    which the legislature presented substantial evidence to
It also provided a handful of statistics about Floridians’      support a law. The Chamber argues, unconvincingly, that
views of lawyer advertising.256 However, only one               the showing in     King was more robust than the City’s
question referred to the reputation of the legal                evidentiary showing here. In     King, we upheld a New
community–the harm that the law was apparently aiming           Jersey law prohibiting sexual orientation change efforts
to remedy.257 It appeared from the responses to that            (“SOCE”) therapy to persons under the age of 18 over a
question that direct mail solicitation in general, rather       challenge by individuals and organizations providing such
than solicitation in the 30 days following an accident, was     counseling.268
what lowered the views of *151 the legal profession (and
did so in only one quarter of those surveyed).258 The           The legislative record there “demonstrate[d] that over the
primary evidence relied upon by the Court, did not              last few decades a number of well-known, reputable
squarely address the harm that the rule was enacted to          professional and scientific organizations ha[d] publicly
remedy.                                                         condemned the practice of SOCE.”269 And we, in
                                                                reviewing that record, specifically noted that the
Despite the fact that the study gave “few indications of        American Psychological Association, the American
the sample size or selection procedures employed” and           Psychiatric Association, and the Pan American Health
even though “no copies of the actual surveys employed,”         Organization “have warned of the ‘great’ or ‘serious’
were presented to the Court, the Court held that the Bar        health risks accompanying SOCE counseling, including
adequately supported the law.259 In dissent, Justice            depression, anxiety, self-destructive behavior, and
Kennedy noted that the record: (1) contained no                 suicidality.”270 We also noted, “[m]any such organizations
explanation of methodology, sampling or framework; (2)          have also concluded that there is no credible evidence that
dealt primarily with television and phone book                  SOCE counseling is effective.”271
advertising, which were not at issue; and (3) only two
pages of the more than 100 focused on direct-mail               We also found, that “the bulk of empirical evidence
solicitation.260 He concluded by saying that the “few pages     regarding the ... harmfulness of SOCE counseling
of self-serving and unsupported statements by the State”        currently falls short of the demanding standard imposed
should have been clearly insufficient to “demonstrate that      by the scientific community.”272 We recognized there was
a regulation directly and materially advances the               a “limited amount of methodologically sound research”
elimination of a real harm.”261 Yet the Court upheld the        on the counseling and that “the few early research
statute on the basis of this evidence.262                       investigations ... refus[ed] to make a definitive statement
                                                                about whether SOCE is safe or harmful ... due to a lack of
Even if we view the supporting evidence in          Florida     scientifically rigorous studies.”273 Nevertheless, we
Bar in the most favorable light possible, we still conclude     concluded the legislature was not “constitutionally
that the City has made a stronger evidentiary showing           require[d] to wait for conclusive scientific evidence
here. The studies presented by the City address the             before *153 acting to protect its citizens from serious
specific issue that the Ordinance was enacted to                threats of harm.”274 Instead, we were convinced by the
remedy—discriminatory wage gaps. And, unlike the study          legislature’s “highly plausible” judgment that SOCE

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could be harmful to minors, and concluded that the statute     Yovino, and as the Managing Attorney for the Women’s
“directly advanced” New Jersey’s stated interest.275           Law Project, Ms. Fromson, testified here, criteria that
                                                               may at first appear to be race and gender neutral (such as
Here, the district court concluded that many of the studies    wage history) may be proxies for race or gender.
cited by the City did not conclusively prove that
discrimination is the sole cause of the wage gap. That
level of certainty is not required. The City made a
well-reasoned judgment based on the testimony presented
to it and the unrefuted existence of the wage gap that          d. The Inquiry Provision is Not More Extensive Than
banning wage history inquiries would prevent further                                 Necessary
perpetuation of gender and race discrimination in this
                                                               [20] [21]
context.                                                              “The last step of the     Central Hudson analysis
                                                               complements the third step, asking whether the speech
Moreover, we won’t ignore the fact that the very nature of     restriction is not more extensive than necessary to serve
discrimination in employment is such that showing              the interests that support it.”281 However, “ ‘the least
discrimination by negative inference is often necessary.       restrictive means’ is not the standard; instead, the case
As the Supreme Court has recognized in the context of          law requires a reasonable ‘fit between the legislature’s
gender discrimination in the workplace, “[a]s should be        ends and the means chosen to accomplish those ends, ... a
apparent, the entire purpose of the McDonnell Douglas          means narrowly tailored to achieve the desired objective.’
prima facie case is to compensate for the fact that direct     ”282 The “scope” of the law must be “in proportion to the
evidence of intentional discrimination is hard to come         interest served.”283 The Court does not “impose upon
by.”276 We, too, have previously recognized, “the              [regulators] the burden of demonstrating that ... the
instances in which employers ... openly [discriminate          manner of restriction is absolutely the least severe that
against] employees appear to be declining. Regrettably,        will achieve the desired end.”284 Instead, the legislation
however, this in no way suggests that discrimination           must provide “a fit that is not necessarily perfect, but
based upon an individual’s race, gender, or age is near an     reasonable;” one that “represents not necessarily the
end.”277 “It has become easier to coat various forms of        single best disposition” but a “proportion[ate]” one.285
discrimination with the appearance of propriety, or to         Understandably, the district court here did not reach the
ascribe some other less odious intention to what is in         third or fourth prong of the      Central Hudson inquiry
reality discriminatory behavior.”278                           because it found that the Ordinance failed under prong
                                                               two.
Accordingly, demonstrating discrimination by controlling
for legitimate factors like education, training, experience,   However, the last two prongs “are not entirely discrete.”286
age, skills, and other factors that could otherwise            These two prongs “have been considered, somewhat in
“legitimately” explain wage gaps, and through                  tandem, [as courts must] determine if there is a sufficient
experimental evidence, are essential means of showing          ‘fit between the [regulator’s] ends and the means chosen
discrimination. Because “direct evidence ... is hard to        to accomplish those ends[.]’ ”287 Given our conclusion that
come by,” negative inferences can be persuasive evidence       the City has satisfied its burden of establishing the
of discrimination, especially where they are entirely          relationship between the legislative objective of
unrebutted.279                                                 mitigating the wage-gap and the remedy afforded by the
                                                               Inquiry Provision, we will address the fourth prong.
As some of the studies on subliminal or implicit bias
which we have discussed establish, bias is often not even      [22]
                                                                  The Inquiry Provision is narrowly tailored. It only
something that that the actor is aware of.280 This makes it    prohibits employers from inquiring about a single topic,
exceedingly difficult to address such issues as wage           while leaving employers free to ask a wide range of other
disparity because simply educating employers about the         questions, including qualifications, work history, skills
pay gap will not deter an employer who is not even aware       and any other job-related questions relevant to
of the fact that s/he is setting a discriminatory salary.      performance or fit with the company.288 Additionally,
Indeed, without challenging the existence of the pay gap,      *155 the provision does not prohibit employers from
the CEO for the Chamber without pause admitted that            obtaining market salary information from other sources.
Chamber members gain a “better understanding of                The Ordinance simply seeks to insulate any
whether a candidate is worth pursuing based on previous        discriminatory impact of prior salary levels on subsequent
compensation.” Consequently, as the Court *154 of              wages. The Ordinance is thus more narrowly tailored than
Appeals for the Ninth circuit recognized in in      Rizo v.    similar wage history Ordinances that have been passed

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since 2017.289 As enacted, it simply prohibits employers         blanket “ban applicable to all post-accident or disaster
from inquiring about wage history at a specific point in         solicitations for a brief 30–day period” was sufficiently
time—after a prospective employee has applied for a job          narrowly tailored.295
and before s/he is hired and a wage is set—when the City
has determined that the risk is greatest for conduct that        Thus, even if we were to credit the Chamber’s argument
perpetuates discrimination. Moreover, applicants can             that the law is overbroad, it would not prevent the Inquiry
voluntarily provide salary history if they feel it is in their   Provision from surviving intermediate scrutiny. The
best interest.290                                                Supreme Court has refused to invalidate restrictions on
                                                                 commercial speech “that [go] only marginally beyond
The Chamber argues that the Ordinance is not sufficiently        what would adequately have served the governmental
tailored because it indisputably “regulate[s] speech that        interest.”296 We have no trouble concluding that the City
poses no danger to the asserted [governmental]                   has demonstrated a “proportionate” fit between its
interest.”291 According to the Chamber, the Ordinance            substantial interest and its legislative attempt to advance
does not achieve its interest “when it is applied to White       that interest.
male job applicants, whose salaries the City
acknowledges are not tainted by past discrimination.”292         The Chamber also argues that “underinclusiveness
At oral argument, the Chamber even went so far as to             plagues the Ordinance. Despite the City’s assumption that
argue that the Ordinance should therefore not apply to           the wage history of female and minority applicants is
White men. The suggestion was offered in all seriousness,        ‘tainted’ by past discrimination, the Ordinance permits
and it shows the difficulty of, and very limited avenues         employers to base a salary offer on wage-history
for, addressing this persistent problem.                         information that an applicant voluntarily discloses.”297
                                                                 However, underinclusiveness is only important to our
Counsel for the Chamber actually suggested that the City         inquiry if it “raises serious doubts about whether the
set up a system in which employers are free to ask salary        government is in fact pursuing the interest it invokes,
histories of White male job applicants but are precluded         rather than disfavoring a particular speaker or
from doing the same for women and minorities. Aside              viewpoint.”298 There is no suggestion of such insincerity
from the clear equal protection implications, the                here. Moreover, the alleged underinclusiveness is more of
suggestion for such a carve-out fails to understand the          a strength than an infirmity. It allows a female or minority
nature of the wage gap. As amici point out, a system that        who may have historically been paid above the normal
perpetuates higher salaries for men based on their higher        salary levels because of extraordinary qualifications to
salary histories is no better than one that perpetuates          inform a potential employer of that salary history rather
lower salaries for women and minorities based on their           than remain silent and risk forfeiting the higher salary that
lower salary histories.293 Indeed, it is the very same           s/he may well deserve.
system. Asking White men their prior salary and allowing
it to impact an offer of employment would ensure that the        [23]
                                                                    Even when this is not the case,        Central Hudson
historic salary advantage enjoyed by White males would           does not require that the Ordinance “redress the harm
continue. Employers operating under such a scheme                completely.”299 The City may choose to regulate only
would unwittingly be helping White males to continue to          “part” of the speech that causes harm.300 Here, as part of
enjoy salary advantages on new jobs because they would           the regulatory scheme, the City has chosen to allow
be carried over from their prior jobs.                           owners of their own prior salary data to remain in control
                                                                 of that information and thereby allow the employee to
More importantly, even were we to credit the Chamber’s           decide whether s/he wants to disclose it.
suggestion, we would nevertheless not be free to ignore
                                                                 [24]
the Supreme Court’s decision in      Florida Bar where              The Chamber also suggests that more rigorous
the Court considered and rejected a similar overbreadth          enforcement of current antidiscrimination laws is an
argument. The Respondents in        Florida Bar argued           alternative that the City must attempt before passing an
that the ban on communications to all accident victims           Ordinance such as this. Intermediate scrutiny, however,
within 30 days of an accident was *156 overbroad                 does not require that the City adopt such regulatory
because it did not distinguish between those whom the            measures only as a last alternative or that the City
provision was aiming to protect—injury victims who               demonstrate *157 that the legislation is the least
were especially vulnerable—and “those accident victims           restrictive response.301 Moreover, it is clear on this record
who are ready, willing and able to utilize a lawyer’s            and from some of the cases we have discussed (see Rizo)
advice.”294 Rather than require the Bar Association to           that the wage gap has survived other remedial measures,
“draw[ ] difficult lines,” the Court concluded that the          including the Equal Pay Act.302 The testimony supporting

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the Inquiry Provision establishes that, despite the presence        For the foregoing reasons, we will affirm the district
of antidiscrimination laws, that “[t]he gender wage gap             court’s denial of a preliminary injunction as to the
has narrowed by less than one-half a penny per year in the          Reliance Provision and we will vacate the district court’s
United States since 1963.”303                                       grant of a preliminary injunction as to the Inquiry
                                                                    Provision and remand with directions to the district court
The City enacted the Inquiry Provision in an attempt to             to deny the preliminary injunction as to the Inquiry
address this persistent problem and the record is clearly           Provision.
sufficient to withstand this First Amendment challenge to
it.
                                                                    All Citations

                                                                    949 F.3d 116, 170 Lab.Cas. P 62,023


III. CONCLUSION
                                                          Footnotes


1
       Chamber Br. at 1.

2
           Turner Broad. Sys., Inc. v. F.C.C., 520 U.S. 180, 195, 117 S.Ct. 1174, 137 L.Ed.2d 369 (1997) (“         Turner II”)
       (internal quotation marks and citation omitted).

3
             Florida Bar v. Went For It, Inc., 515 U.S. 618, 628, 115 S.Ct. 2371, 132 L.Ed.2d 541 (1995) (internal citations
       omitted). See also City Br. at 43-44 (citing    Heffner v. Murphy, 745 F.3d 56, 92 (3d Cir. 2014),    WV Ass’n of Club
       Owners & Fraternal Servs., Inc. v. Musgrave, 553 F.3d 292, 303–04 (4th Cir. 2009),      Coyote Pub., Inc. v. Miller, 598
       F.3d 592, 608 (9th Cir. 2010) (illustrating recent decisions reflecting the Supreme Court’s flexible approach to speech
       restrictions under intermediate scrutiny. As we explain below, we conclude that the Ordinance need only satisfy
       intermediate scrutiny.)

4
       See JA119–20 (discussing the City Council’s legislative findings supporting the Ordinance).

5
       Id.

6
       See, e.g., Christianne Corbett & Catherine Hill, Am. Ass’n of Univ. Women (“AAUW”), Graduating to a Pay Gap: The
       Earnings of Women and Men One Year After College Graduation, at 9 (Oct. 2012),
       https://www.aauw.org/files/2013/02/graduating-to-a-pay-gap-the-earnings-of-women-and-men-one-year-after-coll
       ege-graduation.pdf.

7
       U.S. Bureau of Labor Statistics, Highlights of Women’s Earnings                     in   2017,   at   9   (Aug.   2018),
       https://www.bls.gov/opub/reports/womens-earnings/2017/pdf/home.pdf.

8
       Id.

9
       Phila. Code § 9-1131.

10
       Id. §§ 9-1105(1)(c)–(d), 9-1121(2).

11
       JA297.

12
       JA298 (emphasis added).
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13
      Council of the City of Philadelphia Committee on Law and Government: Hearing on Bill No. 160840, (Nov. 22, 2016)
      (hereinafter        “Hearing       Transcript”     or      “H’rg     Tr.”)    at       70,       available    at
      http://legislation.phila.gov/transcripts/Public%20Hearings/lawngov/2016/lg112216.pdf; see also JA272-277.

14
      JA273.

15
      JA275 (citing AAUW, The Simple Truth About the Gender Pay Gap, at 17 (Fall 2014)),
      https://fortunedotcom.files.wordpress.com/2014/12/the-simple-truth_fall.pdf (“After accounting for college major,
      occupation, economic sector, hours worked, months unemployed since graduation, GPA, type of undergraduate
      institution, institution selectivity, age, geographical region, and marital status, Graduating to a Pay Gap found that a
      7 percent difference in the earnings of male and female college graduates one year after graduation was still
      unexplained.”).

16
      JA273.

17
      Id.

18
      Id.

19
      JA268; see also H’rg Tr. at 63-69.

20
      H’rg Tr. at 65.

21
      Id. at 65–66.

22
      Id. at 66.

23
      Id.

24
      Id.

25
      Id.

26
      Id. at 66–67 (emphasis added). This testimony does not distinguish between salary and wage discrepancy and the
      text of the Ordinance refers only to a wage discrepancy. However, we can discern no significant distinction for the
      purposes of our discussion and much of the testimony strongly suggests that the compensation gap that Fromson
      and others referred to for salaries is indistinguishable from the compensation gap in wages.

27
      Id. at 67.

28
      Id.

29
      Id.

30
      Id. at 66.

31
      Id. at 64.

32
      Id. The state of New Jersey has since passed a similar wage history inquiry and reliance ban. See Act of July 25, 2019,
      Pub. L. No. 2019, c.199 (N.J. 2019). That act states: “it shall be an unlawful employment practice for any employer:

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      (1) to screen a job applicant based on the applicant’s salary history, including, but not limited to, the applicant’s
      prior wages, salaries or benefits; or (2) to require that the applicant’s salary history satisfy any minimum or
      maximum criteria.” As Fromson’s testimony suggests, New Jersey’s recently enacted law appears to be part of an
      emerging trend that recognizes the extent to which reliance on wage history inevitably perpetuates historic wage
      disparity.

33
      H’rg Tr. at 68.

34
      Id.

35
      Id.

36
      Id. at 68–69.

37
      Id. at 69.

38
      Id. at 15.

39
      Id.

40
      Id. at 80.

41
      “PathWays PA works to end the cycle of poverty, homelessness, and abuse in the Philadelphia region.” Id. at 74.

42
      JA276.

43
      H’rg Tr. at 74.

44
      Id. at 75.

45
      Id.

46
      Id.

47
      Id. at 76.

48
      Id. at 8.

49
      Jovida Hill, the Executive Director of Philadelphia’s Commission on Women, affirmed the testimony of Ms. Landau
      with nationwide empirical evidence. She testified that, “[a]ccording to calculations by the National Committee on
      Pay Equity, for a woman with a high school education, the difference [in pay arising from the pay gap] can amount
      to $700,000, $1.2 million for a woman with a college degree, and $2 million for women with advanced degrees.”
      H’rg Tr. at 12.

50
      Id. 6.

51
      Id. at 8.

52
      Id. at 23.

53
      JA124.

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54
      Id.

55
      Id. This testimony is also surprising since, if salary history is not a factor in setting compensation levels, it is not at all
      clear how employers would be harmed or prejudiced by the Inquiry Provision.

56
      See e.g., JA130 (Chamber Member Bittenbender: “Wage history information is essential to salary offers in positions
      where Bittenbender is unaware of the market wage.”).

57
      JA283–89. On January 23, 2017, the bill was signed into law. JA122.

58
      JA072-117.

59
      JA74. The City has agreed that the Chamber and its members have standing to bring suit here. See JA250, ¶ 18; see
      also JA081-117.

60
      See Affidavit of Janice F. Madden, Ph.D. JA291–306. Dr. Madden is a labor economist “with extensive experience in
      the analysis of labor markets and, in particular, gender and racial differentials in labor markets.” JA292. She
      attended the Wharton School after completing an M.A. and Ph.D. at Duke University and previously earned her B.A.
      in economics and mathematics at the University of Denver. She is a tenured faculty member of the University of
      Pennsylvania and teaches undergraduate and graduate “courses dealing with economics, labor markets, and ...
      relevant statistical methods.” Id. In addition, Dr. Madden has authored five books on economics and discrimination
      and has testified as an expert witness in over 45 cases in federal and state courts. JA292–93.

61
      Although her affidavit was not before the Council when the Ordinance was passed, it was appropriately considered
      by the district court. As we have previously recognized, “[i]f a legislative body can produce in court whatever
      justification is required of it under the applicable constitutional doctrine, we perceive little to be gained by incurring
      the expense, effort, and delay involved in requiring it to reenact the legislative measure after parading its evidence
      through its legislative chamber.”       Phillips v. Borough of Keyport, 107 F.3d 164, 178 (3d Cir. 1997). The district
      court was therefore correct in “consider[ing] post-enactment evidence offered in support of City Council’s decision.”
            Id.

62
      JA297.

63
      JA298.

64
      Id. (emphasis added).

65
      Id.

66
      JA294.

67
      Id.

68
      Id.

69
      JA295.

70
      JA305-06.

71
      T.D. Stanley & Stephen B. Jarrell, Gender Wage Discrimination Bias? A Meta-Regression Analysis, 33 J. Hum.
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      Resources 947, 948 (Fall 1998) (hereinafter “Stanley & Jarrell”).

72
      Francine D. Blau & Lawrence M. Kahn, The Gender Wage Gap: Extent, Trends, and Explanations, 31, NBER Working
      Paper No. 2193, National Bureau for Economic Research (2016), http://www.nber.org/papers/w21913 (published in
      55 J. of Econ. Lit. 789 (2017)) (hereinafter “Blau & Kahn”).

73
      Id.

74
      Valerie Wilson & William M. Rodgers III, Black-White Wage Gaps Expand with Rising Wage Inequality, 4, Economic
      Policy Inst., (September 19, 2016) https://www.epi.org/files/pdf/101972.pdf (hereinafter “Wilson & Rodgers”).

75
      Id. at 5.

76
      Id. at 27.

77
      JA298 n.3.

78
      Blau & Kahn at 32.

79
      Id.

80
      Id.

81
      Id.

82
      Id.

83
      Id. at 33.

84
      Id.

85
      Id. at 50.

86
      JA300.

87
      Id.

88
      See JA126–247.

89
      JA130.

90
      JA137–38.

91
      JA147.

92
      See         Chamber of Commerce v. City of Philadelphia, 319 F. Supp. 3d 773, 779 (E.D.Pa. 2018).

93
            Id. at 801, 803.

94
            Id. at 803–04.

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95
         Id. at 804.

96
         Id. at 785.

97
         Id. (“[B]ecause I conclude infra that the Inquiry Provision does not pass muster under the               Central Hudson
      framework, I need not determine whether the               Central Hudson test has been broadened for content- or
      speaker-based restrictions. I will thus apply     Central Hudson’s intermediate scrutiny to the Inquiry Provision.”).

98
         447 U.S. 557, 100 S.Ct. 2343, 65 L.Ed.2d 341 (1980).

99
          Chamber of Commerce, 319 F. Supp. 3d at 800 (“I conclude that there is insufficient evidence to establish the
      alleged harm of discriminatory wages being perpetuated in subsequent wages such that they contribute to a
      discriminatory wage gap.”).

100
         Id. at 807 (citing e.g., Wonderling Decl. ¶¶ 16, 22 (“If the Ordinance is allowed to stand, it will harm the
      Chamber’s members named in the First Amended Complaint as well as other members within the Chamber’s
      broader membership by preventing them from making wage-history inquiries that they otherwise normally would
      make.”)).

101
         Id. 807–08.

102
         Instant Air Freight Co. v. C.F. Air Freight, Inc., 882 F.2d 797, 800 (3d Cir. 1989) (internal citations omitted).

103
         A.T.&T. Co. v. Winback & Conserve Program, Inc., 42 F.3d 1421, 1427 (3d Cir. 1994) (internal citations omitted)
      (quoting     Merch. & Evans, Inc. v. Roosevelt Bldg. Prods., 963 F.2d 628, 632–33 (3d Cir. 1992)).

104
         Reilly v. City of Harrisburg, 858 F.3d 173, 179 (3d Cir. 2017), as amended (June 26, 2017).

105
         Id.

106
         Id. at 180 (quoting       Ashcroft v. ACLU, 542 U.S. 656, 666, 124 S.Ct. 2783, 159 L.Ed.2d 690 (2004)).

107
         Id. (quoting    Gonzales v. O Centro Espirita Beneficente Uniao do Vegetal, 546 U.S. 418, 429, 126 S.Ct. 1211,
      163 L.Ed.2d 1017 (2006)).

108
         Id. at 180 n.5 (quoting      Thalheimer v. City of San Diego, 645 F.3d 1109, 1116 (9th Cir. 2011)).

109
         Id.

110
         Id.

111
         Id.

112
        Doe by & through Doe v. Boyertown Area Sch. Dist., 897 F.3d 518, 526 (3d Cir. 2018) (citing            Kos Pharm., Inc. v.
      Andrx Corp., 369 F.3d 700, 708 (3d Cir. 2004)).
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113
         Id.

114
      Phila. Code. § 9-1131.

115
         Chamber of Commerce, 319 F. Supp. 3d at 803.

116
         Id.

117
         848 F.3d 1293 (11th Cir. 2017).

118
         561 U.S. 1, 130 S.Ct. 2705, 177 L.Ed.2d 355 (2010).

119
         Chamber of Commerce, 319 F. Supp. 3d at 803–04.

120
         Id. at 803–04.

121
         Id. at 803.

122
         561 U.S. at 28, 130 S.Ct. 2705.

123
         Id.

124
         Chamber, 319 F. Supp. 3d. at 804 (The “provisions [at issue] prohibited significantly more specific actions that
      implicated speech on their face[,] to the extent the Reliance Provision is content- or speaker-based, it targets
      conduct and not speech.”).

125
      Chamber Br. at 29.

126
      Chamber Br. at 29 (“[T]he conduct triggering coverage under the statute consists of communicating a message.”).

127
         709 F.3d 808, 819 (9th Cir. 2013).

128
         868 F.3d 104 (2d Cir. 2017).

129
      Phila Code § 9-1131. “To rely on the wage history of a prospective employee from any current or former employer
      of the individual in determining the wages for such individual at any stage in the employment process, including the
      negotiation or drafting of any employment contract, unless such applicant knowingly and willingly disclosed his or
      her wage history to the employer, employment agency, employee or agent thereof.” Id.

130
         Expressions Hair Design v. Schneiderman, ––– U.S. ––––, 137 S. Ct. 1144, 1151, 197 L.Ed.2d 442 (2017) (quoting
         Rumsfeld v. Forum for Acad. & Inst’l Rights, Inc., 547 U.S. 47, 62, 126 S.Ct. 1297, 164 L.Ed.2d 156 (2006)). During
      oral argument, the City Solicitor for the City of Philadelphia offered a very good analogy: An anti-discrimination
      Ordinance that prohibits hiring discrimination based on race does not implicate speech even though it may cause an
      establishment to remove a “Colored Applicants Only” sign.

131
         ––– U.S. ––––, 138 S. Ct. 2361, 201 L.Ed.2d 835 (2018).

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132
         709 F.3d at 823;      868 F.3d at 113.

133
      See, e.g.,   International Franchise Association, Inc. v. City of Seattle, 803 F.3d 389, 408 (9th Cir. 2015) (explaining
      that the minimum wage law at issue there was an “economic regulation that does not target speech or expressive
      conduct”).

134
      Phila. Code. § 9-1131.

135
         Central Hudson, 447 U.S. at 561, 100 S.Ct. 2343.

136
         Pittsburgh Press Co. v. Pittsburgh Comm’n on Human Relations, 413 U.S. 376, 385, 93 S.Ct. 2553, 37 L.Ed.2d 669
      (1973) (“Each is no more than a proposal of possible employment. The advertisements are thus classic examples of
      commercial speech.”); see also      Bigelow v. Virginia, 421 U.S. 809, 821, 95 S.Ct. 2222, 44 L.Ed.2d 600 (1975)
      (finding the speech at issue “classic examples of commercial speech, for each was no more than a proposal of
      possible employment”) (internal quotations omitted).

137
         Valle Del Sol Inc., 709 F.3d at 818–19.

138
         Nomi v. Regents for Univ. of Minn., 796 F. Supp. 412, 417 (D. Minn. 1992) vacated on other grounds, 5 F.3d 332
      (8th Cir. 1993).

139
         U.S. Healthcare, Inc. v. Blue Cross of Greater Phila., 898 F.2d 914, 933 (3d Cir. 1990) (citing    Bolger v. Youngs
      Drug Prods. Corp., 463 U.S. 60, 66–67, 103 S.Ct. 2875, 77 L.Ed.2d 469 (1983)).

140
         Id.

141
         Chamber of Commerce, 319 F. Supp. 3d at 783 (citing        Valle Del Sol, 709 F.3d at 818).

142
      Retail Digital Network, LLC v. Prieto, 861 F.3d 839, 844 (9th Cir. 2017) (citing      Florida Bar, 515 U.S. at 623, 115
      S.Ct. 2371).

143
         Chamber of Commerce, 319 F. Supp. 3d at 784 (citing        Edenfield v. Fane, 507 U.S. 761, 767, 113 S.Ct. 1792, 123
      L.Ed.2d 543 (1993)).

144
         Central Hudson, 447 U.S. at 562–63, 100 S.Ct. 2343.

145
         Id. at 559, 100 S.Ct. 2343.

146
         Thompson v. W. States Med. Ctr., 535 U.S. 357, 367, 122 S.Ct. 1497, 152 L.Ed.2d 563 (2002).

147
         Central Hudson, 447 U.S. at 566, 100 S.Ct. 2343.

148
         Lorillard Tobacco Co. v. Reilly, 533 U.S. 525, 528, 121 S.Ct. 2404, 150 L.Ed.2d 532 (2001).

149
      Chamber Br. at 24. The Ordinance’s speech restrictions, the Chamber argues, are content-based due to their
      “appli[cation] to particular speech because of the topic discussed—namely, wage history.” Id.
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150
      See, e.g.,   Greater New Orleans Broad. Ass’n, Inc. v. United States, 527 U.S. 173, 176, 183–84, 119 S.Ct. 1923, 144
      L.Ed.2d 161 (1999) (applying intermediate scrutiny to prohibition on broadcast advertising of legal casino gambling);
         Rubin v. Coors Brewing Co., 514 U.S. 476, 478, 482, 488, 115 S.Ct. 1585, 131 L.Ed.2d 532 (1995) (applying
      intermediate scrutiny to law prohibiting display of alcohol content on beer labels);   Florida Bar, 515 U.S. at 620,
      635, 115 S.Ct. 2371 (1995) (applying intermediate scrutiny to prohibition on attorneys sending written solicitations
      to prospective clients relating to an accident or disaster).

151
      See     Turner Broadcasting System, Inc. v. F.C.C. (“Turner I”), 512 U.S. 622, 658, 114 S.Ct. 2445, 129 L.Ed.2d 497
      (1994) (“Congress may not abridge the rights of some persons to engage in political expression in order to enhance
      the relative voice of other segments of our society.”) (internal quotations omitted).

152
         Id.

153
         505 U.S. 377, 112 S.Ct. 2538, 120 L.Ed.2d 305 (1992).

154
         Id. at 387–88, 112 S.Ct. 2538 (quoting      Simon & Schuster, Inc. v. Members of N.Y. State Crime Victims Bd., 502
      U.S. 105, 115, 112 S.Ct. 501, 116 L.Ed.2d 476 (1991)).

155
         564 U.S. 552, 131 S.Ct. 2653, 180 L.Ed.2d 544 (2011).

156
         Id. at 557, 131 S.Ct. 2653.

157
         Id. at 564, 131 S.Ct. 2653.

158
         Id.

159
         Id. at 552, 131 S.Ct. 2653.

160
         Chamber of Commerce, 319 F. Supp. 3d at 784; see also Prieto, 861 F.3d at 847 (“There is nothing novel in
         Sorrell’s use of the term ‘heightened scrutiny’ to distinguish from rational basis review.”).

161
      See, e.g., Prieto, 861 F.3d at 848–49 (rejecting notion that      Sorrell’s reference to “heightened” scrutiny was
      intended to apply a standard to commercial speech cases that is greater than intermediate scrutiny); 1-800-411-Pain
      Referral Serv., LLC v. Otto, 744 F.3d 1045, 1055 (8th Cir. 2014) (“The upshot is that when a court determines
      commercial speech restrictions are content- or speaker-based, it should then assess their constitutionality under
         Central Hudson.”).

162
         Central Hudson, 447 U.S. at 566, 100 S.Ct. 2343.

163
         Id.

164
         Id.

165
         Id.


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166
         Posadas de Puerto Rico Assoc. v. Tourism Co. of Puerto Rico, 478 U.S. 328, 341, 106 S.Ct. 2968, 92 L.Ed.2d 266
      (1986).

167
      See    Lorillard Tobacco, 533 U.S. at 556, 121 S.Ct. 2404 (“[I]t [is] clear that ‘the least restrictive means’ is not the
      standard; instead, the case law requires a reasonable ‘fit between the legislature’s ends and the means chosen to
      accomplish those ends, ... a means narrowly tailored to achieve the desired objective’ ”). Under strict scrutiny the
      government faces a more difficult burden, it “must show that the ‘regulation is necessary to serve a compelling state
      interest,’ ”   Burson v. Freeman, 504 U.S. 191, 198, 112 S.Ct. 1846, 119 L.Ed.2d 5 (1992), and the regulation must
      be the least restrictive means of achieving the interest.      McCullen v. Coakley, 573 U.S. 464, 478, 134 S.Ct. 2518,
      189 L.Ed.2d 502 (2014).

168
         Chamber, 319 F. Supp. 3d at 786.

169
         Id. (emphasis added); see also Dunagin v. City of Oxford, 718 F.2d 738, 743 (5th Cir. 1983) (en banc) (“The
      commercial speech doctrine would disappear if its protection ceased whenever the advertised product might be
      used illegally.”).

170
          Chamber, 319 F. Supp. 3d at 787. Under the district court’s reasoning, on the other hand, a law that prohibited
      the advertising of the sale of cocaine, for example, would present a speech restriction that always and only related
      to illegal activity because there are no other legal uses/purposes behind the sale of cocaine.

171
         413 U.S. 376, 93 S.Ct. 2553, 37 L.Ed.2d 669 (1973).

172
         Id. at 378, 93 S.Ct. 2553. The Ordinance also prohibited “aid[ing] ... in the doing of any act declared to be an
      unlawful employment practice under the Ordinance.”

173
         Id. at 380, 93 S.Ct. 2553.

174
         Id. at 389, 93 S.Ct. 2553.

175
         Id.

176
         Chamber of Commerce, 319 F. Supp. 3d at 787.

177
         Florida Bar, 515 U.S. at 625, 115 S.Ct. 2371 (internal citations omitted).

178
         Id.at 626, 115 S.Ct. 2371.

179
         Id.

180
         Turner I, 512 U.S. at 666, 114 S.Ct. 2445.

181
         Turner II, 520 U.S. at 195, 117 S.Ct. 1174 (internal quotation marks and citation omitted).

182
         Chamber of Commerce, 319 F. Supp. 3d at 797–98 (emphasis added) (internal quotation marks omitted).


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183
         Florida Bar, 515 U.S. at 628, 115 S.Ct. 2371 (citing      Burson v. Freeman, 504 U.S. 191, 211, 112 S.Ct. 1846, 119
      L.Ed.2d 5 (1992)) (Blackmun, J., plurality opinion) (emphases added). See also City Br. at 43–44 (citing    Heffner v.
      Murphy, 745 F.3d 56, 92 (3d Cir. 2014),         WV Ass’n of Club Owners & Fraternal Servs., Inc. v. Musgrave, 553 F.3d
      292, 303–04 (4th Cir. 2009),      Coyote Pub., Inc. v. Miller, 598 F.3d 592, 608 (9th Cir. 2010) to show recent
      decisions reflecting the Supreme Court’s flexible approach to speech restrictions under intermediate scrutiny).

184
         Nixon v. Shrink Mo. Gov’t PAC, 528 U.S. 377, 391, 120 S.Ct. 897, 145 L.Ed.2d 886 (2000).

185
         City of Los Angeles v. Alameda Books, Inc., 535 U.S. 425, 439–40, 122 S.Ct. 1728, 152 L.Ed.2d 670 (2002).

186
      Blau and Khan at 32; see also fn. 60, 75, supra.

187
      See JA275.

188
         Turner II, 520 U.S. at 181, 117 S.Ct. 1174 (internal quotation marks and citation omitted).

189
         Turner I, 512 U.S. at 666, 114 S.Ct. 2445.

190
         504 U.S. 191, 112 S.Ct. 1846, 119 L.Ed.2d 5 (1992).

191
         551 U.S. 291, 127 S.Ct. 2489, 168 L.Ed.2d 166 (2007).

192
         Burson, 504 U.S. at 211, 112 S.Ct. 1846.

193
         Id. at 196, 112 S.Ct. 1846.

194
         Id. at 197, 211, 112 S.Ct. 1846.

195
         Id. at 208 n.11, 112 S.Ct. 1846.

196
         Id. at 208, 112 S.Ct. 1846 (quoting     Munro v. Socialist Workers Party, 479 U.S. 189, 195, 107 S.Ct. 533, 93
      L.Ed.2d 499 (1986)) (internal quotations omitted).

197
         Id. at 208-211, 112 S.Ct. 1846.

198
         Id.

199
         551 U.S. at 294, 127 S.Ct. 2489.

200
         Id.

201
         Id. at 294-95, 127 S.Ct. 2489.

202
         Id. at 300, 127 S.Ct. 2489.



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203
         447 U.S. at 568, 100 S.Ct. 2343.

204
         Id., 447 U.S. at 569, 100 S.Ct. 2343. Although the Court eventually found, under the fourth prong, that the law at
      issue was overbroad because it “suppresse[d] speech that in no way impairs the State’s interest in energy
      conservation,”      id. at 570, 100 S.Ct. 2343, under the third prong, the Court simply recognized the “immediate
      connection” that limiting advertising would have on demand for electricity.         Id. at 569, 100 S.Ct. 2343.

205
         Chamber of Commerce, 319 F. Supp. 3d at 792 (“[P]ractically all of the ... testimony amplifies a point that really is
      not in dispute – that there is a gender pay disparity.”) Although this excerpt from the district court opinion refers
      specifically only to the gender disparity, it is clear that the court also accepted the existence of a racial disparity. The
      court’s concern was not with the existence of these disparities, but with whether the City had established a
      sufficient “fit” between the Inquiry Provision and these disparities to support its conclusions that the Inquiry
      Provision was necessary to address the disparities.

206
      JA124.

207
         Chamber of Commerce, 319 F. Supp.3d at 794 (“ Edenfield,              Rubin,     Pitt News, and        Wollschlaeger
      instruct that some evidence is required for the legislature to conclude that the law at issue will directly advance the
      government’s substantial interest. Theories and unsupported opinions will not suffice to demonstrate that the
      asserted harms are real.”).

208
         507 U.S. 761, 113 S.Ct. 1792, 123 L.Ed.2d 543 (1993).

209
         514 U.S. 476, 115 S.Ct. 1585, 131 L.Ed.2d 532 (1995).

210
         379 F.3d 96, 107–08 (3d Cir. 2004).

211
         Edenfield, 507 U.S. at 764, 113 S.Ct. 1792.

212
         Id.

213
         Id. at 764, 771-72, 113 S.Ct. 1792.

214
         Id. at 765, 113 S.Ct. 1792.

215
         Id.

216
         Id. at 775-76, 113 S.Ct. 1792.

217
         514 U.S. at 478–79, 115 S.Ct. 1585.

218
         Id. at 487, 115 S.Ct. 1585.

219
         Id. at 488, 115 S.Ct. 1585.

220
         Id. at 486–89, 115 S.Ct. 1585.

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221
         Id. at 490, 115 S.Ct. 1585.

222
         379 F.3d at 107.

223
         Id. (emphasis added).

224
         Id. at 108.

225
         848 F.3d at 1319.

226
         Id. at 1303.

227
         Id. at 1312.

228
         Id. (emphasis added).

229
         Id. (quoting        Turner I, 512 U.S. 622 at 664, 114 S.Ct. 2445).

230
      H’rg Tr. at 66.

231
      Id. at 75.

232
      Id. at 8-12.

233
         Chamber of Commerce, 319 F. Supp.3d at 798.

234
      JA297.

235
         887 F.3d 453, 460–61 (9th Cir. 2018) (en banc) (holding that a female employee’s prior salary does not qualify as
      a “factor other than sex” under the federal Equal Pay Act that can justify paying her less than a male employee who
      performs substantially equal work), vacated on other grounds by Yovino v. Rizo, ––– U.S. ––––, 139 S. Ct. 706, 203
      L.Ed.2d 38 (2019).

236
         Id. at 456 (citing      29 U.S.C. § 206(d)(1)).

237
         Id.

238
         29 U.S.C. § 206(d)(1)(iv) allows “a differential based on any factor other than sex.”

239
         Rizo, 887 F.3d at 456–57 (emphasis added).

240
      See, e.g.,       Irby v. Bittick, 44 F.3d 949, 955 (11th Cir. 1995) (“if prior salary alone were a justification, the exception
      would swallow up the rule and inequality in pay among genders would be perpetuated”);        Riser v. QEP Energy,
      776 F.3d 1191, 1199 (10th Cir. 2015) (Equal Pay Act “precludes an employer from relying solely upon a prior salary
      to justify pay disparity”) (citation omitted); but see, e.g.,      Wernsing v. Dep’t of Human Servs., 427 F.3d 466,
      468-70 (7th Cir. 2005) (holding that prior salary alone can justify wage disparities).
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241
            City of Los Angeles v. Alameda Books, Inc., 535 U.S. 425, 439–40, 122 S.Ct. 1728, 152 L.Ed.2d 670 (2002).

242
         767 F.3d 216 (3d Cir. 2014), abrogated on other grounds by          Nat’l Inst. of Family & Life Advocates v. Becerra,
      ––– U.S. ––––, 138 S. Ct. 2361, 201 L.Ed.2d 835 (2018).

243
            767 F.3d at 239.

244
            Alameda Books, 535 U.S. at 429, 122 S.Ct. 1728.

245
            Id. at 433, 122 S.Ct. 1728.

246
            Id. at 439, 122 S.Ct. 1728.

247
         Id. The court noted, “Respondents’ claim assumes that the ... study proves that all adult businesses, whether or
      not they are located near other adult businesses, generate crime. This is a plausible reading of the results from the
      1977 study, but respondents do not demonstrate that it is a compelled reading. Nor do they provide evidence that
      refutes the city’s interpretation of the study, under which the city’s prohibition should on balance reduce crime.”
         Id. at 438, 122 S.Ct. 1728. Accordingly, the Court concluded that the City had supported the law with sufficient
      evidence.

248
      See     Nixon v. Shrink Missouri Government PAC, 528 U.S. 377, 394, 120 S.Ct. 897, 145 L.Ed.2d 886 (2000) (“[t]here
      might, of course, be need for a more extensive evidentiary documentation if respondents had made any showing of
      their own to cast doubt on the apparent implications of [the government’s] evidence and the record here”).

249
      Chamber Br. at 49.

250
      Id.

251
            767 F.3d at 238.

252
        Chamber, 319 F. Supp.3d at 796, 800 (“Unlike in                 Florida Bar, there are no comprehensive studies
      demonstrating the alleged harm.”).

253
            Florida Bar, 515 U.S. at 627, 115 S.Ct. 2371.

254
            Id. at 626, 115 S.Ct. 2371.

255
            Id. at 626-27, 115 S.Ct. 2371.

256
            Id.

257
            Id.

258
      The report did include “excerpts from complaints of direct-mail recipients,”   id. at 627, 115 S.Ct. 2371, some of
      whom complained about solicitation in the wake of an injury or accident, but the Bar presented no evidence that a
      solicitation ban only in the first 30 days after an accident would do anything to mitigate these complaints.
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      Additionally, the comments included favorable statements about direct mail solicitation as well.       Id. at 641, 115
      S.Ct. 2371.

259
         Id. at 640, 115 S.Ct. 2371 (Kennedy, J. dissenting).

260
         Id. at 640–41, 115 S.Ct. 2371 (Kennedy, J. dissenting) (“[N]o actual surveys, few indications of sample size or
      selection procedures, no explanations of methodology, and no discussion of excluded results [were presented]. ...
      [N]o description of the statistical universe or scientific framework that permits any productive use of the
      information [was presented].”).

261
         Id.

262
         Id. at 641, 115 S.Ct. 2371.

263
      See, e.g., Stanley & Jarrell (meta-analysis of more than 50 studies investigating the wage gaps).

264
      See, e.g., id. at 948 (concluding there is a “wide consensus that gender wage discrimination exists” and the “vast
      empirical economic literature, containing hundreds of studies, reveals that women are ‘underpaid’ disproportionate
      to their observed skills”).

265
      See, e.g., Blau & Kahn at 32 (finding from 1980 to 2010, “an unexplained gender wage gap in each year[’s data],” and
      explaining that the “finding of such an unexplained gap is fairly standard in the literature” and is “taken as an
      estimate of labor market discrimination”).

266
      See e.g., Arin N. Reeves, “Written in Black and White: Exploring Confirmation Bias in Racialized Perceptions of
      Writing Skills,” Nextions Yellow Paper Series (2014) (concluding from the results of a controlled experiment on law
      firm partners reviewing an identical memo from African-American Thomas Meyer and Caucasian Thomas Meyer
      that the greater number of negative comments and a .9 reduction in score on a scale of 5 for African-American
      Thomas Meyer was the result of “commonly held racially-based perceptions about writing ability ... unconsciously
      impact [law firm partners’] ability to objectively evaluate a lawyer’s writing. Most of the perceptions uncovered in
      research thus far indicate that commonly held perceptions are biased against African Americans and in favor of
      Caucasians.”). The results of this controlled experiment are consistent with others like it conducted in various fields
      designed to ensure that the only variable that could explain the more positive reaction to White employees was the
      perceived race or gender of the person they were being compared to. In a similar, well publicized experiment
      published under the title: “Are Emily and Greg More Employable Than Lakisha and Jamal? A Field Experiment on
      Labor Market Discrimination,” researchers Marianne Bertrand and Sendhil Mullainathan of the University of Chicago
      and MIT, found “large racial differences in callback rates. Applicants with White names need[ed] to send about 10
      resumes to get one callback whereas applicants with African-American names need[ed] to send about 15.” The
      fictional White applicant therefore had a 50 percent greater probability of getting a call back than the fictional
      African-American applicant. Marianne Bertrand & Sendhil Mullainathan, Are Emily and Greg More Employable Than
      Lakisha and Jamal? A Field Experiment on Labor Market Discrimination, NBER Working Paper No. 9873, National
      Bureau for Economic Research (2003), https://www.nber.org/papers/w9873.pdf.

267
         767 F.3d at 216.

268
         Id. at 221.

269
         Id. at 238.


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270
         Id.

271
         Id.

272
         Id. at 239.

273
         Id. (emphasis added) (citation omitted).

274
         Id.

275
         Id. at 239.

276
               Price Waterhouse v. Hopkins, 490 U.S. 228, 271, 109 S.Ct. 1775, 104 L.Ed.2d 268 (1989) superseded by statute
      as stated in    Burrage v. U.S., 571 U.S. 204, 214 n. 4, 134 S.Ct. 881, 187 L.Ed.2d 715 (2014) (permitting a showing
      that discrimination was a “motivating” or “substantial” factor to shift the burden of persuasion to the employer,
      which was made moot after Congress amended the statute to remove but-for causality).

277
         Aman v. Cort Furniture, 85 F.3d 1074, 1081 (3d Cir. 1996).

278
         Id. at 1082 (emphasis added).

279
               Price Waterhouse, 490 U.S. at 272, 109 S.Ct. 1775.

280
      For a thorough discussion of the prevalence and impact of such subliminal bias, see Mahzarin R. Banaji and Anthony
      G. Greenwald, Blind Spot: Hidden Biases of Good People (2013).

281
         Lorillard Tobacco, 533 U.S. at 556, 121 S.Ct. 2404 (internal quotations omitted).

282
         Id. (citing     Florida Bar, 515 U.S. at 632, 115 S.Ct. 2371).

283
         Board of Trustees of State Univ. of New York v. Fox, 492 U.S. 469, 479–80, 109 S.Ct. 3028, 106 L.Ed.2d 388 (1989)
      (citing  In re R.M.J., 455 U.S. 191, 203, 102 S.Ct. 929, 71 L.Ed.2d 64 (1982)); see also Matal v. Tam, ––– U.S.
      ––––, 137 S. Ct. 1744, 1764, 198 L.Ed.2d 366 (2017) (“[t]he regulatory technique may extend only as far as the
      interest it serves.”) (citing   Central Hudson, 447 U.S. at 565, 100 S.Ct. 2343).

284
         Board of Trustees, 492 U.S. at 480, 109 S.Ct. 3028.

285
         Id. The Court does not invalidate a commercial speech restriction “that went only marginally beyond what would
      adequately have served the governmental interest,” rather “almost all of the restrictions disallowed under
         Central Hudson’s fourth prong have been substantially excessive ....”      Id. at 479, 109 S.Ct. 3028.

286
         Greater New Orleans Broadcasting Ass’n, Inc. v. United States, 527 U.S. 173, 183, 119 S.Ct. 1923, 144 L.Ed.2d 161
      (1999).

287
         Bad Frog Brewery, Inc. v. New York State Liquor Auth., 134 F.3d 87, 98 (2d Cir. 1998) (quoting           Puerto Rico
      Assocs., 478 U.S. at 341, 106 S.Ct. 2968).
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288
      We caution, however, that, as the discussion of the Court of Appeals for the Ninth Circuit in  Rizo makes clear,
      some questions may raise the specter of a wage inquiry, even though not expressed in so many words.

289
      See e.g., H’rg Tr., at 15–16 (“Actually, the Massachusetts law goes a little wider than we do. We’re trying to keep it
      real basic, and I think you’ll hear from a witness that thinks we don’t make it strong enough, but we’re trying to find
      that great balance that we always try to in legislation and at least at this point limit it to stopping the employer from
      asking, directly asking, the prospective employee what they make. Massachusetts law goes a little farther as far as
      how far the employer can inquire, and we’re not ready to go there yet and we think that could have added more
      controversy to the bill. ... [W]e want to try to keep it real basic as far as the inquiry of past wages.”).

290
      This, of course, does not suggest that an employer can goad or cajole an employee into disclosing prior wages or
      salary.

291
         Central Hudson, 447 U.S. at 565, 100 S.Ct. 2343.

292
      Chamber Br. at 55.

293
      See Br. of Amicus City of NY et al.

294
         515 U.S. at 632, 115 S.Ct. 2371.

295
         Id. at 633, 115 S.Ct. 2371.

296
         Fox, 492 U.S. at 479, 109 S.Ct. 3028.

297
      Chamber Br. at 57-58.

298
         Brown v. Entm’t Merchs. Ass’n, 564 U.S. 786, 801–02, 131 S.Ct. 2729, 180 L.Ed.2d 708 (2011). See also      R.A.V.,
      505 U.S. at 387, 112 S.Ct. 2538 (“[T]he First Amendment imposes not an ‘underinclusiveness’ limitation but a
      ‘content discrimination’ limitation upon a State’s prohibition of proscribable speech. There is no problem whatever,
      for example, with a State’s prohibiting obscenity (and other forms of proscribable expression) only in certain media
      or markets, for although that prohibition would be ‘underinclusive,’ it would not discriminate on the basis of
      content.”).

299
            Mariani v. United States, 212 F.3d 761, 774 (3d Cir. 2000).

300
            Id.

301
      See     Fox, 492 U.S. at 476–78, 109 S.Ct. 3028.

302
      The Chamber also cited to our recent decision in       Bank of Hope in its Rule 28(j) letter to argue that the City was
      required to attempt a host of other alternatives before implementing the Ordinance.            Central Hudson scrutiny
      does not require the City to adopt the least restrictive means to achieve its goal. Moreover, in   Bank of Hope v.
      Miye Chon, 938 F.3d 389 (3d Cir. 2019). We concluded that there “neither the magistrate judge nor the district court
      considered a single alternative.”     Id. at 396. In contrast, the City here, considered and appropriately rejected a
      number of alternatives, including the patently deficient alternatives suggested by the Chamber, such as simply
      enforcing current antidiscrimination laws, which have been insufficient to meaningfully close the wage gap.

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303
       § 9-1131(1); see also JA299-300 (summarizing testimony before the City regarding existing laws that have
       insufficiently closed the pay gap).




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                EXHIBIT C
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Miura Corporation v. Davis, Slip Copy (2020)




                                                            Dkt. 5. Plaintiffs filed this lawsuit against Defendant
               2020 WL 5224348                              Muntu Davis (“Davis” or “the County”) in his official
  Only the Westlaw citation is currently available.         capacity, as Health Officer for the County of Los
   United States District Court, C.D. California.           Angeles’ Department of Health. Dkt. 1 at 4. Plaintiff
                                                            Sasabune is a corporation operating a sushi restaurant
            MIURA CORPORATION, et al                        located in Beverly Hills, and Plaintiff Lutz is an
                      v.                                    individual residing in Los Angeles County. Id. at 4.
                 Muntu DAVIS
                                                            Plaintiffs’ lawsuit arises from an Order (“the Order” or
          Case No. 2:20-cv-05497-SVW-ADS                    “the County’s Order”) issued by Defendant Davis in
                          |                                 conjunction with the County of Los Angeles’ (“the
                  Filed 06/25/2020                          County”) phased reopening plan created in response to the
                                                            ongoing COVID-19 health crisis. See Centers for Disease
                                                            Control and Prevention, “Cases in the U.S.” June 23,
Attorneys and Law Firms                                     2020
                                                            https://www.cdc.gov/coronavirus/2019-ncov/cases-update
Christian Elias Kernkamp, Kernkamp Law APC, Los             s/cases-in-us.html. Plaintiffs allege two causes of action,
Angeles, CA, for Miura Corporation, et al.                  under the First and Fourth Amendments. Id. at 9–11.
                                                            Plaintiffs argue that the provision in the Order that took
Amnon Z. Siegel, Andrew Louis Schrader, Jason H.
                                                            effect on June 18, 2020 and instructed places of worship,
Tokoro, Tiffany Tejeda-Rodriguez, Miller Barondess
                                                            office worksites, restaurants, and other types of
LLP, Los Angeles, CA, for Muntu Davis.
                                                            businesses and organizations to collect contact
                                                            information from visitors and participants during the
                                                            course of their activities constitute an unconstitutional
                                                            warrantless search regime (in violation of the Fourth
                                                            Amendment) and infringe upon Plaintiff Lutz’ freedom of
                                                            association (in violation of the First Amendment). See
  Proceedings: ORDER DENYING PLAINTIFFS’ EX                 Dkt. 1-1 (County’s Revised Order).
    PARTE APPLICATION FOR A TEMPORARY
            RESTRAINING ORDER [5]                           The relevant portions of the County’s Order can be easily
                                                            summarized. They instruct businesses affected by the
                                                            Order to collect “contact information,” in some cases
The Honorable STEPHEN V. WILSON, U.S. DISTRICT              defined to include names, phone numbers, and email
JUDGE                                                       addresses from visitors, participants, and patrons, as are
                                                            relevant for the type of business or activity in question.
                                                            See Dkt. 1 at 6–7 (collecting relevant language from the
                                                            Order). Violation or failure to comply with the Order is “a
                                                            crime punishable by fine, imprisonment, or both.” Dkt.
                                                            1-1 at 1; see also Cal. Health & Safety Code § 120295.
  I. Introduction
                                                            The Order also specifically references the County’s plans
*1 Plaintiffs Miura Corporation d/b/a Sasabune Beverly
                                                            to utilize “contact tracing,” which seeks to isolate
Hills (“Plaintiff Sasabune”) and Nargiza Lutz (“Plaintiff
                                                            confirmed cases of COVID-19 and “trace” those
Lutz) filed an ex parte Application for a Temporary
                                                            individuals who have been in contact with those
Restraining Order (“TRO”) on June 20, 2020. For the
                                                            confirmed cases in order to quarantine them effectively.
reasons articulated below, Plaintiffs’ application is
                                                            Id. at 8. Both parties agree that the contact information
DENIED.
                                                            recordkeeping requirements in the Order are directly
                                                            linked to the County’s efforts to conduct effective contact
                                                            tracing in order to combat further COVID-19 outbreaks,
                                                            although they disagree on the constitutionality of those
                                                            efforts. See Dkt. 5-1 at 11 (“There is no contact tracing
  II. Factual and Procedural Background                     exception to the Fourth Amendment.”); Dkt. 16 at 6 (“The
Plaintiffs filed both this lawsuit and their ex parte       record-keeping requirements of the Order will allow the
application for a TRO on Saturday June 20, 2020. Dkt. 1;    County to conduct effective contact tracing, when

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Miura Corporation v. Davis, Slip Copy (2020)



necessary.”)                                                         a. Application of Jacobson v. Massachusetts to
                                                                    Plaintiff’s claims given the current public health
*2 Plaintiffs filed their TRO on Saturday June 20, 2020,                    emergency caused by COVID-19.
Dkt. 5, and the County filed an Opposition on June 23,
2020. Dkt. 16.                                                  In addressing suits filed seeking injunctive relief against
                                                                local government action in response to the COVID-19
                                                                crisis, district courts, appellate courts, and the Supreme
                                                                Court have found the holding of                  Jacobson v.
                                                                Commonwealth of Massachusetts, 197 U.S. 11 (1905)
   III. Legal Standard                                          relevant. See       Prof’l Beauty Fed’n of California v.
The purpose of a temporary restraining order is to              Newsom, No. 2:20-CV-04275-RGK-AS, 2020 WL
preserve the status quo and prevent irreparable harm until      3056126, at *5 (C.D. Cal. June 8, 2020); Gish v. Newsom,
a hearing may be held on the propriety of a preliminary         No. 2:20-CV-755-JGB-KKX, 2020 WL 1979970, at *4
injunction. See       Reno Air Racing Ass’n, Inc. v.            (C.D. Cal. Apr. 23, 2020);       In re Abbott, 956 F.3d 696,
McCord, 452 F.3d 1126, 1131 (9th Cir. 2006). The                704 (5th Cir. 2020);          Elim Romanian Pentecostal
standard for issuing a temporary restraining order is           Church v. Pritzker, 2020 WL 3249062, at *5 (7th Cir.
identical to the standard for issuing a preliminary             June 16, 2020);        S. Bay United Pentecostal Church v
injunction. Lockheed Missile & Space Co. v. Hughes              Newsom, 140 S. Ct. 1613 (2020) (Roberts, CJ., concurring
Aircraft Co., 887 F. Supp. 1320, 1323 (N.D. Cal. 1995);         in denial of application for injunctive relief).
see      Stuhlbarg Intern. Sales Co., Inc. v. John D.
Brushy and Co., Inc., 240 F.3d 832, 839 n.7 (9th Cir.           In Jacobson, the Supreme Court considered the
2011).                                                          constitutionality     of    Massachusetts’     compulsory
                                                                vaccination law, which was enacted during a smallpox
“A plaintiff seeking a preliminary injunction must              epidemic.      197 U.S. at 12–13. The plaintiff in the case,
establish that he is likely to succeed on the merits, that he   a minister, refused to be vaccinated and was fined $5, and
is likely to suffer irreparable harm in the absence of          brought a Constitutional challenge to the law. The
preliminary relief, that the balance of equities tips in his    Supreme Court rejected this argument on appeal, stating
favor, and that an injunction is in the public interest.”       that “the court would usurp the functions of another
   Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7,       branch of government if it adjudged, as matter of law, that
20 (2008) (“Winter”). The Ninth Circuit employs the             the mode adopted under the sanction of the state, to
“serious questions” test, which states “ ‘serious questions     protect the people at large was arbitrary, and not justified
going to the merits’ and a balance of hardships that tips       by the necessities of the case.”   Id. at 28.
sharply towards the plaintiff can support issuance of a
preliminary injunction, so long as the plaintiff also shows     *3 The Court then described the scope of judicial
that there is a likelihood of irreparable injury and that the   authority to review emergency measures such as the
injunction is in the public interest.”     Alliance for Wild    vaccination mandate narrowly, explaining that “[i]f there
Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011).       is any such power in the judiciary to review legislative
“A preliminary injunction is an ‘extraordinary and drastic      action in respect of a matter affecting the general welfare,
remedy.’ It should never be awarded as of right.”               it can only be when...a statute purporting to have been
   Munaf v. Geren, 553 U.S. 674, 690 (2008) (citation           enacted to protect the public health...has no real or
omitted). The propriety of a temporary restraining order,       substantial relation to those objects, or is, beyond all
in particular, hinges on a significant threat of irreparable    question, a plain, palpable invasion of rights secured by
injury,     Simula, Inc. Autoliv, Inc., 175 F.3d 716, 725       the fundamental law[.]”        Id. at 31 (emphasis added).
(9th Cir. 1999), that must be imminent in nature.               Accordingly, this Court concludes that unless (1) the
                                                                measure has no real or substantial relation to public
   Caribbean Marine Serv. Co. v. Baldridge, 844 F.2d
                                                                health, or (2) the measure is “beyond all question, a plain,
668, 674 (9th Cir. 1988).                                       palpable invasion of rights secured by the fundamental
                                                                law,” the Court should apply an especially strong
                                                                presumption of constitutionality to the County’s Order.
                                                                Id.; see also     Prof’l Beauty Fed’n, 2020 WL 3056126,
                                                                at *5 (applying a similar test under Jacobson).
  IV. Analysis

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The Court finds, given the evidence before it, that the                         i. First Amendment Claim
County’s Order satisfies both prongs of this requirement.
First, the measures Plaintiffs seek an injunction against       Plaintiff Lutz argues the Order will violate her First
clearly have a “substantial relation” to the COVID-19           Amendment rights by forcing her to disclose her
crisis, as Plaintiffs acknowledge in their motion and could     patronage of restaurants1 complying with the County’s
not seriously dispute. Additionally, for the reasons stated     Order. “[I]n the First Amendment context, the moving
below in this Court’s analysis of the Winter factors            party bears the initial burden of making a colorable claim
applicable here, the portions of the County’s Order related     that its First Amendment rights have been infringed ... at
to gathering contact information and potential disclosure       which point the burden shifts to the government to justify
to the County to assist in contact tracing efforts do not       the restriction.”     Thalheimer v. City of San Diego, 645
constitute “a plain, palpable invasion of rights secured by     F.3d 1109, 1115–16 (9th Cir. 2011). As presented by
the fundamental law.”       Jacobson, 197 U.S. at 31. The       Plaintiff Lutz, it is not clear that the contested action,
Court therefore finds that at this juncture, and in light of    collecting contact information from businesses such as
the current public health crisis related to COVID-19,           bars and restaurants, implicates the First Amendment at
Jacobson requires the Court to apply an especially strong       all. “If the government’s actions do not implicate speech
presumption of constitutionality to the County’s Order.         protected by the First Amendment, we need go no
                                                                further.”      Animal Legal Def. Fund v. Wasden, 878 F.3d
                                                                1184, 1194 (9th Cir. 2018) (internal quotation mark
                                                                omitted). Plaintiff does not and cannot reasonably argue
                                                                that dining at a restaurant constitutes speech or expressive
           b. Application of the Winter Factors                 conduct as contemplated by the First Amendment, and a
                                                                restriction on “nonspeech, nonexpressive conduct ... does
A temporary restraining order is “an extraordinary
                                                                not implicate the First Amendment” and receives rational
remedy that may only be awarded upon a clear showing
                                                                basis scrutiny.      HomeAway.com, Inc. v. City of Santa
the plaintiff is entitled to such relief.”     Winter, 555
                                                                Monica, 918 F.3d 676, 685 (9th Cir. 2019). However,
U.S. at 22. Under Winter, a plaintiff “must establish that
                                                                Lutz also argues that mandating third-party restaurants to
(1) they are likely to succeed on the merits; (2) they are
                                                                collect her “contact information,”2 which may potentially
likely to suffer irreparable harm in the absence of
                                                                be disclosed to the County, unconstitutionally burdens her
preliminary relief; (3) the balance of equities tips in their
                                                                First Amendment Right of Association.
favor; and (4) a preliminary injunction is in the public
interest.” Sierra Forest Legacy v. Rey, 577 F.3d 1015,
                                                                *4 Plaintiff Lutz argues that the disclosure of her business
1021 (9th Cir. 2009) (applying        Winter, 555 U.S. at       patronage burdens her First Amendment Right of
29).                                                            Association because “implicit in the right to engage in
                                                                activities protected by the First Amendment [is] a
                                                                corresponding right to associate with others in pursuit of a
                                                                wide variety of political, social, economic, educational,
         1. Likelihood of Success on the Merits                 religious, and cultural ends.”     Roberts v. Jaycees, 468
                                                                U.S. 609, 622 (1984) (emphasis added). However,
The Ninth Circuit considers the likelihood of success on        Roberts dealt specifically with the state of Minnesota’s
the merits “the most important Winter factor; if a movant       attempt to force women to be admitted into a private civic
fails to meet this threshold inquiry, the court need not        organization that was exclusively male.          Id. at 621.
consider the other factors.”     Disney Enterprises, Inc. v.    The Court noted that gender segregation in an
VidAngel, Inc., 869 F.3d 848, 856 (9th Cir. 2017)               otherwise-open-club was impermissible because it
(internal quotation marks omitted). However, even if            perpetuated “barriers to economic advancement and
likelihood of success is not established, “[a] preliminary      political and social integration that have historically
injunction may also be appropriate if a movant raises           plagued certain disadvantaged groups, including women.”
‘serious questions going to the merits’ and the ‘balance of          Id. at 626. In concurrence, Justice O’Connor
hardships ... tips sharply towards’ it, as long as the second   distinguished expressive political associations from
and third Winter factors are satisfied.” Id. (quoting           routine commercial activity, noting “there is only minimal
    Cottrell, 632 F.3d at 1134–35).                             constitutional protection of the freedom of commercial
                                                                association.”     Id. at 634 (O’Connor, J., concurring in
                                                                part). Justice O’Connor reasoned that “[t]he First
                                                                Amendment is offended by direct state control of the
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membership of a private organization engaged exclusively        requires Plaintiff Sasabune to turn over contact
in protected expressive activity, but no First Amendment        information provided by patrons of the restaurant, it is
interest stands in the way of a State’s rational regulation     facially invalid under the Fourth Amendment because it
of economic transactions by or within a commercial              does not expressly require precompliance review of such
association.”     Id. at 638 (O’Connor, J., concurring in       a demand for information from affected businesses and
part). Here, Plaintiffs patronage of local businesses, and      organizations in the County. Dkt. 5 at 11. Plaintiff Lutz
the accompanying identifying information she may be             argues only that she “has a privacy interest in her data as
required to disclose, is purely commercial, and therefore       it is collected across the County.” Id. at 11.
does not raise First Amendment concerns.
                                                                Plaintiff Lutz’ claim is not cognizable under the Fourth
Plaintiff’s compelled disclosure argument is similarly          Amendment, because she has no reasonable expectation
unavailing. The Supreme Court has “repeatedly found that        of privacy with regard to information that she may
compelled disclosure, in itself, can seriously infringe on      (prospectively) disclose to businesses operating under the
privacy of association and belief guaranteed by the First       County’s Order. Her contact information, once provided
                                                                to any of the entities subject to the County’s Order,
Amendment.”          Buckley v. Valeo, 424 U.S. 1, 64, 96       constitutes business records of those businesses, no longer
(1976). But Plaintiff fails to show that disclosing her
contract information to a business will place any burden        subject to her privacy interest. See   Patel v. City of Los
on her associational rights. Plaintiff relies on                Angeles, 738 F.3d 1058, 1062 (“To be sure, the guests
                                                                lack any privacy interest of their own in the hotel’s
    N.A.A.C.P. v. Alabama, 357 U.S. 449, 460–62 (1958)
                                                                records.”); see also      United States v. Cormier, 220
and      Gibson v. Fla. Legislative Investigation Comm.,        F.3d 1103, 1108 (9th Cir. 2000) (“a person does not
372 U.S. 539, 546 (1963) to show that disclosure of             possess a reasonable expectation of privacy in an item in
identifying information to the government creates a             which he has no possessory or ownership interest”).
burden under the First Amendment. In N.A.A.C.P. and
Gibson, the Supreme Court concluded that government             *5 If, as Plaintiff Lutz declares, she “do[es] not desire or
investigation of a political advocacy group’s membership        consent to the collection of [her] private information,” she
list required strict scrutiny. However, Plaintiff’s patronage   is under no obligation to do so because the County’s
at a restaurant is a far cry from the political membership      Order only requires businesses to seek disclosure of
list examined in either N.A.A.C.P. or Gibson. Similarly         contact information from individuals and places no direct
inapposite is Plaintiff’s reliance on        Americans for      requirements on individuals. See generally Dkt. 1-1,
Prosperity Foundation v. Becerra, 919 F. 3d 1177, 1179          Appendix D, F, I, J, N, R, S (instructing various types of
(9th Cir. 2019), where the Ninth Circuit held that              businesses to collect contact information to assist in
“[c]ompelled disclosure of affiliation with groups              contact tracing). Plaintiff Lutz therefore lacks a
engaged in advocacy may constitute as effective a               continuing Fourth Amendment-protected privacy interest
restraint on freedom of association as more direct              in any contact information that she voluntarily discloses
restrictions on speech.” Again, Americans for Prosperity        to a business or organization covered by the Order.
related specifically to organizations engaged in clearly
protected political activity, not basic commercial              With regard to Plaintiff Sasabune3, the County argues in
transactions. Unlike the case discussed above, the              response that (1) the Order does not expressly mandate
patronage of local businesses does not involve any              maintaining information or compel businesses to turn
political activity. Accordingly, Plaintiff Lutz has failed to   over such records, and (2) in the event that a business did
raise a serious question that her First Amendment rights        not voluntarily consent to turn over contact information,
are burdened by the Order, and she is unlikely to be            the County would seek an administrative warrant in order
successful on the merits of her claim.                          to gain access to this information. Dkt. 16 at 12–14, 17.4

                                                                Focusing narrowly on the provision relevant to Plaintiff
                                                                Sasabune as a restaurant, Appendix I states in relevant
                                                                part that:
                   ii. Fourth Amendment

Both Plaintiffs argue that the Ordinance violates their
rights under the Fourth Amendment. Plaintiff Sasabune                       On-site dining made by reservation
argues that under    City of Los Angeles, Calif. v. Patel,                  or customers notified to call in
576 U.S. 409 (2015), to the extent that the County’s Order                  advance to confirm seating/serving

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            capacity, where possible. Contact                  contact information, in the event that the County attempts
            information for each party is                      to utilize contact tracing in response to a COVID-19
            collected either at time of                        outbreak. Dkt. 1-1, Appendix I at 4. But unlike in Patel,
            reservation booking or on site to                  where the City of Los Angeles did not even attempt to
            allow for contact tracing should                   argue that the disputed municipal code section “affords
            this be required.                                  hotel operators any opportunity” for precompliance
                                                               review, the County argues here that it will in practice
                                                               provide for such an opportunity.5 Compare       Patel, 576
Dkt. 1-1, Appendix I at 4. The Court finds that the            U.S. at 421 with Dkt. 16 at 3, 17.
language of the County’s Order is reasonably susceptible
to the interpretation that the County would potentially        Although the language of the Order is vague regarding
seek disclosure of these records to assist in contract         this process, the Court finds a low probability of success
tracing efforts related to COVID-19 (the County’s brief        on the merits here, given that Plaintiffs are raising a facial
also acknowledges this), and will presume for the              challenge to the Order’s constitutionality on this basis,
following analysis that the County intends to seek             which requires the Court to find that the Order be
disclosure of such contact information when it deems it        “unconstitutional in all of its applications.”     Patel, 576
necessary to assist in contact tracing efforts by public       U.S. at 418 (citing          Washington State Grange v.
health officials.                                              Washington State Republican Party, 552 U.S. 442, 449
                                                               (2008). The Court cannot find a substantial likelihood of
Because this disclosure requirement is clearly not related     success on the merits based on the arguments Plaintiff
to any criminal investigative purpose, any such                Sasabune has made on this claim, because there is no
government effort pursuant to the Order is properly            current evidence that the County will unconstitutionally
analyzed under the Fourth Amendment’s “administrative          apply the terms of the Order in practice. In connection
search” exception to the warrant requirement for               with the preliminary injunction briefing the Court outlines
government searches and seizures. See      Patel, 576 U.S.     below, Plaintiffs may present additional evidence that in
409, 420. In Patel, the Supreme Court held that Section        application, the City’s Order will result in
41.49(3)(a) of the Los Angeles Municipal Code, which           unconstitutional     administrative     searches   without
required hotel operators to make hotel guest records           precompliance review by a neutral decisionmaker, or that
available to any officer of the Los Angeles Police             the plain language of the Order cannot be reasonably be
Department on demand (and punished failure to do so            interpreted in a constitutional manner.
with fines and imprisonment), was facially invalid
because it did not satisfy the administrative search
exception to the Fourth Amendment.         Patel, 576 U.S.
at 419–421. In particular, the Supreme Court held that                    2. Likelihood of Irreparable Harm
“absent consent, exigent circumstances, or the like, in
order for an administrative search to be constitutional, the   Although the Court cannot conclude that Plaintiffs are
subject of the search must be afforded an opportunity to       likely to be successful on either of their constitutional
obtain precompliance review before a neutral                   claims, the Court must still analyze the remaining Winter
decisionmaker.” Id.
                                                               factors to determine if a TRO is appropriate. See        Doe
*6 Unlike in Patel, the County here specifically argues        v. Harris, 772 F.3d 563, 582 (9th Cir. 2014) (“Even
that “[i]n the unlikely event that a business refused to       where a plaintiff has demonstrated a likelihood of success
provide its records to County health officials, they could     on the merits of a First Amendment claim, it must also
seek an administrative warrant.” Dkt. 16 at 17. The            demonstrate that he is likely to suffer irreparable injury in
County then cites to Cal. Civ. Proc. Code §§ 1822.50 et        the absence of a preliminary injunction, and that the
seq., which articulates the process for issuing an             balance of equities and the public interest tip in his
administrative warrant under California law that would         favor.”) (internal quotation marks omitted).
clearly satisfy the “precompliance review before a neutral
                                                               In considering a preliminary injunction, the deprivation of
decisionmaker” requirement articulated by       Patel. 576     First Amendment rights “even for minimal periods of
U.S. at 420.                                                   time, unquestionably constitute[s] irreparable injury.”
                                                               Elrod v. Burns, 427 U.S. 373 (1976); see also
The language of the Order is relatively vague and does
not clearly state procedures for seeking disclosure of            Associated Press v. Otter, 682 F.3d 821, 826 (9th Cir.

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2012) (adopting the proposition);            Melendres v.                          4. Public Interest
Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012) (adopting
Elrod in the Fourth Amendment context). However, since         “Finally, the court must ‘pay particular regard for the
Plaintiffs have failed to show such a constitutional injury    public consequences in employing the extraordinary
is likely, they may not rest on that presumptive showing       remedy of injunction.’ ”       VidAngel., 869 F.3d at 867
of harm. Plaintiffs also allege they may suffer harm in the    (citing     Winter, 555 U.S. at 24). Here, the public
form of potential loss of business customers and the           interest weighs strongly in favor of the County. Generally,
“charges and fines” that may be imposed by the County.         “it is always in the public interest to prevent the violation
Dkt. 5 at 13. This is a monetary harm compensable by
                                                               of a party’s constitutional rights.”        Melendres, 695
money damages, which is not considered irreparable for
                                                               F.3d at 1002 (internal quotation marks omitted). But
the purposes of a TRO. Inv’rs v. Bank of Am., NA, 585 F.
                                                               Plaintiff has failed to show their constitutional rights are
App’x 742 (9th Cir. 2014) (describing the difference
                                                               likely to be violated by the Order. Conversely, if the
between irreparable harm and that which can be
                                                               County’s efforts are judicially thwarted, the damage to the
“adequately remedied through money damages.”). The
                                                               public could extend far beyond these individual Plaintiffs.
Order also provides that a resident may face criminal
                                                               The public interest is therefore overwhelming served by
penalties, but Plaintiffs have not shown any reasonable
                                                               denying the TRO.
possibility of criminal enforcement. Indeed, Plaintiffs
only address the potential of criminal penalties in the
most cursory of terms, arguing: “[t]he County has made it
clear that violations of the Order are punishable by
criminal and civil penalties. These sanctions can be very                   c. Balancing the Winter factors
significant as charges and fines can be stacked on a per
day and per violation basis.” Dkt. 5 at 13. Plaintiff does     Considering all of the Winter factors in concert, the Court
not argue that criminal penalties are likely. The              finds that a TRO is not warranted in this instance.
Supreme Court’s “frequently reiterated standard requires       Plaintiffs have failed to show a likelihood of success on
plaintiffs seeking preliminary relief to demonstrate that      their constitutional claims, and the remaining Winter
irreparable injury is likely in the absence of an              factors all weigh in favor of the County. Even if
injunction.”      Winter, 555 U.S. at 22 (emphasis in          Plaintiffs’ constitutional claims were likely to succeed,
original). The mere possibility of criminal penalties,         Plaintiffs have still failed the Ninth Circuit’s “serious
however remote, is insufficient to imply likely irreparable    question” test because they have not shown “that there is
harm. Id. Accordingly, Plaintiffs have failed to show any      a likelihood of irreparable injury and that the injunction is
likelihood of irreparable harm.                                in the public interest.”      Cottrell, 632 F.3d at 1135.
                                                               Further, the Court must consider that this Order comes in
                                                               response to the ongoing COVID-19 crisis, as discussed
                                                               supra Part IV.a with regard to Jacobson, where the
                                                               County’s “latitude” to address the public health crisis “
                3. Balance of the Equities
                                                               ‘must be especially broad.’ ”              S. Bay United
*7 In considering a TRO, the “the district court must          Pentecostal Church, 140 S. Ct. at 1613 (quoting
balance the harms to both sides ....”        VidAngel, Inc.,       Marshall v. United States, 414 U.S. 417, 427 (1974)).
869 F.3d at 867. Even if Plaintiffs were to be successful      Taking all of these factors into account, the Court
on their constitutional claims, proving likelihood of          concludes Plaintiffs have not met their burden in
success alone does not tip the balance of equities.            justifying the “extraordinary relief” of a TRO.
Gresham v. Picker, 705 Fed. App’x. 554 (9th Cir. 2017).            Johnson v. Couturier, 572 F.3d 1067, 1083 (9th Cir.
As discussed above, Plaintiffs have failed to demonstrate      2009). The application for a TRO is therefore DENIED.
that they will suffer any irreparable harm by enforcement
of the Order. In contrast, the County has made an ample
showing that its efforts to combat COVID-19 could be
inhibited by a TRO. See Dkt. 16 at 2–6. Examining the
evidence presented on this record, the Court finds that the
balance of the equities tips sharply in favor of the County.      V. Conclusion
                                                               The Court DENIES the application for a TRO. The Court
                                                               sets a briefing schedule for a preliminary injunction
                                                               hearing in this lawsuit on the following schedule:

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Plaintiff’s motion is due July 13th, Defendant’s                   All Citations
Opposition brief is due July 23rd, Plaintiff’s Reply brief is
due July 27th, at which time the Court will take the               Slip Copy, 2020 WL 5224348
motion under submission.

                                                           Footnotes


1
       Plaintiff summarily lists other ways Lutz might “go[ ] about her business within the County,” beyond restaurant
       patronage, including “traveling to religious and political organizations, to her doctor, her lawyer, and so forth.” Dkt.
       5 at 13. Although disclosure of associations with political and religious organizations might raise different concerns,
       Plaintiff provides no detail as to how the Order would apply to these organization, nor does she describe how these
       businesses would be compelled to disclose her information to the government. Plaintiff presents no evidence or
       argument of how the disclosure requirement for contract tracing would extend beyond commercial organizations,
       such as bars, restaurants, and other commercial space. Accordingly, the Court cannot grant the TRO on such a
       minimalistic showing. See     California Bankers Ass’n v. Shultz, 416 U.S. 21, 56 (1974) (“in the absence of a concrete
       fact situation in which competing associational and governmental interests can be weighed, [the Court] is simply not
       in a position to determine whether an effort to compel disclosure of such records would or would not be barred”).

2
       The Order does not define “Contact Information” in any precise way. Plaintiff does not raise a vagueness challenge
       here, but the issue may require clarification at the preliminary injunction stage.

3
       Both parties address the language of the County’s Order in its entirety, including sections regarding places of
       worship, office worksites, entertainment productions, and other types of businesses. Plaintiff Sasabune is a sushi
       restaurant. See Dkt. 5-7 at 2. Because only Appendix I of the County’s Order governs restaurants, and there is no
       indication in the record that Plaintiff Sasabune is subject to any of the other referenced portions of the Order, the
       Court’s Fourth Amendment analysis will solely focus on the provisions contained in Appendix I.

4
       Although the City’s Opposition brief directly raises the administrative warrant argument with regard to Plaintiff
       Sasabune, the body of the Opposition only raises this point with regard to Plaintiff Lutz’ First Amendment claims.
       The Court concludes that this was likely an oversight (because Patel is highly relevant to this claim and calls for such
       precompliance review before an administrative search), and incorporates this argument in its analysis.

5
       The Court notes that the County uses the phrases “can seek” and “could seek” in its briefing related to obtaining an
       administrative warrant before seeking contact information from a business owner who declines to provide it
       voluntarily. See Dkt. 16 at 3, 17. While this language is unclear, the Court (accepting the teaching of Jacobson) will
       presume at this juncture that the County will follow that procedure whenever a business declines to voluntarily
       disclose contact information.




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                EXHIBIT D
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Thinh Tran v. Department of Planning for County of Maui, Slip Copy (2020)
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                                                                 Dismiss Complaint for Declaratory and Injunctive Relief
                 2020 WL 3146584                                 with Prejudice, ECF No. 18, ABSTAINS pursuant to
   Only the Westlaw citation is currently available.                Railroad Commissioner v. Pullman, 312 U.S. 496, 61
      United States District Court, D. Hawai‘i.                  S.Ct. 643, 85 L.Ed. 971 (1941), and STAYS this action.

             THINH TRAN, Plaintiff,
                         v.
     DEPARTMENT OF PLANNING FOR the
    COUNTY OF MAUI; County of Maui; Mayor                                            BACKGROUND
  Michael Victorino, successor in interest; Michele
     McLean, in her capacity as Director of the
  Department of Planning; Does 1–20; Jane Does
  1–20; Doe Partnerships 1–20; Doe Corporations
                                                                 I. Factual History
 1–20; Doe Entities 1–20; Doe Governmental Units
                                                                 In early 1990, the County of Maui and the State of
                 1–20, Defendants.
                                                                 Hawai’i approved the development of the Kaanapali
              CIVIL NO. 19-00654 JAO-RT                          Beach Resort, South Mauka, more commonly known as
                           |                                     Kaanapali Golf Estates (“KGE”). Compl. ¶ 24. The
                  Signed 06/12/2020                              subdivision approval included a review of the Declaration
                                                                 of Covenants, Conditions and Restrictions for KGE
                                                                 (“CC&R”), and according to Plaintiff, a determination
Attorneys and Law Firms                                          that the uses of the property were consistent with the
                                                                 Maui County Code (“MCC”). See id. ¶ 26. Section 27 of
Terrance M. Revere, Amanda Dutcher, Revere &                     the CC&R authorizes owners to lease their units for an
Associates, LLLC, Kailua, HI, for Plaintiff.                     initial term of not less than 30 days, unless the board of
                                                                 directors shortens the term. See id. ¶ 27. At the inception
Kristin K. Tarnstrom, Department of the Corporation              of KGE, short-term/transient rentals were for terms of less
Counsel Maui, Wailuku, HI, for Defendants.                       than 30 days under the MCC. See id. ¶ 28. Since then, the
                                                                 CC&R and MCC have permitted KGE owners to rent
                                                                 their units for a minimum of 30 days, up to 12 times per
                                                                 year. See id. ¶ 31.

                                                                 In 2012, the County of Maui (the “County”) adopted
                                                                 Ordinance 3941 to address short-term rental homes. See
                                                                 id. ¶ 54. It provides:
 ORDER (1) GRANTING IN PART AND DENYING
                                                                   “Short-term rental home” means a residential use in
 IN PART DEFENDANTS’ MOTION TO DISMISS
                                                                   which overnight accommodations are provided to
    COMPLAINT FOR DECLARATORY AND
                                                                   guests for compensation, for periods of less than one
  INJUNCTIVE RELIEF AND (2) STAYING THE
                                                                   hundred eighty days, in no more than two detached
                 ACTION
                                                                   single-family dwelling units, excluding bed and
                                                                   breakfast homes[.]
Jill A. Otake, United States District Judge
                                                                   “Transient vacation rentals or use” means occupancy of
*1 In this action, Plaintiff Thinh Tran (“Plaintiff”)              a dwelling or lodging unit by transients for any period
presents multiple challenges to the legality of Maui               of less than one hundred eighty days, excluding bed
County Ordinance No. 3941, which regulates short-term              and breakfast homes and short-term rental homes[.]
rental homes. Defendants Department of Planning for the
County of Maui; the County of Maui; Mayor Michael                Compl. Ex. A, ECF No. 1-1 at 5 (editorial notations
Victorino; and Michele McLean, Director of the                   omitted).
Department of Planning (collectively, “Defendants”) seek
dismissal of this action for failure to state a claim. For the   Plaintiff alleges that the County has identified approved
following reasons, the Court HEREBY GRANTS IN                    properties unaffected by Ordinance 3941—KGE is not
PART AND DENIES IN PART Defendants’ Motion to                    one of them—including condominium projects and

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planned residential developments located in resort              property owners to prove that violations did not occur.
destination areas that are the same nature as KGE, with         See id. ¶¶ 72–73. Plaintiff challenges Ordinance 3941’s
single family homes, project instruments creating vested        failure to recognize the daily rate presentation on hosting
short-term rental rights, with many subject to the same         platforms for rentals exceeding 30 day or even 180
residential zoning (R-3) as KGE. See Compl. ¶¶ 47–49.           days—both of which are legal—and using such
Other planned communities within the Kaanapali Beach            information to cite him and others for illegal advertising
Resort—whether or not they appear on the approved               and impose related fines, which chills free speech. See id.
properties list—have been grandfathered or are not              ¶¶ 74–75. Plaintiff also challenges Ordinance 3941’s
subject to Ordinance 3941, such as the adjacent Masters at      failure to provide a pre-deprivation hearing before the
Kaanapali, and nearby Kaanapali Planation and                   imposition of fines, as well as the lack of any prompt and
International Colony Club. See id. ¶ 50.                        independent post-deprivation review. See id. ¶ 75.

*2 According to Plaintiff, a vocal minority within KGE
sought to enforce the 180-day restriction and urged the
County and Defendant Department of Planning (“DP”)
not to issue short-term rental permits to KGE owners,
misrepresenting that the CC&R do not allow rentals of           II. Procedural History
less than 180 days. See id. ¶ 55. A group of KGE owners         Plaintiff commenced this action on December 6, 2019,
then undertook efforts to amend the CC&R to prohibit (1)        asserting the following claims: (1) declaratory relief
all rentals less than 180 days and (2) owners from              pursuant to      28 U.S.C. § 2201 (Count I); (2) due
obtaining permits under Ordinance 3941. See id. ¶ 58.           process violations of the Fifth Amendment and Hawai’i
                                                                Constitution, Article I, § 5 (Counts II and III); (3)
In 2013, KGE’s developer relinquished control over              excessive fines in violation of the Eighth Amendment and
Kaanapali Golf Estates Community Association, Inc.              the Hawai’i Constitution, Article I, § 12 (Counts IV and
(“KGECA”) to the homeowners. See id. ¶ 59. Using a              V); (4) free speech violations under the First Amendment
purportedly illegal voting member process, a small group        and      Hawai’i Constitution, Article I, § 4 (Counts VI
of KGE owners that opposed transient vacation rentals
assumed control of KGECA and began enforcing a                  and VII); (5) violation of        Hawai’i Revised Statutes
minimum 180-day rental period. See id. ¶ 60. Employing          (“HRS”) § 46-4 (Count VIII); and (6) violation of the
the same illegal voting process—voting 66% of owners’           Hawai’i Administrative Procedures Act (Count IX).
votes without receiving a signed proxy from the                 Compl. at 28–40. Plaintiff prays for declaratory,
owners—the owners group adopted a 2014 Rental                   equitable, and injunctive relief, along with attorneys’ fees
Amendment, which changed the minimum rental period              and costs. Id. at 40–41. Plaintiff invokes jurisdiction
from 30 to 180 days.1 See id. ¶ 61. Plaintiff claims that       pursuant to     42 U.S.C. §§ 1331,        1332, 1343, and
this owners group now insists that the MCC has never            1367. Id. ¶¶ 18–20.
authorized rentals for periods of 30 days or more in resort
communities and interferes with any owner seeking a
permit for short-term transient rentals. See id. ¶ 62.

Plaintiff represents that he purchased property within                            LEGAL STANDARD
KGE in reliance on the CC&R and zoning, and structured
financing with the intention to lease his unit for periods of   *3     Federal Rule of Civil Procedure (“FRCP”) 12(b)(6)
30 days or more. See id. ¶ 66. He believes that DP, acting      authorizes dismissal of a complaint that fails “to state a
independently or at the direction of Director Michele           claim upon which relief can be granted.”     Fed. R. Civ.
McLean or at the request of the owners group, may
                                                                P. 12(b)(6). On a       Rule 12(b)(6) motion to dismiss,
enforce Ordinance 3941 against him for renting his units
                                                                “the court accepts the facts alleged in the complaint as
for less than 180-day periods and fine him up to $10,000        true,” and “[d]ismissal can be based on the lack of a
per day. See id. ¶ 69.
                                                                cognizable legal theory or the absence of sufficient facts
                                                                alleged.” UMG Recordings, Inc. v. Shelter Capital
Plaintiff alleges that DP has issued violation notices to
                                                                Partners LLC, 718 F.3d 1006, 1014 (9th Cir. 2013)
him and others, imposing excessive fines based on
internet searches that produced links to potential vacation     (quoting     Balistreri v. Pacifica Police Dep’t, 901 F.2d
rental advertisements, which Ordinance 3941 treats as           696, 699 (9th Cir. 1988)) (alteration in original).
prima facie evidence of an unlawful short-term rental           However, conclusory allegations of law, unwarranted
home, thereby impermissibly placing the burden on               deductions of fact, and unreasonable inferences are
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insufficient to defeat a motion to dismiss. See
   Sprewell v. Golden State Warriors, 266 F.3d 979, 988
(9th Cir. 2001);    Nat’l Ass’n for the Advancement of            I. Judicial Notice
Psychoanalysis v. Cal. Bd. of Psychology, 228 F.3d 1043,          As a preliminary matter, the Court addresses Defendants’
1049 (9th Cir. 2000) (citation omitted). Furthermore, the         request to take judicial notice of documents they attached
court need not accept as true allegations that contradict         to their Motion and to strike Plaintiff’s arguments
matters properly subject to judicial notice. See                  regarding and reliance on the exhibits attached to the
   Sprewell, 266 F.3d at 988.                                     Opposition, which are not readily subject to judicial
                                                                  notice. Pursuant to Federal Rule of Evidence (“FRE”)
“To survive a motion to dismiss, a complaint must contain         201, courts can take judicial notice of facts not subject to
sufficient factual matter, accepted as true, to ‘state a claim    reasonable dispute because they are generally known or
                                                                  “can be accurately and readily determined from sources
to relief that is plausible on its face.’ ”       Ashcroft v.
                                                                  whose accuracy cannot reasonably be questioned.” Fed.
Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d
                                                                  R. Evid. 201(b)(2). Under         Rule 12(b)(6), review is
868 (2009) (quoting        Bell Atl. Corp. v. Twombly, 550
                                                                  ordinarily limited to the contents of the complaint. See
U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)).
Facial plausibility exists “when the plaintiff pleads factual         Marder v. Lopez, 450 F.3d 445, 448 (9th Cir. 2006);
content that allows the court to draw the reasonable                  Sprewell, 266 F.3d at 988. A      Rule 12(b)(6) motion
inference that the defendant is liable for the misconduct         is treated as a motion for summary judgment if matters
alleged.”      Id. (citing     Twombly, 550 U.S. at 556,          outside the pleadings are considered. See Anderson v.
127 S.Ct. 1955). The tenet that the court must accept as          Angelone, 86 F.3d 932, 934 (9th Cir. 1996). However,
true all of the allegations contained in the complaint does       courts may “consider certain materials—documents
                                                                  attached to the complaint, documents incorporated by
not apply to legal conclusions. See            id. As such,
                                                                  reference in the complaint, or matters of judicial
“[t]hreadbare recitals of the elements of a cause of action,
                                                                  notice—without converting the motion to dismiss into a
supported by mere conclusory statements, do not suffice.”
                                                                  motion for summary judgment.”             United States v.
    Id. (citing     Twombly, 550 U.S. at 555, 127 S.Ct.
                                                                  Ritchie, 342 F.3d 903, 908 (9th Cir. 2003). In addition,
1955). “[W]here the well-pleaded facts do not permit the
                                                                  courts may consider evidence necessarily relied upon by
court to infer more than the mere possibility of
                                                                  the complaint if “(1) the complaint refers to the
misconduct, the complaint has alleged—but it has not
                                                                  document; (2) the document is central to the plaintiff’s
‘show[n]’—‘that the pleader is entitled to relief.’ ”       Id.   claim; and (3) no party questions the authenticity of the
at 679, 129 S.Ct. 1937 (citing Fed. R. Civ. P. 8(a)(2))
                                                                  copy attached to the 12(b)(6) motion.”         Marder, 450
(some alterations in original). If dismissal is ordered, the
                                                                  F.3d at 448 (citations omitted).
plaintiff should be granted leave to amend unless it is
clear that the claims could not be saved by amendment.
                                                                  *4 The Court finds that taking judicial notice of the
See      Swartz v. KPMG LLP, 476 F.3d 756, 760 (9th Cir.          exhibits attached to the Motion is appropriate because
2007) (citation omitted).                                         they are publicly available ordinances and rules, most of
                                                                  which are available online, and can be readily determined
                                                                  from accurate sources. Moreover, Plaintiff himself
                                                                  challenges Ordinance 3941 and references multiple of the
                                                                  other ordinances in his Complaint. The Court therefore
                       DISCUSSION
                                                                  takes judicial notice of the documents without converting
Defendants argue that Plaintiff fails to state a claim upon       the Motion into a motion for summary judgment.
which relief can be granted because all claims are
premised on the flawed theory that he has been and                However, Plaintiff has not requested judicial notice of the
continues to be entitled to use his properties for                exhibits attached to his Opposition and the Court declines
short-term rentals within KGE. Defendants also challenge          to take judicial notice of the same. Nor has Plaintiff
Plaintiffs’ reliance on multiple exhibits that are not            attempted to authenticate the exhibits or explain how they
properly before the Court. Plaintiff responds that the            qualify for judicial notice. Instead, he introduced the
County essentially approved the CC&R, thereby creating            exhibits through another KGE owner. Defendants contend
vested rights for KGE owners.                                     that the owner is not a custodian of records and cannot
                                                                  properly authenticate the exhibits. Given Plaintiff’s
                                                                  failures and Defendants’ objection, the Court declines to

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consider the exhibits.2
                                                                 A plaintiff exclusively seeking declaratory and injunctive
                                                                 relief must additionally “show a very significant
                                                                 possibility of future harm.”          San Diego Cty. Gun
                                                                 Rights Comm. v. Reno, 98 F.3d 1121, 1126 (9th Cir.
II. Standing                                                     1996) (citation omitted). A plaintiff facially challenging a
                                                                 statute in a declaratory judgment action must also
Defendants did not initially challenge Plaintiff’s standing.
                                                                 “demonstrate that he ‘has sustained or is imminently in
Because “standing is an essential and unchanging part of
                                                                 danger of sustaining a direct injury’ as the result of the
the case-or-controversy requirement of Article III,”
                                                                 statute.”    Carson Harbor, 37 F.3d at 475–76 (citation
    Lujan v. Defenders of Wildlife, 504 U.S. 555, 560, 112
                                                                 omitted).
S.Ct. 2130, 119 L.Ed.2d 351 (1992) (citation omitted), it
is well established that “whether or not the parties raise
the issue, ‘[f]ederal courts are required sua sponte to
examine jurisdictional issues such as standing.’ ”
    D’Lil v. Best W. Encina Lodge & Suites, 538 F.3d
1031, 1035 (9th Cir. 2008) (alteration in original)                 A. Injury in Fact
(citations and some internal quotation marks omitted). In        *5 “To establish injury in fact, a plaintiff must show that
response to the Court’s inquiry about standing,                  he or she suffered ‘an invasion of a legally protected
Defendants argue that Plaintiff has not pled an injury in        interest’ that is ‘concrete and particularized’ and ‘actual
fact and without one, there can be no causal connection to       or imminent, not conjectural or hypothetical.’ ”
their conduct, nor a likelihood of redressability.                   Spokeo, ––– U.S. ––––, 136 S. Ct. at 1548, 194
Article III of the Constitution limits federal courts’           L.Ed.2d 635 (quoting          Lujan, 504 U.S. at 560, 112
jurisdiction to certain “Cases” and “Controversies.”             S.Ct. 2130); see       Maya v. Centex Corp., 658 F.3d
    Clapper v. Amnesty Int’l USA, 568 U.S. 398, 408, 133         1060, 1069 (9th Cir. 2011). Allegations of possible future
S.Ct. 1138, 185 L.Ed.2d 264 (2013). A plaintiff must             injury are insufficient; the “threatened injury must be
demonstrate three elements to establish that he or she has       certainly impending to constitute injury in fact.”
“standing” to sue in federal court: (1) “injury in fact” that       Clapper, 568 U.S. at 409, 133 S.Ct. 1138 (citations
is “concrete and particularized” and “actual and                 omitted). A plaintiff may comply with the injury-in-fact
imminent”; (2) the injury must be fairly traceable to the        requirement by alleging a future injury, but only if he or
defendant’s conduct; and (3) the injury can be redressed         she “is immediately in danger of sustaining some direct
through adjudication.       Lujan, 504 U.S. at 560–61, 112       injury as the result of the challenged ... conduct and the
                                                                 injury or threat of injury is both real and immediate, not
S.Ct. 2130; see      Spokeo, Inc. v. Robins, ––– U.S. ––––,
136 S. Ct. 1540, 1547, 194 L.Ed.2d 635 (2016). As the            conjectural or hypothetical.”        Krottner v. Starbucks
party invoking federal jurisdiction, the plaintiff must          Corp., 628 F.3d 1139, 1142 (9th Cir. 2010) (alteration in
                                                                 original) (citation omitted).
establish these elements. See        Spokeo, ––– U.S. ––––,
136 S. Ct. at 1547, 194 L.Ed.2d 635 (citing         FW/PBS,      Here, Plaintiff asserts contradictory allegations—on the
Inc. v. Dallas, 493 U.S. 215, 231, 110 S.Ct. 596, 107            one hand (in the background section of his Complaint)
L.Ed.2d 603 (1990)). At the pleading stage of a case, “the       stating that DP has issued violation notices to him and
plaintiff must ‘clearly ... allege facts demonstrating’ each     others, imposing excessive fines based on internet
element.”      Id. (quoting      Warth v. Seldin, 422 U.S.       searches that produced links to potential vacation rental
490, 518, 95 S.Ct. 2197, 45 L.Ed.2d 343, (1975))                 advertisements, Compl. ¶¶ 72–73, but on the other hand
(footnote omitted). To determine standing for a plaintiff        (in Counts IV and V) requesting declaratory and
asserting facial claims, courts “ ‘accept as true all material   injunctive relief before fines can be imposed. Id. ¶¶ 110,
allegations in the complaint’ and ‘construe the complaint        116. And with respect to his free speech claims (Counts
                                                                 VI and VII), Plaintiff claims to have
in favor of the complaining party.’ ”        Carson Harbor
Vill. Ltd. v. City of Carson, 37 F.3d 468, 476 (9th Cir.
1994) (quoting       Pennell v. San Jose, 485 U.S. 1, 7, 108
S.Ct. 849, 99 L.Ed.2d 1 (1988)), overruled on other                          a    reasonable      belief    and
                                                                             apprehension that the Director will
grounds by       WMX Techs., Inc. v. Miller, 104 F.3d 1133
                                                                             deem illegal what is actually legal
(9th Cir. 1997) (en banc).
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             rental activity and advertising of                 omitted). In other words, “the causal connection put
             units ... subjecting [him] to fines of             forward for standing purposes cannot be too speculative,
             $10,000 per day, create uncertainty                or rely on conjecture about the behavior of other parties,
             and a chilling impact on the free                  but need not be so airtight at this stage of the litigation as
             speech of Plaintiff, and others                    to demonstrate that the plaintiffs would succeed on the
             similarly situated, and the Court                  merits.”     Id. (citation omitted); see    Canyon County.
             should issue declaratory and                       v. Syngenta Seeds, Inc., 519 F.3d 969, 975 n.7 (9th Cir.
             injunctive relief against [Ordinance               2008) (identifying “less rigorous” causation threshold at
             3941’s] enforcement.                               the dismissal stage of the proceedings). When a “chain of
                                                                causation ‘involves numerous third parties’ whose
                                                                ‘independent decisions’ collectively have a ‘significant
Id. ¶ 121 (emphases added). Plaintiff also accuses              effect’ on plaintiffs’ injuries, the Supreme Court and [the
Defendants of applying Ordinance 3941 while                     Ninth Circuit] have found the causal chain too weak to
simultaneously alleging that Defendants may enforce             support standing at the pleading stage.”          Maya, 658
Ordinance 3941 against him. Compare id. ¶¶ 63, 67, with         F.3d at 1070 (citations omitted).
id. ¶ 69. Although these allegations are contradictory and
demonstrate that Plaintiff has yet to suffer an actual          *6 Plaintiff is also required to demonstrate that “it is
injury, accepting his allegations as true and construing the    likely, as opposed to merely speculative, that the injury
Complaint in his favor, he nevertheless asserts injuries        will be redressed by a favorable decision.”    Friends of
that are sufficiently imminent.                                 the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528
                                                                U.S. 167, 181, 120 S.Ct. 693, 145 L.Ed.2d 610 (2000);
Not only is Plaintiff subject to Ordinance 3941 as a
property owner of KGE, which Defendants do not                  see     Mayfield v. United States, 599 F.3d 964, 971 (9th
dispute, if he rents the unit for a minimum of 30 days and      Cir. 2010).
advertises such a rental—which he argues he is entitled to
do pursuant to the CC&R—he will violate the Ordinance           As already discussed, the threat of Plaintiff’s alleged
and risk the imposition of penalties. If Plaintiff continues    injuries is sufficiently imminent. Because the injuries are
to rent his property for a minimum of 30 days, in               fairly     traceable      to    Defendants’     challenged
contravention of Ordinance 3941, it is not “unadorned           conduct—promulgation and enforcement of Ordinance
speculation” to expect that the Ordinance will be enforced      3941—and the injuries would be redressed by a
                                                                determination that the Ordinance is unconstitutional,
against him.      Pennell, 485 U.S. at 8, 108 S.Ct. 849         Plaintiff has satisfied the elements necessary to establish
(citation omitted). These circumstances constitute a
sufficient threat of actual injury “to satisfy Art. III’s       standing. See      Columbia Basin Apartment Ass’n v. City
requirement that ‘[a] plaintiff who challenges a statute        of Pasco, 268 F.3d 791, 798 (9th Cir. 2001).
must demonstrate a realistic danger of sustaining a direct
injury as a result of the statute’s operation or
enforcement.’ ”        Id. (alteration in original) (citation
and footnote omitted) (finding a sufficient threat of actual
injury where there was a “likelihood of enforcement, with       III. Abstention
the concomitant probability that a landlord’s rent will be      The Court raised, sua sponte, the issue of whether it
reduced below what he or she would otherwise be able to         should abstain from exercising jurisdiction pursuant to
obtain in the absence of the Ordinance”).                           Pullman or      Burford v. Sun Oil Co., 319 U.S. 315,
                                                                63 S.Ct. 1098, 87 L.Ed. 1424 (1943). Federal courts may
                                                                consider both      Pullman and     Burford abstention sua
                                                                sponte. See     Columbia Basin, 268 F.3d at 802 (stating
                                                                that it “may sua sponte consider    Pullman abstention at
   B. Fairly Traceable/Redressability
The causation inquiry focuses on “whether the alleged           any time” (citation omitted));      Int’l Coll. of Surgeons
injury can be traced to the defendant’s challenged              v. City of Chicago, 153 F.3d 356, 360 (7th Cir. 1998) (“It
conduct, rather than to that of some other actor not before     is well established that this court may raise the doctrines
the court.”     Ecological Rights Found. v. Pac. Lumber         of     Burford and      Pullman abstention sua sponte and
Co., 230 F.3d 1141, 1152 (9th Cir. 2000) (citations             that the failure of the parties to raise those doctrines at
                                                                any point in the proceedings is no impediment to our
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consideration of the applicability of those doctrines.”                     determinative issue of state law is
(footnote and citations omitted));         Forde v. First                   uncertain.
Horizon Home Loan Corp., No. CIV 10-01922 PHX
MEA, 2010 WL 5758614, at *2 (D. Ariz. Dec. 6, 2010)
(“The propriety of Burford abstention may be raised sua
                                                              *7     Courthouse News Serv. v. Planet, 750 F.3d 776,
sponte.” (citations omitted)); cf.    Adams v. W. Marine
Prods., Inc., 958 F.3d 1216, 1223 (9th Cir. 2020) (“We        783–84 (9th Cir. 2014) (citation omitted); see    Smelt,
may raise abstention sua sponte.” (citations omitted)).       447 F.3d 673, 679 (citation omitted).3 The Court lacks
                                                              discretion to abstain when the foregoing requirements are
Conflating ripeness and jurisdiction with abstention,         not met. See Courtney v. Goltz, 736 F.3d 1152, 1163 (9th
Plaintiff argues that abstention is not warranted because     Cir. 2013) (citation omitted). The Court finds that the
he is entitled to bring his claims pursuant to federal        foregoing requirements are satisfied here.
question and diversity jurisdiction. ECF No. 38 at 3–4.
Defendants argue that both abstention doctrines apply,        Plaintiff asserts that   Pullman abstention is improper
though they believe         Burford abstention is most        because his claims are federal claims and        Knick v.
appropriate.                                                  Township of Scott, –––, U.S. ––––, ––– U.S. ––––, 139 S.
                                                              Ct. 2162, 204 L.Ed.2d 558 (2019), significantly impacts
                                                              the abstention analysis. ECF No. 38 at 4. But Plaintiff’s
                                                              counsel conceded at the hearing that       Knick did not
                                                              abrogate the abstention doctrines or affect the applicable
                                                                 Pullman abstention factors.
   A.      Pullman Abstention
The        Pullman abstention doctrine, which the Court       In his Response to the Court’s abstention inquiry, Plaintiff
finds applicable under the facts of this case, authorizes     disregards the fact that five of his nine4 claims are state
district courts to postpone “the exercise of federal
                                                              law claims and he misinterprets the holding of       Knick,
jurisdiction when ‘a federal constitutional issue ... might
                                                              which concerned ripeness, i.e., when a plaintiff can bring
be mooted or presented in a different posture by a state
                                                              a takings claim under § 1983 in federal court. Plaintiff has
court determination of pertinent state law.’ ”   C-Y Dev.     not pointed to any cases—and the Court has not found
Co. v. City of Redlands, 703 F.2d 375, 377 (9th Cir. 1983)
                                                              any—adopting his interpretation of      Knick. That a case
(quoting       County of Allegheny v. Frank Mashuda Co.,      is properly before a federal court does not deprive the
360 U.S. 185, 189, 79 S.Ct. 1060, 3 L.Ed.2d 1163              court from abstaining in appropriate circumstances.
(1959)). “And it is not even necessary that the state
                                                                  Knick has not affected the Court’s ability to apply
adjudication ‘obviate the need to decide all the federal
constitutional questions’ as long as it will ‘reduce the          Pullman here.
contours’ of the litigation.”        Smelt v. County of
Orange, 447 F.3d 673, 679 (9th Cir. 2006) (quoting
    id. at 380).
                                                                            1. Sensitive Area of Social Policy
   Pullman abstention is appropriate where:
                                                              To begin, the Court acknowledges that civil rights claims
                                                              are at issue. Because “[t]he Civil Rights Act protects
                                                              property rights no less than individual liberties,”
            (1) the case touches on a sensitive               “[f]ederal courts should be reluctant to abstain in civil
            area of social policy upon which                  rights cases regardless of the type of constitutional
            the federal courts ought not enter                interest at stake; abstention can delay the redress of
            unless no alternative to its                      significant constitutional wrongs.”      Pearl Inv. Co. v.
            adjudication     is    open,    (2)               City & County of San Francisco, 774 F.2d 1460, 1463
            constitutional adjudication plainly               (9th Cir. 1985) (citations omitted). However, while the
            can be avoided if a definite ruling               practical effect of abstention in such cases might “impose
            on the state issue would terminate
                                                              an exhaustion requirement not appropriate to            42
            the controversy, and (3) the proper
                                                              U.S.C. § 1983,” abstention may nevertheless “be proper
            resolution    of    the    possible
                                                              in a civil rights case to avoid unnecessary interference
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with an important state program.”              Id. (citations   F.3d 676, 685 (9th Cir. 2019) (“ HomeAway III”)
omitted). Indeed, “there is no per se civil rights exception    (citation omitted). Courts may consider both the
to the abstention doctrine.”    C-Y Dev. Co., 703 F.2d at       “inevitable effect of a statute on its face,” as well as a
381 (citation omitted).                                         statute’s “stated purpose” but “may not conduct an
                                                                inquiry into legislative purpose or motive beyond what is
                                                                stated within the statute itself,” absent limited
                                                                circumstances.      Id. (citations omitted).

                a. First Amendment Claim                        This case does not implicate the First Amendment
                                                                because advertising unlawful vacation rentals is
The United States Supreme Court has been reluctant to           nonexpressive conduct. Ordinance 3941 regulates
abstain in cases involving voting rights, racial equality,      short-term rentals and with respect to advertising,
and First Amendment rights of expression, but not land          provides:
use matters asserted under       § 1983. See      C-Y Dev.
Co., 703 F.2d at 381. One of Plaintiff’s challenges to            B. Advertising that offers a property as a short-term
Ordinance 3941 is that it violates his First Amendment            rental home shall constitute prima facie evidence of the
right to free speech. Generally,     Pullman abstention is        operation of a short-term rental home on the property
“inappropriate when First Amendment rights are at stake”          and the burden of proof shall be on the owner, operator,
“because the guarantee of free expression is always an            or lessee of record to establish that the subject property
                                                                  is being used as a legal short-term rental home or is not
area of particular federal concern.”     Courthouse News,         in operation as a short-term rental home.
750 F.3d at 784 (citations omitted). But Plaintiff’s First
Amendment claim is not central to this litigation; it is          C. Any communication by a property owner, operator,
merely one facet of his broader challenge to Ordinance            or lessee to any person where the owner, operator, or
3941. Even Plaintiff has characterized this case as a             lessee offers their home for rent as a short-term rental
takings action, both at the hearing and in his supplemental       home on the property shall constitute prima facie
briefing. ECF No. 38 at 1 (“In his Complaint, Plaintiff           evidence of the operation of a short-term rental home
alleges that the application of Ordinance No. 3941 (2014)         on the property and the burden of proof shall be on the
to his property is effectively taking of the real property        owner, operator, or lessee to establish that the subject
interests that were granted by the county of Maui and             property is being used as a legal short-term rental home
conveyed to him in recorded covenants.”).                         or is not in operation as a short-term rental home.

*8 In any event, Plaintiff’s First Amendment claim is not         D. Advertising for a short-term rental home without a
viable. Plaintiff alleges that Ordinance 3941 penalizes           valid permit number is prohibited and constitutes a
speech “by imposing restrictions on the content of                violation of this title and may result in enforcement
advertisements concerning the rental of real property on          action pursuant to section 19.530.030 of this title;
Maui.” Compl. ¶ 119. However, Ordinance 3941                      provided that:
regulates commercial conduct, not speech. “[R]estrictions
on protected expression are distinct from restrictions on              1. The alleged violator and the property owner
economic activity or, more generally, on nonexpressive                 shall be notified that all advertising without a valid
conduct. [And] the First Amendment does not prevent                    permit number shall be terminated within seven
restrictions directed at commerce or conduct from                      days of the notice.
imposing incidental burdens on speech.”          Sorrell v.
                                                                       2. Enforcement action, including fines, may
IMS Health Inc., 564 U.S. 552, 567, 131 S.Ct. 2653, 180
                                                                       commence pursuant to section 19.530.030 of this
L.Ed.2d 544 (2011); see       Int’l Franchise Ass’n, Inc. v.           title if advertising without a valid permit number
City of Seattle, 803 F.3d 389, 408 (9th Cir. 2015).                    continues after such warning.
The threshold question in determining if the First              MCC § 19.65.080. By their plain terms, the provisions at
Amendment applies is “whether conduct with a                    issue regulate conduct lacking a “significant expressive
‘significant expressive element’ drew the legal remedy or       element”—the advertisement of short-term rentals that are
the ordinance has the inevitable effect of ‘singling out        not validly permitted. See, e.g.,   HomeAway III, 918
those     engaged      in    expressive     activity.’  ”       F.3d at 685 (holding that “the Ordinance is plainly a
    HomeAway.com, Inc. v. City of Santa Monica, 918             housing and rental regulation. The “ ‘inevitable effect of

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the [Ordinance] on its face’ is to regulate nonexpressive       Franchise Ass’n, 803 F.3d at 408 (“[S]ubjecting every
conduct—namely, booking transactions—not speech”                incidental impact on speech to First Amendment scrutiny
(alteration in original) (citation omitted));    Rentberry,     ‘would lead to the absurd result that any government
Inc. v. City of Seattle, 374 F. Supp. 3d 1056, 1063 (W.D.       action that had some conceivable speech-inhibiting
Wash. 2019) (finding a rental transaction to “lack a            consequences, such as the arrest of a newscaster for a
significant expressive element”); Homeaway.com, Inc. v.         traffic violation, would require analysis under the First
City of Santa Monica, Case Nos. 2:16-cv-06641-ODW               Amendment[.]’ ” (quoting           Arcara v. Cloud Books,
AFM, 2018 WL 1281772, at *6 C.D. Cal. Mar. 9, 2018              Inc., 478 U.S. 697, 708, 106 S.Ct. 3172, 92 L.Ed.2d 568
(“ HomeAway I”) (finding “that the conduct banned by            (1986) (O’Connor, J., concurring)));         HomeAway III,
the Ordinance—booking transactions for residential              918 F.3d at 686 (quoting       id.). “[T]o the extent that the
properties not listed on the City’s registry—does not have      speech chilled advertises unlawful rentals, ‘[a]ny First
such a ‘significant expressive element’ as to draw First        Amendment interest ... is altogether absent when the
Amendment protection”);           Airbnb, Inc. v. City &        commercial activity itself is illegal and the restriction on
County of San Francisco, 217 F. Supp. 3d 1066, 1076             advertising is incidental to a valid limitation on economic
(N.D. Cal. 2016) (finding that an ordinance restricting the     activity.’ ”     HomeAway III, 918 F.3d at 686 (second
booking of rentals for unregistered units—directed at
commerce or conduct—was “not conduct with a                     and third alterations in original) (quoting        Pittsburgh
significant expressive element” (citation omitted));            Press Co. v. Pittsburgh Comm’n on Human Relations,
                                                                413 U.S. 376, 389, 93 S.Ct. 2553, 37 L.Ed.2d 669
    Int’l Franchise Ass’n, 803 F.3d at 408 (concluding that     (1973)).
“[t]he conduct at issue—the decision of a franchisor and a
franchisee to form a business relationship and their            For these reasons, Plaintiff’s First Amendment claim
resulting business activities—‘exhibits nothing that even       (Count VI) is DISMISSED. See Homeaway.com, Inc. v.
the most vivid imagination might deem uniquely                  City of Santa Monica, Case Nos. 2:16-cv-06641-ODW
expressive’ ” (citation omitted)). Indeed, Ordinance 3941       AFM, 2018 WL 3013245, at *6–7 C.D. Cal. June 14,
does not prohibit advertising altogether; it proscribes
advertising for unlawful short-term rentals and establishes     2018 (“ HomeAway II”), aff’d,           HomeAway III, 918
that advertisements and/or communications offering a            F.3d 676 (dismissing with prejudice the plaintiffs’ First
property as a short-term rental constitute prima facie          Amendment claims because “the First Amendment does
evidence of the operation of a short-term rental home.          not protect speech proposing an illegal transaction” and
                                                                cannot be used as a shield “to communicate offers to rent
*9 The purpose of Ordinance 3941 “is to establish a             illegal units” (citations omitted)). Because no amendment
permitting process for short-term rental homes, subject to      could cure the claim’s defects, the Court declines to
appropriate restrictions and standards.” MCC § 19.65.010.       authorize leave to amend.
The intent is “to implement land use policies consistent
with the County’s general plan and the State’s land use
laws; to retain the character of residential neighborhoods;
to provide varied accommodations and experiences for                 b. Land Use Is a Sensitive Area of Social Policy
visitors; and to allow small businesses to benefit from
tourism.”      Id. Therefore, its implementation was “not       The dismissal of Plaintiff’s First Amendment claim
motivated by a desire to suppress speech” and does not          eliminates concerns about the propriety of           Pullman
have “the effect of targeting expressive activity.”    Int’l    abstention. Turning now to the crux of this
Franchise Ass’n, 803 F.3d at 409. Instead, the only             action—whether Ordinance 3941 and/or its enforcement
inevitable effect of Ordinance 3941 is to prohibit              against Plaintiff results in an unconstitutional taking of his
advertisements of unlawful short-term rental homes.             property—the Ninth Circuit has long “held that land-use
                                                                planning questions ‘touch a sensitive area of social
Ordinance 3941 also does not have the effect of “singling       policy’ into which the federal courts should not lightly
out those engaged in expressive activity.” It regulates         intrude.”     Columbia Basin, 268 F.3d at 802 (citations
advertisements and communications about unlawful
                                                                omitted); see also        San Remo Hotel v. City &
short-term rentals and imposes the burden of proving the
                                                                County of San Francisco, 145 F.3d 1095, 1105 (9th Cir.
legality of short-term rentals. That an incidental impact on
speech might result does not subject Ordinance 3941 to          1998);        Sinclair Oil Corp. v. County of Santa
scrutiny under the First Amendment. See                 Int’l   Barbara, 96 F.3d 401, 409 (9th Cir. 1996);   Pearl Inv.
                                                                Co., 774 F.2d at 1463–64; Bank of Am. Nat’l Tr. & Sav.
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Ass’n v. Summerland Cty. Water Dist., 767 F.2d 544, 546              3. Uncertainty of Determinative State Law Issues
(9th Cir. 1985);  Kollsman v. City of Los Angeles, 737
F.2d 830, 833 (9th Cir. 1984);              Santa Fe Land        The third     Pullman factor can be satisfied in land use
Improvement Co. v. City of Chula Vista, 596 F.2d 838,            cases with “only a minimal showing of uncertainty”
                                                                 because “land use claims are local in nature and involve
839–40 (9th Cir. 1979);       Sederquist v. City of Tiburon,     the interpretation of various state and local land use
590 F.2d 278, 281 (9th Cir. 1978);            Rancho Palos       laws[.]” Patel v. City of Los Angeles, 455 F. App’x 743,
Verdes Corp. v. City of Laguna Beach, 547 F.2d 1092,             744–45 (9th Cir. 2011) (citing          Sinclair Oil, 96 F.3d
1094–95 (9th Cir. 1976). Moreover, the short-term rental
issue has been and continues to be a hot-button topic and        at 409–10;      Pearl Inv. Co., 774 F.2d 1460, 1465 (9th
a sensitive issue of social policy throughout the State. Cf.     Cir. 1985)). “Uncertainty for purposes of            Pullman
Kendrick v. Planning Dep’t, Civ. No. 19-00024 HG-KJM,            abstention means that a federal court cannot predict with
2020 WL 736245, at *7 (D. Haw. Feb. 13, 2020)                    any confidence how the state’s highest court would decide
(invoking        Burford abstention and finding that             an issue of state law.”      Pearl Inv. Co., 774 F.2d at
“[p]olicies governing residential vacation rentals are           1465 (citation omitted). Resolution of state law issues
subject of significant local interest and important public       “might be uncertain because the particular statute is
policy”). Accordingly, the first factor is met.                  ambiguous, or because the precedents conflict, or because
                                                                 the question is novel and of sufficient importance that it
                                                                 ought to be addressed first by a state court.”    Id.

   2. Avoidance of Federal Constitutional Adjudication           Plaintiff interprets      Pullman abstention to literally
                                                                 require the implication of state (versus municipal) law.
*10 The second factor requires “[a] state law question that      ECF No. 38 at 5 (“The State of Hawaii does not regulate
has the potential of at least altering the nature of the         short term rentals of less than 180 days. Each County has
                                                                 its own zoning ordinances, Oahu regulates rental of less
federal constitutional questions.”     C-Y Dev. Co., 703
                                                                 than 30 days. The Maui County zoning Ordinance No.
F.2d at 378. “For      Pullman purposes ... it is sufficient     3941 ... is not state law. The State of Hawaii does not
if the state law issues might ‘narrow’ the federal               have any interest[6] in having its Courts decide the
constitutional questions.”       Sinclair Oil, 96 F.3d at        application of a County ordinance being applied in
409 (citation omitted). The Ninth Circuit has consistently       violation of the US [sic] Constitution.”). But the
found this requirement satisfied in land use cases “where        governing case law cited herein demonstrates that “state
a favorable decision on a state law claim would provide          law” considerations encompass municipal ordinances and
plaintiff with some or all of the relief he seeks.”      VH      rules.7 Moreover, Plaintiff invokes state law (Counts III,
Prop. Corp. v. City of Rancho Palos Verdes, 622 F. Supp.         V, and VII to IX) in challenging Ordinance 3941. Central
2d 958, 963 (C.D. Cal. 2009).                                    to this challenge is that Ordinance 3941’s
                                                                 “grandfathering” provision violates Hawaii’s Zoning
The resolution of the state/municipal issues here can            Enabling Act,      HRS § 46-4. Compl. ¶¶ 126–130.
avoid or narrow the adjudication of the federal
constitutional issues.5 Indeed, Plaintiff has admitted that if   *11 Here, the Court cannot predict with any confidence
his property rights are grandfathered and/or KGE is not          how Hawaii’s courts would decide Plaintiff’s state law
subject to Ordinance 3941, his constitutional claims             challenges to Ordinance 3941. See, e.g.,       Richardson v.
would no longer be at issue and this case would end. See         Koshiba, 693 F.2d 911, 917 (9th Cir. 1982) (finding “no
ECF No. 34 at 2. As earlier discussed, Plaintiff                 substantial indication of how Hawaii’s courts would treat
mischaracterizes all of his claims as federal in order to        [the plaintiff’s] state law claims”). Indeed, the applicable
avoid the application of      Pullman abstention. ECF No.        land use regulatory scheme is complicated, and the state
38 at 4. But even if Plaintiff’s characterizations were          law issues are novel and sufficiently important such that
accurate, the federal claims turn on underlying questions        they should be addressed by the state courts first. For
of state law, the resolution of which could obviate the          these reasons, the Court finds that the third requirement is
need for a determination of federal constitutional               met.
questions. See      Sederquist, 590 F.2d at 282 (citation
omitted). The second requirement is therefore satisfied.         Because the three requirements are satisfied, the Court
                                                                 finds it appropriate to abstain under     Pullman.8 “A

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district court abstaining under      Pullman must dismiss           advanced in the present Motion.
the state law claim and stay its proceedings on the
constitutional question until a state court has resolved the
state issue.” Cedar Shake & Shingle Bureau v. City of Los
Angeles, 997 F.2d 620, 622 (9th Cir. 1993); see Courtney,
                                                                                         CONCLUSION
736 F.3d at 1164 (holding that “the district court should
have retained jurisdiction over the case pending resolution         In accordance with the foregoing, Defendants’ Motion is
of the state law issues, rather than dismissing the case            GRANTED IN PART AND DENIED IN PART.
without prejudice”);      Fireman’s Fund Ins. Co. v. City           Plaintiff’s state law claims (Counts III, V, and VII to IX)
of Lodi, 302 F.3d 928, 940 (9th Cir. 2002) (“If a court             are DISMISSED for resolution in state court. Plaintiff’s
invokes      Pullman abstention, it should stay the federal         First Amendment claim (Count VI) is DISMISSED. The
constitutional question ‘until the matter has been sent to          balance of the Motion is DENIED. This case—comprised
state court for a determination of the uncertain state law          of the remaining federal claims (Counts I, II, and IV)—is
                                                                    STAYED until the state court’s determination of
issue.’ ” (citation and footnote omitted));        Columbia         Plaintiff’s claims related to Ordinance 3941. All pending
Basin, 268 F.3d at 802 (“If we abstain ‘under                       deadlines are terminated.
    Pullman, retention of jurisdiction, and not dismissal of
the action, is the proper course.’ ” (quoting      Santa Fe         Plaintiff may return to this forum after the state law
Land Improvement Co., 596 F.2d at 841)).                            questions are answered. The parties are to submit a joint
                                                                    status report every six months, beginning on December 1,
The Court therefore dismisses the state law claims                  2020. The parties shall file a notice within seven days of
(Counts III, V, and VII to IX), and stays the remaining             the conclusion of the state court proceedings, attaching
federal claims (Counts I, II, and IV). Plaintiff may refile         any relevant decision(s) and indicating whether the instant
                                                                    proceedings should recommence.
the state law claims in circuit court. See         San Remo
Hotel, 145 F.3d at 1104 (“Once         Pullman abstention is        IT IS SO ORDERED.
invoked by the federal court, the federal plaintiff must
then seek a definitive ruling in the state courts on the state
law questions before returning to the federal forum.”               All Citations
(citing     Pullman, 312 U.S. at 501–02, 61 S.Ct. 643;
                                                                    Slip Copy, 2020 WL 3146584
    Rancho Palos Verdes Corp., 547 F.2d at 1096)). The
dismissal of the state law claims does not constitute a
determination on the merits on any of the grounds
                                                            Footnotes


1
       An arbitration panel since determined that the Amendment was an invalid and unconscionable effort to change
       Plaintiff’s entitlements. See Compl. ¶ 61.

2
       Ultimately, the exhibits are unnecessary for the disposition of this Motion.

3
       “ Pullman abstention applies whether or not a state proceeding is pending[.]”          Gilbertson v. Albright, 381 F.3d
       965, 970 n.6 (9th Cir. 2004).

4
       While Plaintiff asserts nine counts, there are only eight because Count I is for declaratory relief pursuant to    §
       2201, which is a remedy, not a standalone cause of action. See County of Santa Clara v. Trump, 267 F. Supp. 3d 1201,
       1215–16 (N.D. Cal. 2017) (“The government correctly notes that the Declaratory Judgment Act creates a remedy for
       litigants but is not an independent cause of action.” (citation omitted)).

5
       Although the federal and Hawai’i constitutional claims would likely be evaluated similarly, see     Cammack v.
       Waihee, 932 F.2d 765, 767–68 nn.4–5 (9th Cir. 1991), this is not a basis to refrain from abstaining here, where
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       decisions on other state law issues could narrow or dispose of the federal constitutional issues.

6
       A state’s interest is not part of the inquiry.

7
       “When a court abstains in order to avoid unnecessary constitutional adjudication ... it is seeking to promote a
       harmonious federal system by avoiding a collision between the federal courts and state (including local)
       legislatures.”        San Remo Hotel, 145 F.3d at 1105 (emphasis added) (citation omitted).

8
       Given this determination, the Court need not address whether to abstain under           Burford.




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